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   6
                                 UNITED STATES DISTRICT COURT
   7
                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   8

   9
       ROVIER CARRINGTON,                           Case No:
  10

  11         Plaintiff,                             EXHIBITS TO VERIFIED COMPLAINT
  12                                                FOR DECLARATORY RELIEF AND
                                                    DAMAGES
  13                 vs.

  14                                                DECLARATION OF G. SCOTT SOBEL,
       HON. KATHERINE POLK FAILLA (In her           ESQ.
  15   official and individual capacities) HARVEY
       WEINSTEIN; ESTATE OF SUMNER
  16   REDSTONE; NATIONAL AMUSEMENTS,
       INC.; BRIAN GRADEN; BRIAN GRADEN
  17   MEDIA LLC; VIACOMCBS INC.;
       PARAMOUNT PICTURES CORP.;
  18   TRUSTEES OF THE BRAD ALAN GREY
       TRUST; STANTON “LARRY” STEIN;
  19
       DIANA A. SANDERS; RUSS AUGUST &
  20   KABAT LLP; WOOK HWANG; LOEB &
       LOEB LLP; CHRISTOPHER LLOYD
  21   LAVIGNE; STEPHEN ROBERT FISHBEIN;
       SHEARMAN & STERLING LLP; and DOES
  22   1-100,

  23
             Defendants.
  24

  25

  26

  27

  28
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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
    -------------------------------------------------------
                                                          X
                                                          :
    ROVIER CARRINGTON,                                    :
                                                          :
                                          Plaintiff,      :   18 Civ. 4609 (KPF)
                                                          :
                          v.                              :        ORDER
                                                          :
    BRIAN GRADEN, BRIAN GRADEN MEDIA :
    LLC, VIACOM INC., VIACOM                              :
    INTERNATIONAL INC., PARAMOUNT                         :
    PICTURES CORPORATION, BRAD GREY, :
    BRAD GREY ESTATE, BRAD ALAN GREY :
    TRUST,                                                :
                                                          :
                                          Defendants. :
                                                          :
    ----------------------------------------------------- X
   KATHERINE POLK FAILLA, District Judge:

          On October 11, 2019, the Court held a hearing on the Defendants’ joint

   motion for terminating sanctions. (Dkt. #123-124). Plaintiff did not appear at

   the conference, despite the Court’s prior orders that he attend in person. (Dkt.

   #144, 145, 146). Although the Court had warned Plaintiff that his failure to

   appear could result in the Court deciding Defendants’ motion unopposed, the

   Court in fact reviewed and considered all the submissions that Plaintiff

   provided in opposition to Defendants’ motion. (Dkt. #127, 136, 137). For the

   reasons set forth on the record at the hearing, the Court GRANTS

   Defendants’ motion for terminating sanctions with costs. Plaintiff’s claims are

   hereby dismissed with prejudice against all Defendants. The Clerk of Court is

   directed to terminate the motion at docket entry 123. On or before December 2,

   2019, Defendants’ attorneys shall submit their applications for fees and costs.

   The Court declines at this time to issue a criminal referral to the United States

   Attorney’s Office for the Southern District of New York.

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           The Court notes that shortly after the conference, the Court received a

    telephone call from Mr. Greg Loomis, who had previously indicated that he

    sought to appear as counsel for Mr. Carrington. (See Dkt. #145). Mr. Loomis

    indicated that he was returning a call from the Court. Neither the Court nor

    any of its staff made such a call, and the Court’s staff advised Mr. Loomis of

    this fact.



           SO ORDERED.

    Dated:         October 11, 2019
                   New York, New York                 __________________________________
                                                           KATHERINE POLK FAILLA
                                                          United States District Judge




    A copy of this Order was mailed by Chambers to:


       Rovier Carrington
       5901 Encina Road
       Suite C-2
       Goleta, CA 93117




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                         EXHIBIT 002




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK

    ROVIER CARRINGTON,

                             Plaintiff,

                           -v.-
                                                            18 Civ. 4609 (KPF)
    BRIAN GRADEN; BRIAN GRADEN MEDIA, LLC;
    VIACOM, INC.; VIACOM INTERNATIONAL,                           ORDER
    INC.; PARAMOUNT PICTURES CORPORATION;
    BRAD GREY; BRAD GREY ESTATE; and BRAD
    ALAN GREY TRUST,

                             Defendants.

   KATHERINE POLK FAILLA, District Judge:

         Plaintiff Rovier Carrington filed an action in state court that was removed

   to this Court in May 2018. After 17 months of protracted litigation, the Court

   dismissed the action with prejudice after determining that Carrington had

   fabricated, or caused to be fabricated, several key emails, and then lied about

   their provenance. Undeterred, Carrington then sought to pursue an order of

   protection in state court on related claims, again with fabricated documents,

   and again without success. Carrington’s efforts have resulted in Defendants

   incurring nearly $1 million in legal fees to prove Carrington’s perfidy, to say

   nothing of the reputational damage caused by his allegations.

         The Court understands that Carrington wishes to restart the cycle of

   litigation with new counsel, and to bring another lawsuit alleging substantially

   overlapping claims in another jurisdiction. Defendants have moved for

   injunctive relief on an expedited basis, and the Court held a hearing on their

   motion on September 10, 2020. As set forth in the remainder of this Order, the




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   Court retains the authority to enjoin Carrington from engaging in further

   vexatious litigation, and it does so here by enjoining him from commencing,

   without express prior leave of this Court, any new action in federal or state

   court arising from or relating to the same subject matter that was addressed in

   the instant action.

                                    BACKGROUND

   A.     The Instant Case and Its Resolution

          1.    The Concerns Regarding Fabricated Emails

          Carrington filed his initial Complaint in New York County Supreme Court

   on May 1, 2018, and it was removed to this Court on May 24, 2018. (Dkt. #1).

   Carrington then filed an Amended Complaint on June 20, 2018. (Dkt. #40).

   The Amended Complaint included, among others, claims of antitrust violations,

   fraud, breach of contract, unfair competition, theft of trade secrets, and

   tortious interference. Such anodyne descriptions, however, fail to capture the

   heart of Carrington’s claims, which was that he was passed around among

   powerful figures in Hollywood and coerced into sexual relationships, only to see

   his career prospects stalled and his intellectual property stolen when he

   refused.

          Carrington’s allegations were noteworthy for their salaciousness. Very

   shortly after being served, however, Defendants announced that certain key

   emails appended by Carrington to his Complaint were fabricated. Between the

   filing of the original and the amended complaints, Defendants presented

   evidence of fabrication to Carrington and the Court. (See, e.g., Dkt. #34; see




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    also Dkt. #170 at 34-35 (referencing efforts by counsel for the Graden

    Defendants on May 3, 2018, to explain falsity of allegations to Carrington’s

    counsel)). Carrington nonetheless continued to include those emails in his

    Amended Complaint.

          From there, the parties and the Court embarked upon a 15-month saga

    investigating the provenance of the challenged emails. Defendants presented

    evidence in support of a request for targeted discovery on this topic (Dkt. #56),

    and after listening to both sides at a pretrial conference held on July 17, 2018

    (Minute Entry for July 17, 2018), the Court signed an Order for Limited

    Discovery Concerning the Authenticity of Communications (Dkt. #64). Over

    the period from August 2018 until October 2019, Carrington’s counsel

    withdrew; Carrington attempted to transfer venue; Carrington attempted to

    withdraw his lawsuit without prejudice; the parties presented evidence and

    competing expert testimony on the issue of the emails’ provenance; and the

    Court scheduled, and repeatedly rescheduled, a hearing at which the issue of

    sanctions could be discussed. (See, e.g., Dkt. #70, 71, 73-145). On August 27,

    2019, after learning from Carrington that (i) he was no longer experiencing the

    issues that rendered him unable to travel to this Court, and (ii) counsel would

    soon be entering an appearance on his behalf, the Court scheduled a hearing

    on Defendants’ sanctions application for October 11, 2019, and made clear

    that Carrington would be required to attend even if his counsel had failed to

    appear by that time. (Dkt. #144).




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             2.    The October 11, 2019 Sanctions Hearing

             Carrington’s counsel did not enter a notice of appearance, and the

    hearing went on without Carrington or his counsel on October 11, 2019. (Dkt.

    #170 (transcript)). At its conclusion, the Court dismissed Carrington’s case

    with prejudice after making the following findings about the resources

    Defendants, and the Court, were forced to expend because of Carrington’s

    fraud:

                   [T]here was an effort made to undertake — to figure out
                   how these emails came to be. There was a subpoena
                   return from Google, which confirmed that the
                   Trendsetter account was, in fact, deactivated on June
                   19th of 2018, one day after the amended complaint was
                   filed and after the first preservation order was sent.

                   We also found out, during the course of the hearing in
                   February of 2019, that the plaintiff turned in his iPhone
                   7, which he represented to me to be the vehicle used to
                   transmit all of the communications after the initial
                   preservation order.

                   After that, I received several declarations from
                   nonparties, along with the forensic expert declaration,
                   suggesting that these emails did not, in fact, exist in Mr.
                   Graden’s, Mr. Logan’s, or Darren Stein’s accounts. I
                   asked for — I ordered limited discovery and the
                   preservation of any communications concerning any
                   portion of the at-issue communications. I then selected
                   FTI as a neutral examiner.

                   FTI’s investigation found — of the Gmail account and
                   the Carrington Diaries account, found none of the
                   native versions besides the one whose validity was not
                   contested. And plaintiff informed the Court that the
                   Trendsetter account had been deactivated for years,
                   which is why no effort was undertaken to review it.

                   The investigation by FTI did find the forwards that
                   Carrington sent to the Landau firm, his prior counsel,
                   but none of the underlying emails. Plaintiff provided an




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                affidavit from his own expert, stating that he had
                transferred the contents of the Trendsetter account to
                the Carrington Diaries account in 2017, but no natives
                of the emails purportedly sent from the Trendsetter
                account were found in the Carrington Diaries account,
                and the defendants assert that the absence of these
                native emails, coupled with the existence of the
                forwarded emails, just could not be explained.

                Plaintiff responded that he had been the victim of a
                hack. The defendants observed that a hack could not
                explain why the one valid email still existed and why the
                forwarded emails from Mr. Carrington to the Landau
                group remained.

                                           ***

                In February of 2019, I issued an order that subpoenas
                be issued to GoDaddy, Microsoft, and Google, the
                Internet service providers for plaintiff’s three email
                accounts,     to   obtain    subscriber     information,
                nonsubscriber information, and that FTI conduct an
                analysis of the iPhone 10, plaintiff’s phone, and emails
                produced to or by the ISPs. The subpoena to Google
                revealed that the Trendsetter account had only been
                deactivated the day after the amended complaint was
                filed and not years earlier, as had been repeatedly
                represented.

                The GoDaddy returns, which it should be noted are
                not — I’ll be brief about this, because they’re not in the
                public filings, but there was an indication that the
                Carrington Diaries account had been closed and deleted
                by plaintiff on or about September 8th of 2018, one
                month after the Court’s order to preserve evidence.

                The GoDaddy production also revealed that plaintiff
                reached out to GoDaddy to confirm that a subpoena
                would not return information about emails within a
                deleted account. The returns also show repeated
                password changes throughout 2018, undercutting a
                previous claim that had been made that one of the
                defendants might have known of Mr. Carrington’s
                password and hacked into his account.




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                The returns for the Gmail account produced no
                instances of the at-issue communications.           FTI
                [reviewed] the plaintiff’s most recent and current
                iPhone, and it concluded that Mr. Carrington’s data had
                migrated from the previous iPhone, but, again, found no
                evidence of the at-issue communications in any of those
                accounts.

    (Dkt. #170 at 35-39).

          In explaining its decision to dismiss the Amended Complaint with

    prejudice, the Court emphasized Carrington’s evolving, but consistently false,

    explanations for the emails:

                Mr. Carrington has never provided an explanation for
                how the forwards exist in the accounts for emails that
                were sent — let me say that more precisely. The
                explanation he has not provided is an explanation of
                how the forwards exist in the Carrington Diaries
                account for emails that were sent by the Trendsetter
                account when there is no evidence of the emails being
                sent from the Trendsetter account to the Carrington
                Diaries account. It makes no sense to me.

                I also do not understand what possessed Mr. Carrington
                to turn over his iPhone in the middle of this litigation,
                in the middle of this dispute about the authenticity of
                these emails. All that I can conclude is that in every
                instance where the plaintiff appears, again, to use the
                vernacular, to be caught, he attempts to argue
                something new, that these issues are the result of
                someone else’s doing, that they are the result of the
                hacking by one of the defendants or by defense counsel,
                and it’s all just one large conspiracy. I have difficulty,
                and indeed I cannot, credit that. I have enough sworn
                statements and enough exploration of what I do have to
                suggest that this is not the case.

                And as I’ve mentioned, the purported hack does not
                explain why Mr. Graden has similar-looking emails that
                match in part, but not in whole, the at-issue
                communications.




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                  Instead, there is an explanation from plaintiff, but I just
                  don’t credit it. It’s another coverup involving Mr.
                  Graden and Mr. Stein. Every time the defense has
                  produced compelling evidence of spoliation, of
                  fabrication, of obstruction of the litigation in this case,
                  the plaintiff has provided an explanation. And I believe
                  that going forward, every time it happens, he will
                  provide yet another explanation.            They are of
                  increasingly tenuous credibility, and they can’t explain
                  what I have in the record.

                  For these reasons, I can find, even under a clear and
                  convincing evidence standard, that Mr. Carrington has
                  sentiently set in motion some unconscionable scheme,
                  calculated to interfere with the judicial system’s ability
                  impartially to adjudicate the action, referring to the
                  Scholastic decision I cited earlier to the parties.

    (Dkt. #170 at 48-49).

           3.     The Explanations for Carrington’s Non-Appearance

           As noted, Carrington did not appear for the October 11 hearing, though

    an individual purporting to be his attorney requested an adjournment two days

    prior to the hearing, which request was denied. Two months later, in January

    2020, Carrington emailed the Court to advise that he had in fact failed to

    appear because he had been threatened by Defendant Graden with murder,

    and that he had instead spent the day obtaining an ex parte restraining order

    in Los Angeles. 1 The news struck the Court as implausible, given the

    procedural history that had immediately preceded the hearing; it advised

    Carrington that it could not accept his ex parte submission, but that he could




    1      The Court repeats this information in this Order because the underlying allegations of
           threats by Graden are now known to all Defendants.




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    file it under seal, where it would be viewable to the Court and parties only.

    (Dkt. #172). Carrington elected not to file anything under seal.

    B.       The Proceedings in Los Angeles Superior Court

             At a telephonic hearing held on September 10, 2020, on Defendants’

    motion for injunctive relief, to which Carrington and his current counsel (the

    Court understands that he prefers the term “future,” in part to explain why

    counsel declined to appear at the hearing) were invited, the Court learned more

    about Carrington’s order of protection, and his modus operandi was brought

    into sharper relief. A transcript of the September 10 telephonic hearing has

    not yet been prepared, and so the Court presents this information from its own

    notes:

             Counsel for Graden represented — as an officer of the Court and without

    dispute from anyone else at the hearing — that Carrington obtained a

    temporary order of protection on or about October 11, 2019. Graden filed his

    opposition on or about November 1, 2019. The opposition included, among

    other things, evidence that Graden had had no contact with Carrington during

    the relevant time period; that Graden’s phone records evidenced no contact;

    and that Graden had work-related meetings with others at times he was

    supposed to be communicating with Carrington. At a hearing on the order of

    protection held on or about November 5, 2019, the presiding judge observed

    the disconnect in the parties’ phone records and asked counsel to exchange the

    records. Thereafter, an expert witness in cellular telephones explained to

    Graden’s counsel how Carrington had “spoofed,” or caused to be “spoofed,”




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    Graden’s telephone number(s) to make it appear that Graden had contacted

    Carrington, when in fact the calls had been placed through a web application.

    For this reason, Carrington (the putative recipient) showed Graden’s phone

    numbers in his records, while Graden (the putative caller) showed nothing in

    his. After counsel for Graden provided this information to prior counsel for

    Carrington, the latter “stopped responding.”

          At the next hearing on the order of protection, held in February 2020,

    neither Carrington nor his counsel appeared. The court advised counsel for

    Graden that counsel for Carrington had contacted the court to advise it of

    Carrington’s intention to withdraw his application without prejudice to its

    refiling. After hearing from counsel for Graden, the court dismissed the matter

    with prejudice, and scheduled briefing on Graden’s application for sanctions.

          Whether to justify his failure to appear in this Court or to start over in a

    different court, Carrington resorted, again, to a trifecta of obstructive conduct:

    fabrication of evidence, efforts to withdraw his litigation without prejudice

    when the fraud was uncovered, and, ultimately, non-appearance in court.

    Though the conduct was limited to only one of the Defendants in this case, the

    litigation and reputational costs remained significant.

    C.    The Threatened Litigation

          By letters dated September 4 and 8, 2020 (Dkt. #174, 178), Defendants

    advised the Court that Carrington intends to sue them again. The Court has

    reviewed the demand letters from Carrington’s current counsel. In large

    measure, the contemplated causes of action, and the factual support therefor,




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    replicate those in the Amended Complaint; however, Carrington’s additional

    claims are no less troubling. Carrington accuses counsel for Graden of acting

    in a manner that, if true, would assuredly subject him to not just professional

    discipline, but also disbarment and perhaps even criminal prosecution. Worse

    yet, Carrington puts a false gloss on the sanction proceedings in this Court,

    suggesting among other things that the Court either colluded with, or was

    bribed by, one or more Defendants. At the September 10 hearing, Defendants

    explained at length the toll — financial and emotional — that Carrington’s

    conduct had exacted from their clients, and sought redress.

                                       DISCUSSION

            The Court Grants Defendants’ Request for Injunctive Relief

          It “is beyond peradventure” that this Court possesses the authority to

    enjoin Carrington from further vexatious litigation. Safir v. U.S. Lines, Inc., 792

    F.2d 19, 23 (2d Cir. 1986). “In determining whether to restrict a litigant’s

    future ability to sue, a court must consider ‘whether a litigant who has a

    history of vexatious litigation is likely to continue to abuse the judicial process

    and harass other parties.’” Eliahu v. Jewish Agency for Israel, 919 F.3d 709,

    713-14 (2d Cir. 2019) (quoting Safir, 792 F.2d at 24). Specifically, the Second

    Circuit has required district courts to consider the following factors:

                [i] the litigant’s history of litigation and in particular
                whether it entailed vexatious, harassing[,] or duplicative
                lawsuits; [ii] the litigant’s motive in pursuing the
                litigation, e.g., does the litigant have an objective good
                faith expectation of prevailing?; [iii] whether the litigant
                is represented by counsel; [iv] whether the litigant has
                caused needless expense to other parties or has posed
                an unnecessary burden on the courts and their




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                personnel; and [v] whether other sanctions would be
                adequate to protect the courts and other parties.

    Id. at 714 (quoting Iwachiw v. N.Y. State Dep’t of Motor Vehicles, 396 F.3d 525,

    528 (2d Cir. 2005) (per curiam)).

          Upon consideration of the above factors, the Court finds that an

    injunction enjoining Carrington from filing further lawsuits is both warranted

    and necessary. First, the Court finds that Carrington’s past and present

    behavior evinces a clear intent to further abuse the judicial process. Although

    the Court acknowledges that Carrington has, as of yet, only filed two lawsuits

    against Defendants, the Second Circuit has been clear that “[t]here is no[] …

    strict numerosity requirement that must be met … to enjoin a litigant from

    filing future actions. Rather, the court must consider the record as a whole

    and the likelihood that the litigant will continue to abuse the judicial process.”

    Eliahu, 919 F.3d at 714 (citing Safir, 792 F.2d at 24). Carrington has now

    twice engaged in a pattern of filing outrageous claims, fabricating evidence,

    attempting to escape the consequences of such fabrication, and then refusing

    to appear in court, and all evidence indicates that he is preparing for a third

    attempt. The first factor therefore weighs in favor of granting the injunction.

          Second, there is no reason to afford Carrington any special solicitude, as

    the Court would were he a pro se litigant. See Eliahu, 919 F.3d at 715 (noting

    that, “[i]n considering a litigant’s status, we have recognized that pro se

    litigants, in many cases, are entitled to special solicitude”). Although

    Carrington has at times been unrepresented, his vexatious conduct cannot be

    attributed to lack of counsel. Indeed, Carrington had the assistance of counsel




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    when he fabricated evidence in the instant action and when he filed the

    protective action in California, and he seemingly is represented by counsel

    now. The third factor therefore similarly weighs in favor of injunctive relief.

          Third, it is beyond dispute that Carrington’s actions have caused

    needless expense to Defendants and placed an unnecessary burden on this

    Court. As represented by Defendants’ counsel in their pending applications for

    attorneys’ fees, Carrington’s actions in just the instant case have resulted in

    almost $1 million in legal fees. (See Dkt. #151-58). Moreover, both this Court

    and the California state court have been burdened with adjudicating

    Carrington’s increasingly salacious claims, and then managing the fallout from

    his perfidy. The fourth factor, too, favors precluding Carrington from further

    burdening Defendants and the judicial system.

          Fourth, and finally, the Court is persuaded that other sanctions are

    inadequate. The Court has already deployed one of the most severe sanctions

    in its arsenal — the dismissal with prejudice of the instant action (see Dkt.

    #147) — and has pending before it applications for attorneys’ fees amounting to

    almost $1 million. None of this has hindered Carrington from making ever

    more outrageous claims, and even going so far as to impugn the integrity of

    this Court. Given Carrington’s recent threat to begin anew his deceitful pattern

    of behavior, the Court believes that the only path available to it is to preempt




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    Carrington from carrying out his threat. Therefore, the fifth factor weighs in

    favor of granting Defendants’ request for an injunction.

           To summarize, four of the five factors outlined by the Second Circuit

    counsel in favor of enjoining Carrington from filing future lawsuits arising out

    of or relating to the subject matter in the instant action. Moreover, the second

    factor — Carrington’s motive in bringing his various lawsuits — is, at best,

    neutral. Due to Carrington’s dishonest behavior, the Court never had, and will

    never have, the opportunity to learn which, if any, of Carrington’s claims are

    meritorious. However, Carrington’s repeated fabrications and obstructive

    behavior do lead the Court to view his claims with a skeptical eye. The Court

    therefore finds that an injunction enjoining Carrington from filing, without the

    express approval of this Court, future claims arising from or relating to the

    subject matter of the instant litigation is more than justified. 2

                                           CONCLUSION

           For the reasons set forth in this Order, the Court GRANTS Defendants’

    request for a permanent injunction against Carrington. The Court hereby

    ORDERS that Carrington be forbidden from filing any future suits in federal or

    state court arising from or relating to the subject matter in the instant action




    2      The Court makes this finding with the understanding that such injunctions should be
           narrowly tailored to the specific circumstance. See Safir v. U.S. Lines, Inc., 792 F.2d 19,
           25 (2d Cir. 1986) (modifying a district court’s injunction due to it being “overly broad”).
           The Court believes that it has tailored its injunction to the extent required to prevent
           Carrington from doing further harm to Defendants and the judicial system.




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                          EXHIBIT 003




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                                                                USDC SDNY
 UNITED STATES DISTRICT COURT                                   DOCUMENT
 SOUTHERN DISTRICT OF NEW YORK                                  ELECTRONICALLY FILED
 ---------------------------------------------------------- X   DOC #: _________________
                                                            :   DATE FILED: June 4, 2018
                                                                             ______________
 ROVIER CARRINGTON,                                         :
                                                            :
                               Plaintiff,                   :      18 Civ. 4609 (KPF)
                v.                                          :
                                                            :     NOTICE OF INITIAL
 BRIAN GRADEN, et al.,                                      :   PRETRIAL CONFERENCE
                                                            :
                               Defendants.                  :
                                                            :
 ---------------------------------------------------------- X

 KATHERINE POLK FAILLA, District Judge:

       This case has been assigned to me for all purposes. It is hereby ORDERED
 that counsel for all parties appear for an initial pretrial conference with the Court on
 July 20, 2018, at 3:00pm, in Courtroom 618 of the Thurgood Marshall Courthouse,
 40 Foley Square, New York, New York.

       All counsel are required to register promptly as filing users on ECF. All pretrial
 conferences must be attended by the attorney who will serve as principal trial
 counsel. Counsel are further required to review and comply with the Court’s
 Individual Rules of Practice in Civil Cases (“Individual Rules”) available at
 http://nysd.uscourts.gov/judge/Failla.

        Counsel are directed to confer with each other prior to the conference regarding
 settlement and each of the other subjects to be considered at a Federal Rule of Civil
 Procedure 16 conference. Additionally, in accordance with the Court’s Individual
 Rules, the parties are hereby ORDERED to submit via e-mail
 (Failla_NYSDChambers@nysd.uscourts.gov) a Proposed Civil Case Management Plan
 and Scheduling Order in PDF format by Thursday of the week prior to the initial
 pretrial conference. The parties shall use this Court’s form Proposed Civil Case
 Management Plan and Scheduling Order, which is also available at
 http://nysd.uscourts.gov/judge/Failla. Any open legal issues can be addressed at
 the conference.




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       IT IS FURTHER ORDERED that included with the Proposed Civil Case
 Management Plan and Scheduling Order, the parties jointly submit a letter, not to
 exceed five pages, providing the following information in separate paragraphs:

       (1)    A brief statement of the nature of the action, the principal defenses
              thereto, and the major legal and factual issues that are most important
              to resolving the case, whether by trial, settlement, or dispositive motion;

       (2)    A brief explanation of why jurisdiction and venue lie in this Court. In
              any action in which subject matter jurisdiction is founded on diversity of
              citizenship pursuant to Title 28, United States Code, Section 1332, the
              letter must explain the basis for the parties’ belief that diversity of
              citizenship exists. Where any party is a corporation, the letter shall state
              both the place of incorporation and the principal place of business. In
              cases where any party is a partnership, limited partnership, limited
              liability company, or trust, the letter shall state the citizenship of each of
              the entity’s members, shareholders, partners, and/or trustees. See, e.g.,
              Handelsman v. Bedford Vill. Assocs. L.P., 213 F.3d 48 (2d Cir. 2000).

       (3)    A statement of all existing deadlines, due dates, and/or cut-off dates;

       (4)    A brief description of any outstanding motions;

       (5)    A brief description of any discovery that has already taken place and of
              any discovery that is necessary for the parties to engage in meaningful
              settlement negotiations;

       (6)    A statement describing the status of any settlement discussions and
              whether the parties would like a settlement conference; and

       (7)    Any other information that the parties believe may assist the Court in
              advancing the case to settlement or trial, including, but not limited to, a
              description of any dispositive issue or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel are not required
 to submit such letter or to appear, provided that a stipulation of discontinuance,
 voluntary dismissal, or other proof of termination is sent prior to the date of the
 conference via e-mail to the Orders and Judgments Clerk at the following e-mail
 address: judgments@nysd.uscourts.gov.

       In accordance with the Court’s Individual Rules and Practices, requests for an
 extension or adjournment may be made only by letter and must be received at least
 48 hours before the deadline or conference. The written submission must state (1)
 the original date(s); (2) the number of previous requests for adjournment or




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  extension; (3) whether these previous requests were granted or denied; (4) the reason
  for the current request; and (5) whether the adversary consents and, if not, the
  reasons given by the adversary for refusing to consent. Unless counsel are notified
  that the conference has been adjourned, it will be held as scheduled.

        Counsel who have noticed an appearance as of the issuance of this order are
  directed (1) to notify all other parties’ attorneys in this action by serving upon each of
  them a copy of this order and the Court’s Individual Rules forthwith, and (2) to file
  proof of such notice with the Court. If unaware of the identity of counsel for any of
  the parties, counsel receiving this order must forthwith send a copy of this order and
  the Court’s Individual Rules to that party personally.

        SO ORDERED.

  Dated:      June 4, 2018
              New York, New York
                                               ___________________________________
                                                   KATHERINE POLK FAILLA
                                                   United States District Judge




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                          EXHIBIT 004




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                                                  Revised: January 9, 2020

              INDIVIDUAL RULES OF PRACTICE IN CIVIL CASES
              Katherine Polk Failla, United States District Judge

  Chambers                              Courtroom
  United States District Court          40 Foley Square, Courtroom 618
  Southern District of New York         Talena Noriega, Courtroom Deputy
  40 Foley Square, Room 2103            (212) 805-0290
  New York, NY 10007
  (212) 805-0290
  Failla_NYSDChambers@nysd.uscourts.gov

  Pro Se Intake Office
  United States District Court
  Southern District of New York
  40 Foley Square, Room 105
  New York, NY 10007
  (212) 805-0175

  1.    Procedural Rules

        A.   Generally. The Court’s procedures are governed by the Federal
             Rules of Civil Procedure, the Local Rules of the United States
             District Courts for the Southern and Eastern Districts of New York
             (the “Local Rules”), and the Individual Practices set forth below.
             Unless otherwise ordered, these Individual Practices apply to all
             civil matters before Judge Failla.

        B.   Pilot Projects and Plans. If a case is designated by Order of the
             Court to be part of one of the Court’s pilot projects or plans
             (including the protocols set forth in Local Civil Rule 83.10), the
             procedures in such project or plan shall govern to the extent that
             they are inconsistent with these Individual Practices.

  2.    Communications with Chambers

        A.   ECF. In accordance with the Electronic Case Filing (“ECF”) Rules
             and Instructions, counsel are required to register as ECF filers and
             to enter a notice of appearance in the case promptly. Instructions
             are available on the Court website, at
             https://nysd.uscourts.gov/electronic-case-filing. Counsel are
             responsible for updating their contact information on ECF as
             needed, and counsel remain responsible for checking the docket
             sheet regularly, regardless of whether they receive an ECF
             notification of case activity.




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     B.   Letters. Except as otherwise provided below, communications
          with the Court should be by letter. Unless there is a request to file
          a letter under seal or a letter contains sensitive or confidential
          information, letters should be filed electronically on ECF, with a
          courtesy copy, clearly marked as such, delivered to the Court via e-
          mail (Failla_NYSDChambers@nysd.uscourts.gov). E-mails shall
          state clearly in the subject line: (i) the caption of the case,
          including the lead party names and docket number; and (ii) a brief
          description of the contents of the letter. Parties shall not include
          substantive communications in the body of the e-mail; such
          communications shall be included only in the body of the letter.
          Copies of correspondence between counsel shall not be filed on
          ECF or otherwise sent to the Court (except as exhibits to an
          otherwise properly filed document). The courtesy copy of any letter
          filed on ECF must be an electronic copy of the filed version of the
          letter and must include the automatically generated ECF header
          (that is, the text — e.g., “Case 1:19-cv-01234-KPF Document 100
          Filed 1/1/19 Page 1 of 1” — appearing at the top of each page of a
          document on the ECF system).

          i.    By a Pro Se Party. All communications with the Court by a
                pro se party must be sent to the Pro Se Intake Office. You
                may contact the Pro Se Intake Office at (212) 805-0175
                during normal business hours, 8:30am - 5:00pm, Monday –
                Friday. No documents or filings should be sent directly to
                Chambers. Copies of correspondence between a pro se party
                and counsel should not be sent to the Court.

                1. Pro Se Legal Clinic. For interested pro se parties, the
                   NYLAG Legal Clinic for Pro Se Litigants in the Southern
                   District of New York is a free legal clinic staffed by
                   attorneys and paralegals to assist those who are
                   representing themselves or planning to represent
                   themselves in civil lawsuits in the Southern District of
                   New York. The Clinic, which is not part of or run by the
                   Court, has offices at 40 Foley Square, Room LL22. More
                   information is available on the Court’s website at:
                   https://nysd.uscourts.gov/attorney/legal-assistance.

     C.   Letter Motions. Letter motions may be filed via ECF if they
          comply with the Local Rules and the S.D.N.Y. Electronic Case
          Filing Rules and Instructions. All requests for adjournments,
          extensions, and pre-motion conferences should be filed as letter
          motions. If the letter motion is not on consent, any opposing party
          should submit a letter setting forth its position, within three




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           business days after the initial letter motion is received. A courtesy
           copy of each letter motion must also be provided to Chambers via
           e-mail.

    D.     Requests for Adjournments or Extensions of Time. Letter
           motions for adjournments or extensions of time should state:
           (i) the original due date; (ii) the number of previous requests for
           adjournment or extension of time; (iii) whether these previous
           requests were granted or denied; (iv) the reason for the current
           request; and (v) whether the adversary consents, and, if not, the
           reasons given by the adversary for refusing to consent. If the
           requested adjournment or extension affects any other scheduled
           dates, a proposed Revised Scheduling Order must be attached. If
           the request is for an adjournment of a court appearance, absent an
           emergency, the request shall be made at least 48 hours prior to the
           scheduled appearance.

         i.      By a Pro Se Party. Requests for extensions by pro se parties
                 should be submitted to the Pro Se Office, and shall include the
                 information specified in Rule 2(D), except that a pro se party
                 may, but is not required to, submit a proposed Revised
                 Scheduling Order.

    E.        Proposed Orders and Stipulations. All stipulations and proposed
              orders — with the exception of emergency applications, including
              preliminary injunctions and temporary restraining orders —
              should be filed electronically using the Court’s ECF system.
              Emergency applications should be filed with the Orders and
              Judgments Clerk, in person at 40 Foley Square, Room 105.
              Courtesy copies need not be sent to Chambers. For further
              information, parties are directed to consult the SDNY Electronic
              Case Filing Rules & Instructions, available at
              https://nysd.uscourts.gov/electronic-case-filing.

    F.        Related Cases. After an action has been accepted as related to a
              prior filing, all future court papers and correspondence must
              contain the docket number of the new filing as well as the docket
              number of the case to which it is related (e.g., 19 Civ. 1234 [rel. 18
              Civ. 4321]).

    G.        Cases Removed from State Court. Counsel for the removing
              party or parties must, in addition to providing a copy of all process,
              pleadings, and papers served upon the defendants pursuant to 28
              U.S.C. § 1446(a), provide the Court with a courtesy copy of any
              pleading filed or served while the case remained in state court.




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             Counsel for all parties must file notices of appearance in this Court
             promptly upon removal.

        H.   Urgent Communications. Materials filed via ECF are generally
             reviewed within one business day of filing. If a given submission
             requires immediate attention, please notify Chambers by telephone
             after it is filed by ECF.

        I.   Telephone Calls. For docketing, scheduling, and calendar
             matters, call Chambers at (212) 805-0290. Otherwise, telephone
             calls to Chambers are permitted only for urgent matters.

             i.    By a Pro Se Party. Pro se parties are not permitted to
                   telephone Chambers. Pro se parties are directed to contact
                   the Pro Se Intake Office at (212) 805-0175.

        J.   Faxes. Faxes to Chambers are not permitted.

        K.   Hand Deliveries. Where requested by the Court, hand-delivered
             mail should be left with the Court Security Officers at the Worth
             Street entrance of the Daniel Patrick Moynihan United States
             District Courthouse at 500 Pearl Street, New York, NY 10007, and
             may not be brought directly to Chambers. Hand deliveries are
             continuously retrieved from the Worth Street entrance by
             Courthouse mail staff and then taken to Chambers. If the hand-
             delivered letter is urgent and requires the Court’s immediate
             attention, however, ask the Court Security Officers to notify
             Chambers that an urgent package has arrived that needs to be
             retrieved by Chambers staff immediately.

  3.    Conferences

        A.   Attendance by Principal Trial Counsel. The attorney who will
             serve as principal trial counsel must appear at all conferences with
             the Court.

        B.   Initial Case Management Conference. The Court will generally
             schedule a Fed. R. Civ. P. 16(c) conference to take place within
             three months of the filing of the Complaint. The conference will be
             scheduled by means of a Notice of Initial Pretrial Conference that is
             filed on ECF. Plaintiff’s counsel is responsible for distributing the
             Notice of Initial Pretrial Conference to those parties who have not
             yet appeared in the case. Pursuant to that Notice, the parties are
             required to submit via e-mail a joint letter and Proposed Civil Case
             Management Plan and Scheduling Order in PDF format by
             Thursday of the week prior to the initial pretrial conference.




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          The Court schedules initial pretrial conferences with the
          expectation that one or more of the parties would like an in-
          person opportunity to bring matters to the Court’s attention,
          and it welcomes that opportunity. However, the Court
          recognizes that in certain circumstances — as, for example,
          where the parties are in agreement about the proposed
          discovery schedule and have no issues to raise with the
          Court — such conferences may represent less-efficient uses of
          the parties’ time and resources. If the parties agree on a
          schedule that calls for the close of all discovery within six
          months, and have no other issues to raise with the Court, the
          parties can, if they wish, submit a Proposed Civil Case
          Management Plan and Scheduling Order and request in their
          joint letter that the initial pretrial conference be cancelled.
          The Court will ordinarily grant such requests.

    C.    Discovery Disputes. The parties are to follow Local Civil Rule
          37.2 with the following modifications: Any party wishing to raise a
          discovery dispute with the Court must first confer in good faith
          with the opposing party, in person or by telephone, in an effort to
          resolve the dispute. If this meet-and-confer process does not
          resolve the dispute, the party seeking discovery shall promptly file
          on ECF a letter motion, no longer than three pages, explaining the
          nature of the dispute and requesting an informal conference. Such
          a letter must include a representation that the meet-and-confer
          process occurred and was unsuccessful. If the opposing party
          wishes to respond to the letter, it must submit a responsive letter,
          not to exceed three pages, within three business days after the
          request is received. Counsel should seek relief in accordance with
          these procedures in a timely fashion; if a party waits until near the
          close of discovery to raise an issue that could have been raised
          earlier, the party is unlikely to be granted the relief that it seeks,
          let alone more time for discovery.

    D.    Participation by Junior Attorneys: The Court encourages the
          participation of less experienced attorneys in all proceedings —
          including pretrial conferences, hearings on discovery disputes, oral
          arguments, and examinations of witnesses at trial — particularly
          where that attorney played a substantial role in drafting the
          underlying filing or in preparing the relevant witness. The Court is
          amenable to permitting more than one lawyer to argue for one
          party if this creates an opportunity for a junior lawyer to
          participate.




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  4. Motions

       A.      Pre-Motion Submissions in Civil Cases. Pre-motion submissions
               are required for motions to dismiss, motions for summary
               judgment, motions for judgment on the pleadings, motions for
               sanctions, and motions concerning discovery. Motions concerning
               discovery are discussed in Section 3(C) above.

               To request a pre-motion conference for motions to dismiss,
               motions for summary judgment, motions for judgment on the
               pleadings, and motions for sanctions, the putative moving party
               shall file a letter, not to exceed three pages, describing the grounds
               for the proposed motion, and whether the motion is on consent of
               all parties. If the motion is not on consent, any opposing party
               should file a letter setting forth its position, not to exceed three
               pages, within three business days after the request is received.
               The Court will then determine whether to hold a pre-motion
               conference in the matter. A courtesy copy of each letter must also
               be provided to Chambers via e-mail.

               The submission of a pre-motion letter does not stay any future
               deadlines, except that submission of a pre-motion letter
               concerning a motion to dismiss will stay a defendant’s time to
               answer or otherwise move with respect to the Complaint.

               i.    By a Pro Se Party. Pre-motion submissions are not
                     required from pro se parties. If the pro se party’s adversary
                     files a pre-motion submission, the pro se party may, but is
                     not required to, file a response to the pre-motion
                     submission. Any such response shall be due three business
                     days after the pre-motion submission is received by the pro
                     se party.

       B.      Memoranda of Law. The typeface, margins, and spacing of
               motion papers must conform to Local Civil Rule 11.1. Unless prior
               permission has been granted, memoranda of law in support of and
               in opposition to motions are limited to 25 pages, and reply
               memoranda are limited to 10 pages. All memoranda of law shall
               be in 12-point font or larger, double-spaced, and text-searchable.
               Memoranda of 10 pages or more shall contain a table of contents
               and a table of authorities, neither of which shall count against the
               page limit. Sur-reply memoranda will not be accepted without
               prior permission of the Court. All appendices to memoranda of law
               must be indexed.




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        C.   Filing of Motion Papers. Motion papers shall be filed with the
             Clerk’s Office promptly after service.

        D.   Courtesy Copies. One courtesy copy of all motion papers, marked
             as such, shall be mailed or hand-delivered to the Court by the
             movant at the time the reply is served. All courtesy copies should
             be double-sided, three-hole-punched, tabbed, and placed in
             binders.

        E.   Oral Argument on Motions. Parties may request oral argument
             by letter at the time their moving or opposing or reply papers are
             filed. The Court will determine whether argument will be heard
             and, if so, will advise counsel of the argument date.

        F.   Preliminary Injunction Motions. The Court generally follows the
             procedure for the conduct of non-jury trials described in Section
             7(C) below.

        G.   Motions to Exclude the Testimony of Experts. Pursuant to
             Rules 702-705 of the Federal Rules of Evidence and the line of
             cases beginning with Daubert v. Merrell Dow Pharmaceuticals, Inc.,
             509 U.S. 579 (1993), motions to exclude testimony of experts must
             be made by the deadline for dispositive motions and should not be
             treated as motions in limine.

        H.   Pro Se Notices. Parties who file a motion to dismiss, a motion for
             judgment on the pleadings, or a motion for summary judgment
             must provide the pro se party with a copy of the notices required
             under Local Civil Rules 12.1 or 56.2.

        I.   Default Judgments. A plaintiff seeking a default judgment must
             proceed by way of an Order to Show Cause pursuant to the
             procedure set forth in Attachment A.

  5.    Special Rules for Summary Judgment Motions.

        A.   Generally Not Available in Non-Jury Cases. Absent good cause,
             the Court will not have summary judgment practice in a non-jury
             case.

        B.   Courtesy Copy of Deposition Transcript. Except in pro se cases,
             the parties shall provide the Court with an electronic, text-
             searchable courtesy copy of any hearing or deposition transcript on
             which the parties rely, if such a copy is available, unless doing so
             would be unduly burdensome. Parties should provide these
             materials on a CD only, not on a DVD or memory stick and not by




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           e-mail. Where parties rely on deposition testimony, they should
           not include excerpts of deposition transcripts as exhibits, but
           rather should include (only once) the entire deposition transcript
           as an exhibit.

     C.    Local Rule 56.1 Statements. Pursuant to Local Civil Rule 56.1, a
           movant for summary judgment shall file a statement of material
           undisputed facts and the opposing party shall respond.

            i.   Electronic Copy to Other Parties. Except in pro se cases,
                 the moving party should provide all other parties with an
                 electronic copy, in Microsoft Word format, of the moving
                 party’s Statement of Material Facts Pursuant to Local Civil
                 Rule 56.1.

           ii.   Organization of 56.1 Statements. The 56.1 Statement
                 must be organized into numbered paragraphs and each
                 numbered paragraph must contain only one factual
                 assertion. Each factual assertion must be followed by a
                 citation to the portion(s) of the evidentiary record relied
                 upon.

                 Except in pro se cases, opposing parties must reproduce
                 each entry in the moving party’s 56.1 Statement, and set out
                 the opposing party’s response directly beneath it. The
                 response must state specifically what is admitted and what
                 is disputed, and the basis for any dispute, citing specific
                 portions of the evidentiary record relied upon. The response
                 may go on to make additional factual allegations in
                 paragraphs numbered consecutively to those of the moving
                 party (i.e., they do not begin re-numbering at 1). If
                 additional factual allegations are made by the opposing
                 party, the moving party must file its own responsive 56.1
                 Statement addressing the additional assertions.

          iii.   Multiple Parties Must Coordinate Statements. If multiple
                 parties are submitting 56.1 Statements, they must
                 coordinate their statements to provide for consecutive, non-
                 overlapping, numbered paragraphs in their respective
                 statements.

          iv.    Statement of Facts. Each memoranda of law must include
                 a statement of facts, and may not simply incorporate by
                 reference the entirety of a party’s 56.1 Statement.




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  6.    Other Pretrial Guidance

        A.   Applications for a Temporary Restraining Order. A party must
             confer with his or her adversary before making an application for a
             temporary restraining order unless the requirements of Fed. R. Civ.
             P. 65(b) are met. As soon as a party decides to seek a temporary
             restraining order, he or she must call Chambers at (212) 805-0290
             and state clearly whether (i) he or she has notified the adversary,
             and whether the adversary consents to temporary injunctive relief;
             or (ii) the requirements of Fed. R. Civ. P. 65(b) are satisfied and no
             notice is necessary. If a party’s adversary has been notified but
             does not consent to temporary injunctive relief, the party seeking a
             restraining order must bring the application to the Court at a time
             mutually agreeable to the party and its adversary, so that the
             Court may have the benefit of advocacy from both sides in deciding
             whether to grant temporary injunctive relief.

        B.   Settlement Agreements. The Court will not retain jurisdiction to
             enforce confidential settlement agreements. If the parties wish
             that the Court retain jurisdiction to enforce the agreement, the
             parties must place the terms of their settlement agreement on the
             public record. The parties may either provide a copy of the
             settlement agreement for the Court to endorse or include the terms
             of their settlement agreement in their stipulation of settlement and
             dismissal.

        C.   Diversity Jurisdiction Cases. In any action in which subject
             matter jurisdiction is founded on diversity of citizenship pursuant
             to 28 U.S.C. § 1332, the party asserting the existence of such
             jurisdiction shall, prior to the Initial Pretrial Conference, e-mail to
             the Court a letter no longer than three pages explaining the basis
             for that party’s belief that diversity of citizenship exists. In cases
             where any party is a corporation, the letter shall state both the
             place of incorporation and the principal place of business. In
             cases where any party is a partnership, limited partnership,
             limited liability company, or trust, the letter shall state the
             citizenship of each of the entity’s members, shareholders, partners,
             and/or trustees.

        D.   Bankruptcy Appeals. The briefing schedule and format and
             length specifications set forth in the applicable provisions of
             Federal Rules of Bankruptcy Procedure shall govern unless
             otherwise ordered by the Court. Counsel may extend the default
             deadlines by stipulation submitted to the Court no later than two
             business days before the brief is due.




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  7.    Trial Procedures

        A.      Joint Pretrial Order. The Court will set the deadline for the
                submission of the Joint Pretrial Order at a conference that will
                follow either the close of discovery or the resolution of dispositive
                motions. On the date ordered by the Court, the parties shall file
                on ECF, and e-mail to the Court, a proposed joint pretrial order,
                which shall include the following:

                i.    The full caption of the action;

               ii.    The names, law firms, addresses, and telephone and fax
                      numbers of trial counsel;

              iii.    A brief statement by plaintiff as to the basis of subject
                      matter jurisdiction, and a brief statement by each other
                      party as to the presence or absence of subject matter
                      jurisdiction. Such statements shall include citations to all
                      statutes relied on and relevant facts as to citizenship and
                      jurisdictional amount;

              iv.     A brief summary by each party of the claims and defenses
                      that the party asserts remain to be tried, including citations
                      to any statutes on which the party relies. Such summaries
                      shall also identify all claims and defenses previously
                      asserted which are not to be tried. The summaries should
                      not recite any evidentiary matter;

               v.     A statement as to the number of trial days needed and
                      whether the case is to be tried with or without a jury;

              vi.     A joint statement summarizing the nature of the case, to be
                      read to potential jurors during jury selection;

             vii.     A list of people, places, and institutions that are likely to be
                      mentioned during the course of the trial, to be read to
                      potential jurors during jury selection;

             viii.    A statement as to whether all parties have consented to trial
                      by a magistrate judge, without identifying which parties do
                      or do not consent;

              ix.     Any stipulations or agreed statements of fact or law to which
                      all parties consent;




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           x.     A list of all trial witnesses, indicating whether such
                  witnesses will testify in person or by deposition, and a brief
                  summary of the substance of each witness’s testimony;

          xi.     A designation by each party of deposition testimony to be
                  offered in its case in chief and any counter-designations and
                  objections by any other party;

         xii.     A list by each party of exhibits to be offered in its case in
                  chief, with one star indicating exhibits to which no party
                  objects on grounds of authenticity, and two stars indicating
                  exhibits to which no party objects on any ground;

         xiii.    A statement of the damages claimed and any other relief
                  sought, including the manner and method used to calculate
                  any claimed damages and a breakdown of the elements of
                  such claimed damages; and

         xiv.     A statement of whether the parties consent to less than a
                  unanimous verdict.

    B.      Required Pretrial Filings. Each party shall file and serve with the
            joint pretrial order:

            i.    In both jury and non-jury cases, motions addressing any
                  evidentiary issues or other matters that should be resolved
                  in limine. Opposition papers shall be filed within seven days
                  thereafter, and reply papers, if any, shall be filed within four
                  days of any opposition;

           ii.    In all cases where a party believes it would be useful to the
                  Court, a pretrial memorandum of law;

          iii.    In jury cases, requests to charge and proposed voir dire
                  questions that shall be submitted as both .pdf and Microsoft
                  Word documents; and

          iv.     In non-jury cases, proposed findings of fact and conclusions
                  of law. The proposed findings of fact should be detailed and
                  should include citations to the proffered trial testimony and
                  exhibits, as there may be no opportunity for post-trial
                  submissions.

    C.      Additional Submissions in Non-Jury Cases. At the time the joint
            pretrial order is filed, each party shall e-mail to the Court and
            serve on opposing counsel, but not file on ECF, the following:




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           i.   Copies of affidavits constituting the direct testimony of each
                trial witness, except for the direct testimony of an adverse
                party, a person whose attendance is compelled by subpoena,
                or a person for whom the Court has agreed to hear direct
                testimony live at the trial. Three business days after
                submission of such affidavits, counsel for each party shall
                submit a list of all affiants whom he or she intends to cross-
                examine at the trial. Only those witnesses who will be cross-
                examined need to appear at trial. The original signed
                affidavits should be brought to trial to be marked as
                exhibits;

          ii.   All deposition excerpts which will be offered as substantive
                evidence, as well as a one-page synopsis of those excerpts for
                each deposition. Each synopsis shall include page citations
                to the pertinent pages of the deposition transcripts; and

         iii.   All documentary exhibits.

    D.    Filings in Opposition. Any party may file on ECF, and e-mail to
          the Court, the following documents within one week after the filing
          of the pretrial order, but in no event less than two days before the
          scheduled trial date:

           i.   Objections to another party’s requests to charge or proposed
                voir dire questions;

          ii.   Opposition to any motion in limine, due within seven days of
                the filing of the motion; and

         iii.   Opposition to any legal argument in a pretrial memorandum.

    E.    Courtesy Copies. Two courtesy copies of all documents identified
          in Sections 7(A), (B), (C)(i-ii), and (D) above should be mailed or
          hand-delivered to Chambers on the date on which they are to be
          served or filed. Only one set of documentary exhibits is required.
          Voluminous material may be organized either in binders or manila
          file folders, but in any event, the courtesy copies shall be
          separately arranged into two independent sets.

    F.    Trial Schedule. Trials will generally be conducted Monday
          through Friday from 9:00 a.m. to 2:45 p.m., with one short break
          from approximately 12:30 p.m. to 1:00 p.m.

    G.    Jury Selection. The jury will be selected by the struck panel
          method.




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  8.    Trial Procedures in Pro Se Cases

        A.   Generally. Rule 7 applies equally to cases involving a pro se party,
             with the following exceptions:

              i.   Pretrial Statement. Unless otherwise ordered by the Court,
                   within 30 days of the completion of discovery, a pro se party
                   shall file a concise, written Pretrial Statement. This
                   Statement need take no particular form, but it must contain
                   the following: (i) a statement of the facts the pro se party
                   hopes to prove at trial; (ii) a list of all documents or other
                   physical objects that the pro se party plans to put into
                   evidence at trial; and (iii) a list of the names and addresses of
                   all witnesses the pro se party intends to have testify at trial.
                   The Statement must be sworn by the pro se party to be true
                   and accurate based on the facts known by the pro se party.
                   The pro se party shall file an original of this Statement with
                   the Pro Se Intake Office. Two weeks after service of the pro
                   se party’s Statement, counsel for any represented party must
                   file and serve a similar Statement containing the same
                   categories of information.

             ii.   Pretrial Filings. The pro se party may also file either
                   proposed findings of fact and conclusions of law or a
                   proposed jury charge, but is not required to do so. Counsel
                   for any represented party is directed to follow Rule 7(B)-(D).

  9.    Electronic Filing Under Seal in Civil and Miscellaneous Cases

        A.   Redactions Not Requiring Court Approval. Federal Rule of Civil
             Procedure 5.2 describes sensitive information that must be
             redacted from public court filings without seeking prior permission
             from the Court. The parties are also referred to the E-Government
             Act of 2002 and the Southern District’s ECF Privacy Policy
             (“Privacy Policy”). There are two categories of information that may
             be redacted from public court filings without prior permission from
             the Court: “sensitive information” and information requiring
             “caution.” Parties should not include in their public filings, unless
             necessary, the five categories of “sensitive information” (i.e., social
             security numbers [use the last four digits only], names of minor
             children [use the initials only], dates of birth [use the year only],
             financial account numbers [use the last four digits only], and home
             addresses [use only the City and State]). Parties may also, without
             prior Court approval, redact from their public filings the six
             categories of information requiring caution described in the Privacy




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           Policy (i.e., any personal identifying number, medical records
           [including information regarding treatment and diagnosis],
           employment history, individual financial information, proprietary
           or trade secret information, and information regarding an
           individual’s cooperation with the government).

     B.    Redactions Requiring Court Approval. Except for redactions
           permitted by the previous paragraph, all redactions or sealing of
           public court filings require Court approval. To be approved, any
           redaction or sealing of a court filing must be narrowly tailored to
           serve whatever purpose justifies the redaction or sealing and must
           be otherwise consistent with the presumption in favor of public
           access to judicial documents. See, e.g., Lugosch v. Pyramid Co. of
           Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006). In general, the
           parties’ consent or the fact that information is subject to a
           confidentiality agreement between litigants is not, by itself, a valid
           basis to overcome the presumption in favor of public access to
           judicial documents. See, e.g., In re Gen. Motors LLC Ignition Switch
           Litig., No. 14-MD-2543 (JMF), 2015 WL 4750774, at *4 (S.D.N.Y.
           Aug. 11, 2015).

          i.   Procedures for Filing Documents with Redactions. Any
               party seeking to file a document with partial redactions should
               file on ECF a letter motion seeking leave to file the document
               with those redactions. The letter motion must be filed in public
               view, must explain the purpose of the redactions and why the
               redactions are consistent with the standards discussed in
               Paragraph 9(B) above, and should not include the confidential
               information sought to be redacted. Supporting papers must be
               separately filed electronically and may be filed under seal or
               redacted only to the extent necessary to safeguard information
               sought to be redacted. (If, however, the party believes that the
               letter motion itself should be redacted, the party should include
               an unredacted copy of the letter motion as an attachment to the
               email described in Paragraph 9(C)(iii) below.)

               Where the motion seeks approval to redact information from a
               document that is to be publicly filed, the filing party shall:
               (a) publicly file the document with the proposed redactions, and
               (b) electronically file under seal a copy of the unredacted
               document with the proposed redactions highlighted. Both
               documents must be electronically filed on ECF and related to
               the motion.




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         ii.     E-mailing of Documents to Chambers. At the same time, the
                 party should e-mail to Chambers
                 (Failla_NYSDChambers@nysd.uscourts.gov) (i) a clean (i.e.,
                 unredacted) copy of the document; (ii) a copy of the document
                 highlighting the information that has been redacted in the ECF
                 filing; and (iii) an unredacted copy of the letter motion described
                 in Paragraph 9(c)(i), should the party also be seeking leave to
                 file that letter motion with redactions.

    C.         Procedure for Filing Sealed Documents

          i.     Sealing Exhibits. Any party seeking leave to file an unsealed
                 or redacted document with a fully sealed exhibit attached
                 thereto should file the main document (in accordance with the
                 procedures above, if the party seeks to do so with redactions) on
                 ECF, accompanied by a single page marked “SEALED” in place
                 of any exhibit that the party seeks leave to file under seal,
                 regardless of the actual length of such exhibit. The party
                 should simultaneously file a letter motion seeking leave to file in
                 that manner according to the procedure described in
                 Paragraphs 9(B)(i)-(ii) above.

         ii.     Sealing Entire Documents. Any party seeking leave to file
                 under seal an entire submission (with or without exhibits)
                 should file on ECF a letter motion seeking leave to file the
                 document under seal.

                 The motion must be filed in public view, must explain the
                 particular reasons for seeking to file that information under seal
                 and should not include confidential information sought to be
                 filed under seal. Supporting papers must be separately filed
                 electronically and may be filed under seal or redacted only to
                 the extent necessary to safeguard information sought to be filed
                 under seal.

                 The proposed sealed document must be contemporaneously
                 filed under seal on ECF and electronically related to the motion.
                 The summary docket text, but not the sealed document, will be
                 open to public inspection and should not include confidential
                 information sought to be filed under seal.

                 Any party unable to comply with the requirement for electronic
                 filing under seal through the ECF system, or who has reason to
                 believe that a particular document should not be electronically




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                  filed, must move for leave of the Court to file in the traditional
                  manner, on paper.

  10.    Policy on the Use of Electronic Devices

         Attorneys’ use of electronic devices (including mobile telephones,
         personal electronic devices, computers, and printers) within the
         Courthouse and its environs is governed by the Court’s Standing Order
         M10-468, available at
         https://nysd.uscourts.gov/sites/default/files/pdf/standing-order-
         electronic-devices.pdf. If required by the Standing Order, counsel
         seeking to bring a device into the Courthouse shall submit a copy of the
         Electronic Devices General Purpose Form, available at
         https://nysd.uscourts.gov/node/766, to the Court by e-mail at least 24
         hours prior to the relevant trial or hearing. Untimely requests may be
         denied on that basis alone. If permitted by the Standing Order, mobile
         telephones are permitted inside the Courtroom, but they must be kept
         turned off at all times. Non-compliance with this rule may result in
         forfeiture of the device for the remainder of the proceedings.




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  ATTACHMENT A

  DEFAULT JUDGMENT PROCEDURE

  1.    Obtain a Certificate of Default from the Clerk’s Office for each defaulting
        party stating that no answer or response has been filed.

  2.    Prepare an Order to Show Cause for default judgment and make the
        Order returnable before Judge Failla in Courtroom 618. Leave blank the
        date and time of the conference. Judge Failla will set the date and time
        when she signs the Order.

  3.    Provide the following supporting papers with the Order to Show Cause.

        a.    An attorney’s affidavit setting forth:

              i.    the basis for entering a default judgment, including a
                    description of the method and date of service of the Summons
                    and Complaint;

              ii.   the procedural history beyond service of the Summons and
                    Complaint, if any;

             iii.   whether, if the default is applicable to fewer than all of the
                    defendants, the Court may appropriately order a default
                    judgment on the issue of damages prior to resolution of the
                    entire action;

             iv.    the proposed damages and the basis for each element of
                    damages, including interest, attorney’s fees, and costs; and

              v.    the legal authority for why an inquest into damages would be
                    unnecessary.

        b.    A proposed default judgment.

        c.    Copies of all of the pleadings.

        d.    A copy of the Affidavit of Service of the Summons and Complaint.

        e.    If failure to answer is the basis for the default, a Certificate of
              Default from the Clerk of Court.

  4.    Bring the Order to Show Cause and supporting papers to the Orders and
        Judgments Clerk (Room 105, 40 Foley Square) for approval.




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  5.    After the Orders and Judgments Clerk approves the Order to Show
        Cause, promptly contact Chambers at (212) 805-0290 to arrange for
        delivery of the papers to Chambers for the Judge’s signature. Also bring
        a courtesy copy of the supporting papers to leave with Chambers.

  6.    After the Judge signs the Order, serve a conforming copy of the Order
        and supporting papers on the defendant. Chambers will retain the
        original signed Order for docketing purposes, but will supply you with a
        copy.

  7.    At the same time, unless otherwise instructed by the Court,
        electronically file the Order to Show Cause and supporting papers via
        ECF, in accordance with the SDNY Electronic Case Filing Rules &
        Instructions, available at https://nysd.uscourts.gov/electronic-case-
        filing.

  8.    Prior to the return date, file an affidavit of service, reflecting that the
        defendant was served with the Order to Show Cause and supporting
        papers, via ECF.

  9.    Prior to the return date, take the proposed judgment, separately backed,
        to the Orders and Judgments Clerk for the Clerk’s approval. The
        proposed judgment, including all damage and interest calculations, must
        be approved by the Clerk prior to the conference and then brought to the
        conference for the Judge’s signature.




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                          EXHIBIT 005




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
    ROVIER CARRINGTON,

                            Plaintiff,

                    v.                                     18 Civ. 4609

    BRIAN GRADEN, BRIAN GRADEN                 ORDER FOR FURTHER DISCOVERY
    MEDIA, LLC, VIACOM INC., VIACOM
    INTERNATIONAL INC., PARAMOUNT
    PICTURES CORPORATION, BRAD
    GREY, BRAD GREY ESTATE, and
    BRAD ALAN GREY TRUST ,

                         Defendants.



   KATHERINE POLK FAILLA, United States District Judge:

         Defendants Brian Graden, Brian Graden Media, LLC, Viacom Inc., Viacom

   International Inc., Paramount Pictures Corporation, Brad Grey, Brad Grey Estate

   and Brad Alan Grey Trust (collectively, “Defendants”), having requested discovery

   regarding the authenticity of the emails attached as Exhibits 2-11 of the

   Amended Complaint (Dkt. #40) filed by Plaintiff Rovier Carrington (“Plaintiff”),

   and this Court having previously ordered such discovery (Dkt. #64);

         NOW, in consideration of the materials submitted by all parties, and

   following the parties’ court conference held on February 7, 2019, having found

   that Defendants have presented sufficient evidence to warrant further discovery;

         IT IS HEREBY ORDERED that Defendants are permitted to serve Court-

   Ordered subpoenas on Google LLC (“Google”), Microsoft Corporation

   (“Microsoft”), and GoDaddy.com, LLC (“GoDaddy”) for domain related information

   related to www.thecarringtondiaries.com and subscriber-related information for




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   the following email accounts, as set forth in Exhibits A-C: (1)

   trendsetterrovheir@gmail.com; (2) roviercarrington@gmail.com; and (3)

   Rovier@thecarringtondiaries.com (the “Accounts”).

         IT IS FURTHER ORDERED that, within fourteen (14) days of receipt of the

   subpoenas, Google, Microsoft and GoDaddy shall provide responsive information

   for such accounts.

         IT IS FURTHER ORDERED that, within seven (7) days of the entry of this

   Order, Plaintiff Rovier Carrington shall provide written consent to Google,

   Microsoft and GoDaddy in the form attached hereto as Exhibit D, which shall

   permit Google, Microsoft and GoDaddy to produce to FTI Consulting, Inc. (“FTI”),

   at the address, 350 S. Grand Ave. Suite 3000, Los Angeles, California 90071, the

   content of any and all available and/or recoverable email communications in the

   above-referenced Accounts, including, without limitation, all emails recoverable

   from deactivated or inactive Accounts, as well as all recoverable emails

   previously deleted from the Accounts. Plaintiff must file a copy of this written

   consent with the Court within seven (7) days of the entry of this Order. Plaintiff

   is further ordered to cooperate (to the extent necessary) with Google’s,

   Microsoft’s, and GoDaddy’s recovery, collection and transmission of the content

   of the above-referenced accounts to FTI. Upon receipt of the content of the

   above-referenced accounts, FTI shall search the content so produced for evidence

   of any At-Issue Communications (as defined in the Court’s August 7, 2018

   Order, Dkt. # 64), and thereupon shall produce any and all At-Issue

   Communications produced by Google, Microsoft and GoDaddy (and only such




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   At-Issue Communications), in original native format and with all accompanying

   metadata, together with a report of FTI’s findings to Plaintiff and Defendants

   within seven (7) days of receipt of this information.

         IT IS FURTHER ORDERED that Plaintiff shall provide to FTI, by February

   28, 2019, Plaintiff’s iPhone X previously identified by Plaintiff for mirror-imaging,

   whereupon FTI shall be permitted to forensically examine such mirror-image for

   evidence pertaining to the At-Issue Communications, including the transmission

   and/or deletion thereof, as well as non-content user activity associated with the

   Accounts and/or concerning the dates of operation of such device, and

   thereupon shall produce the results of such examination by providing any and

   all At-Issue Communications in original native format and with all accompanying

   metadata, together with a report of its findings concerning the foregoing

   examination to Plaintiff and Defendants within seven (7) days thereof.

         SO ORDERED.

   Dated:       February 13, 2019
                New York, New York              _____________________________
                                                KATHERINE POLK FAILLA
                                                United States District Judge




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                                                        SO ORDERED.
          February 13, 2019


                                                        HON. KATHERINE POLK FAILLA
                                                        UNITED STATES DISTRICT JUDGE




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                                             SCHEDULE A

                         DEFINITIONS AND RULES OF CONSTRUCTION

           1)      The definitions and rules of construction set forth in Rules 34 and 45 of the

    Federal Rules of Civil Procedure, and Civil Rule 26.3 of the Local Rules for the United States

    District Court for the Sothern District of New York are hereby incorporated and shall apply to

    these Requests.

           2)      “Communication(s)” shall mean the transmittal of information (in the form of

    facts, ideas, inquiries or otherwise).

           3)      “Rovier Carrington” shall mean the individual named as plaintiff in this Action,

    and who is also known by various aliases, including, but not limited to, Trend Rovheir, Trend

    Rovier, TieLonzo Rovheir, Rovier Jase Carrington, and Antwon Dwayne Smith.

           4)      “Plaintiff” shall mean plaintiff Rovier Carrington and any representatives,

    advisors, associates, or any other person acting on his behalf.

           5)      “Document(s)” shall have the full meaning ascribed to it in Rule 34 of the Federal

    Rules and includes “electronically stored information” (“ESI”) as also defined in Rule 34.

    Examples of documents include, without limitation, all writings in any form, call logs, calendars,

    correspondence, diaries, manuals, memoranda, notes (including handwritten notes), reports,

    records, drawings, graphs, charts, photographs, sound recordings, images, video recordings,

    telephone records, Bloombergs, electronic mail messages, instant messages, spreadsheets,

    databases, all other forms of electronic communication, and other data or data compilations,

    including subscriber information, of whatever nature stored in any medium (including those from

    which information can be obtained or translated if necessary into a reasonably useable form.)

    For the avoidance of doubt, “document(s)” includes all originals of any nature whatsoever and




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 52
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   all non-identical copies thereof, whether different from the originals by reason of any notation

   made on such copies or otherwise.

          6)      “Native format” with respect to any ESI shall mean the original electronic file

   format in which such ESI is stored or maintained, without alteration or conversion to another

   format, and with all original attributes and original metadata.

          7)      “Person(s)” shall mean and include natural persons, firms, associations,

   corporations, institutions, partnerships, government agencies, or other organizations cognizable

   at law, and their agents and employees.

          8)      To bring within the scope of these Definitions and Requests all information that

   might otherwise be construed to be outside of their scope, the following rules of construction apply:

               a. the masculine, feminine, or neuter pronoun shall not exclude other genders;

               b. the word “including” shall be read to mean including without limitation;

               c. the present tense shall be construed to include the past tense and vice versa;

               d. references to employees, officers, directors, or agents shall include both current and

                  former employees, officers, directors, and agents;

               e. the use of the singular form of any word includes the plural and vice versa;

               f. “Concerning,” “evidence,” “refer,” “relate to,” “evidencing,” “referring” or

                  “relating to” any given subject means all documents which assess, concern,

                  constitute, contain, describe, discuss, embody, evidence, identify, record, reflect,

                  regard, show, state, refer or relate, directly or indirectly, in any way, to the subject

                  matter identified;

               g. the terms “any,” “all,” and “each” shall be read to mean any, all, each and every;

                  and




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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 53
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                h. the connectives “and” and “or” shall be construed either disjunctively or

                   conjunctively as necessary to bring within the scope of these Requests any

                   information that might otherwise be construed to be outside their scope.

                                            INSTRUCTIONS

           1)      For the purpose of reading, interpreting, or construing the scope of these Requests,

    the terms used shall be given their most expansive and inclusive interpretation.

           2)      Unless otherwise indicated, the time period encompassed by these Requests is from

    January 1, 2010 through the present.

           3)      These Requests extend to all responsive documents or things that are in your

    possession, custody, or control, wherever located, regardless of whether they are possessed

    directly or indirectly by you or your agents, representatives, employees, accountants, lawyers, or

    other persons acting or purporting to act on your behalf.

           4)      A Request for a document or thing includes a request for any and all file folders

    or binders within which the document was contained, transmittal sheets, cover letters, exhibits,

    enclosures, or attachments to the document or thing in addition to the document or thing itself.

           5)      Produce all documents in their entirety, along with any attachments, drafts, and

    non-identical copies, including copies that differ due to handwritten notes or other notes or

    markings.

           6)      All documents should be produced as they are kept in the ordinary course of

    business, or shall be organized and labeled to correspond to the specific request(s) to which they

    are responsive. Specifically, in producing the documents requested herein, you shall produce the

    documents in the original file folders and file cartons in which they have been maintained, or

    attach a copy of the documents to copies of the file folders from which they came. The integrity

    and internal sequence of the requested documents within each folder shall not be disturbed or


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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 54
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    commingled with the contents of another folder. All documents should be stored, clipped,

    stapled, or otherwise arranged in the same form and manner as they were found.

            7)      All electronically stored information produced in response to these Requests shall

    be produced in their original electronic form (i.e. native format) on electronic media. All such

    items, including e-mails, shall be produced in the form in which it is ordinarily maintained with

    original electronic folder structure, folder names, and associated metadata, and should include

    data sufficient to reasonably indicate the following: (i) which request(s) the item is responsive to;

    (ii) where items (including attachments) and folders begin and end; (iii) the original file name;

    and (iv) the original time stamps and attributes.

            8)      If you object to any Request, state with specificity the grounds for each such

    objection. If you object to a portion of a Request, provide all documents and things requested by

    any portion of the Request to which you do not object and specifically identify the respect in

    which the remainder of the Request is allegedly objectionable.

            9)      If any portion of any document or thing is responsive to any Request, the entire

    document or thing must be produced.

            10)     If there are no documents or things responsive to any particular Request or part

    thereof, you shall state so in writing.

            11)     If you withhold any document or thing, or any portion of any document or thing,

    under a claim of privilege, immunity, or protection, including the attorney-client privilege or

    work product doctrine, you shall provide a written privilege log that sets forth the information

    required by Federal Rule of Civil Procedure 26(b)(5). If you redact information from a document

    produced in response to a Request, you shall identify the redaction by stamping the word




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 55
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    “Redacted” on the document at each place where information has been redacted and separately

    log each redaction on a written privilege log.

           12)     If any document or thing responsive to these Requests has been but is no longer in

    your possession, custody, or control because it has been destroyed, discarded, or placed outside

    of your custody or control, you shall furnish a list specifying each such document or thing and

    setting forth the type of document or thing, the general subject matter of the document or thing,

    the date of the document, the existence and nature of any attachments or appendices, the name(s)

    and address(es) of each person who prepared, received, viewed, or has or has had possession,

    custody, or control of the document or thing, the date on which the document or thing was

    destroyed, discarded, or placed outside of your possession, custody, or control, the manner in

    which and reason for which the document or thing was destroyed, discarded, or placed outside of

    your possession, and the person(s) authorizing and carrying out such destruction or discard.

           13)     These Requests shall be deemed continuing in nature and therefore, in accordance

    with Federal Rule of Civil Procedure 26(e), require you to promptly supplement responses if you

    learn of additional information responsive to these Requests between the time of the initial

    response to these Requests and the time of final judgment in this Action.

           14)     Unless instructed otherwise, each Request shall be construed independently and

    not by reference to any other Request for the purpose of limitation or exclusion.

           15)     These Requests are propounded without prejudice to, or waiver of, Defendants’

    right to conduct further discovery at a later date relevant to any issue raised in the Complaint in

    this Action or in any other relevant pleading.




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 56
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                                     REQUESTS FOR PRODUCTION

    REQUEST NO. 1:

           All non-content information related to the domain name www.thecarringtondiaries.com

    and/or the subscriber associated with the email account Rovier@thecarringtondiaries.com,

    including, without limitation:

           1. Name(s);

           2. Address(es) and other contact information;

           3. Associated backup or account recovery contact information, including telephone

               number(s) and other email address(es);

           4. IP addresses associated with all account logins, together with session dates, times and

               durations;

           5. Local and long distance telephone connection records;

           6. Length of service for each of the above-identified domain and email accounts

               (including start date and, if any, deactivation date);

           7. Other types of service utilized by the domain or associated subscribers; and

           8. Other subscriber number or identity, including any temporarily assigned network

               address.




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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 57
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                                                        SO ORDERED.

         February 13, 2019


                                                        HON. KATHERINE POLK FAILLA
                                                        UNITED STATES DISTRICT JUDGE




      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 58
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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 59
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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 60
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                                             SCHEDULE A

                         DEFINITIONS AND RULES OF CONSTRUCTION

           1)      The definitions and rules of construction set forth in Rules 34 and 45 of the

    Federal Rules of Civil Procedure, and Civil Rule 26.3 of the Local Rules for the United States

    District Court for the Sothern District of New York are hereby incorporated and shall apply to

    these Requests.

           2)      “Communication(s)” shall mean the transmittal of information (in the form of

    facts, ideas, inquiries or otherwise).

           3)      “Rovier Carrington” shall mean the individual named as plaintiff in this Action,

    and who is also known by various aliases, including, but not limited to, Trend Rovheir, Trend

    Rovier, TieLonzo Rovheir, Rovier Jase Carrington, and Antwon Dwayne Smith.

           4)      “Plaintiff” shall mean plaintiff Rovier Carrington and any representatives,

    advisors, associates, or any other person acting on his behalf.

           5)      “Document(s)” shall have the full meaning ascribed to it in Rule 34 of the Federal

    Rules and includes “electronically stored information” (“ESI”) as also defined in Rule 34.

    Examples of documents include, without limitation, all writings in any form, call logs, calendars,

    correspondence, diaries, manuals, memoranda, notes (including handwritten notes), reports,

    records, drawings, graphs, charts, photographs, sound recordings, images, video recordings,

    telephone records, Bloombergs, electronic mail messages, instant messages, spreadsheets,

    databases, all other forms of electronic communication, and other data or data compilations,

    including subscriber information, of whatever nature stored in any medium (including those from

    which information can be obtained or translated if necessary into a reasonably useable form.)

    For the avoidance of doubt, “document(s)” includes all originals of any nature whatsoever and




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 61
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    all non-identical copies thereof, whether different from the originals by reason of any notation

    made on such copies or otherwise.

             6)      “Native format” with respect to any ESI shall mean the original electronic file

    format in which such ESI is stored or maintained, without alteration or conversion to another

    format, and with all original attributes and original metadata.

             7)      “Person(s)” shall mean and include natural persons, firms, associations,

    corporations, institutions, partnerships, government agencies, or other organizations cognizable

    at law, and their agents and employees.

             8)      To bring within the scope of these Definitions and Requests all information that

    might otherwise be construed to be outside of their scope, the following rules of construction

    apply:

                  a. the masculine, feminine, or neuter pronoun shall not exclude other genders;

                  b. the word “including” shall be read to mean including without limitation;

                  c. the present tense shall be construed to include the past tense and vice versa;

                  d. references to employees, officers, directors, or agents shall include both current

                     and former employees, officers, directors, and agents;

                  e. the use of the singular form of any word includes the plural and vice versa;

                  f. “Concerning,” “evidence,” “refer,” “relate to,” “evidencing,” “referring” or

                     “relating to” any given subject means all documents which assess, concern,

                     constitute, contain, describe, discuss, embody, evidence, identify, record, reflect,

                     regard, show, state, refer or relate, directly or indirectly, in any way, to the subject

                     matter identified;




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 62
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                g. the terms “any,” “all,” and “each” shall be read to mean any, all, each and every;

                   and

                h. the connectives “and” and “or” shall be construed either disjunctively or

                   conjunctively as necessary to bring within the scope of these Requests any

                   information that might otherwise be construed to be outside their scope.

                                            INSTRUCTIONS

           1)      For the purpose of reading, interpreting, or construing the scope of these

    Requests, the terms used shall be given their most expansive and inclusive interpretation.

           2)      Unless otherwise indicated, the time period encompassed by these Requests is

    from January 1, 2010 through the present.

           3)      These Requests extend to all responsive documents or things that are in your

    possession, custody, or control, wherever located, regardless of whether they are possessed

    directly or indirectly by you or your agents, representatives, employees, accountants, lawyers, or

    other persons acting or purporting to act on your behalf.

           4)      A Request for a document or thing includes a request for any and all file folders

    or binders within which the document was contained, transmittal sheets, cover letters, exhibits,

    enclosures, or attachments to the document or thing in addition to the document or thing itself.

           5)      Produce all documents in their entirety, along with any attachments, drafts, and

    non-identical copies, including copies that differ due to handwritten notes or other notes or

    markings.

           6)      All documents should be produced as they are kept in the ordinary course of

    business, or shall be organized and labeled to correspond to the specific request(s) to which they

    are responsive. Specifically, in producing the documents requested herein, you shall produce the

    documents in the original file folders and file cartons in which they have been maintained, or


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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 63
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    attach a copy of the documents to copies of the file folders from which they came. The integrity

    and internal sequence of the requested documents within each folder shall not be disturbed or

    commingled with the contents of another folder. All documents should be stored, clipped,

    stapled, or otherwise arranged in the same form and manner as they were found.

            7)      All electronically stored information produced in response to these Requests shall

    be produced in their original electronic form (i.e. native format) on electronic media. All such

    items, including e-mails, shall be produced in the form in which it is ordinarily maintained with

    original electronic folder structure, folder names, and associated metadata, and should include

    data sufficient to reasonably indicate the following: (i) which request(s) the item is responsive to;

    (ii) where items (including attachments) and folders begin and end; (iii) the original file name;

    and (iv) the original time stamps and attributes.

            8)      If you object to any Request, state with specificity the grounds for each such

    objection. If you object to a portion of a Request, provide all documents and things requested by

    any portion of the Request to which you do not object and specifically identify the respect in

    which the remainder of the Request is allegedly objectionable.

            9)      If any portion of any document or thing is responsive to any Request, the entire

    document or thing must be produced.

            10)     If there are no documents or things responsive to any particular Request or part

    thereof, you shall state so in writing.

            11)     If you withhold any document or thing, or any portion of any document or thing,

    under a claim of privilege, immunity, or protection, including the attorney-client privilege or

    work product doctrine, you shall provide a written privilege log that sets forth the information

    required by Federal Rule of Civil Procedure 26(b)(5). If you redact information from a document




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 64
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    produced in response to a Request, you shall identify the redaction by stamping the word

    “Redacted” on the document at each place where information has been redacted and separately

    log each redaction on a written privilege log.

           12)     If any document or thing responsive to these Requests has been but is no longer in

    your possession, custody, or control because it has been destroyed, discarded, or placed outside

    of your custody or control, you shall furnish a list specifying each such document or thing and

    setting forth the type of document or thing, the general subject matter of the document or thing,

    the date of the document, the existence and nature of any attachments or appendices, the name(s)

    and address(es) of each person who prepared, received, viewed, or has or has had possession,

    custody, or control of the document or thing, the date on which the document or thing was

    destroyed, discarded, or placed outside of your possession, custody, or control, the manner in

    which and reason for which the document or thing was destroyed, discarded, or placed outside of

    your possession, and the person(s) authorizing and carrying out such destruction or discard.

           13)     These Requests shall be deemed continuing in nature and therefore, in accordance

    with Federal Rule of Civil Procedure 26(e), require you to promptly supplement responses if you

    learn of additional information responsive to these Requests between the time of the initial

    response to these Requests and the time of final judgment in this Action.

           14)     Unless instructed otherwise, each Request shall be construed independently and

    not by reference to any other Request for the purpose of limitation or exclusion.

           15)     These Requests are propounded without prejudice to, or waiver of, Defendants’

    right to conduct further discovery at a later date relevant to any issue raised in the Complaint in

    this Action or in any other relevant pleading.




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 65
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                                 REQUESTS FOR PRODUCTION

    REQUEST NO. 1:

           All non-content subscriber information related to the subscriber associated with the email

    account Rovier@thecarringtondiaries.com, including, without limitation:

           1. Name(s);

           2. Address(es) and other contact information;

           3. Associated backup or account recovery contact information, including telephone

              number(s) and other email address(es);

           4. IP addresses associated with all account logins, together with session dates, times and

              durations;

           5. Local and long distance telephone connection records;

           6. Length of service for each of the above-identified email accounts (including start date

              and, if any, deactivation date);

           7. Other types of service utilized by the associated subscribers; and

           8. Other subscriber number or identity, including any temporarily assigned network

              address.




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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 66
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                                                         SO ORDERED.

          February 13, 2019


                                                         HON. KATHERINE POLK FAILLA
                                                         UNITED STATES DISTRICT JUDGE




      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 67
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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 68
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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 69
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                                             SCHEDULE A

                         DEFINITIONS AND RULES OF CONSTRUCTION

           1)      The definitions and rules of construction set forth in Rules 34 and 45 of the

    Federal Rules of Civil Procedure, and Civil Rule 26.3 of the Local Rules for the United States

    District Court for the Sothern District of New York are hereby incorporated and shall apply to

    these Requests.

           2)      “Communication(s)” shall mean the transmittal of information (in the form of

    facts, ideas, inquiries or otherwise).

           3)      “Rovier Carrington” shall mean the individual named as plaintiff in this Action,

    and who is also known by various aliases, including, but not limited to, Trend Rovheir, Trend

    Rovier, TieLonzo Rovheir, Rovier Jase Carrington, and Antwon Dwayne Smith.

           4)      “Plaintiff” shall mean plaintiff Rovier Carrington and any representatives,

    advisors, associates, or any other person acting on his behalf.

           5)      “Document(s)” shall have the full meaning ascribed to it in Rule 34 of the Federal

    Rules and includes “electronically stored information” (“ESI”) as also defined in Rule 34.

    Examples of documents include, without limitation, all writings in any form, call logs, calendars,

    correspondence, diaries, manuals, memoranda, notes (including handwritten notes), reports,

    records, drawings, graphs, charts, photographs, sound recordings, images, video recordings,

    telephone records, Bloombergs, electronic mail messages, instant messages, spreadsheets,

    databases, all other forms of electronic communication, and other data or data compilations,

    including subscriber information, of whatever nature stored in any medium (including those from

    which information can be obtained or translated if necessary into a reasonably useable form.)

    For the avoidance of doubt, “document(s)” includes all originals of any nature whatsoever and




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 70
Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 71 of 610 Page ID #:153

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    all non-identical copies thereof, whether different from the originals by reason of any notation

    made on such copies or otherwise.

             6)      “Native format” with respect to any ESI shall mean the original electronic file

    format in which such ESI is stored or maintained, without alteration or conversion to another

    format, and with all original attributes and original metadata.

             7)      “Person(s)” shall mean and include natural persons, firms, associations,

    corporations, institutions, partnerships, government agencies, or other organizations cognizable

    at law, and their agents and employees.

             8)      To bring within the scope of these Definitions and Requests all information that

    might otherwise be construed to be outside of their scope, the following rules of construction

    apply:

                  a. the masculine, feminine, or neuter pronoun shall not exclude other genders;

                  b. the word “including” shall be read to mean including without limitation;

                  c. the present tense shall be construed to include the past tense and vice versa;

                  d. references to employees, officers, directors, or agents shall include both current

                     and former employees, officers, directors, and agents;

                  e. the use of the singular form of any word includes the plural and vice versa;

                  f. “Concerning,” “evidence,” “refer,” “relate to,” “evidencing,” “referring” or

                     “relating to” any given subject means all documents which assess, concern,

                     constitute, contain, describe, discuss, embody, evidence, identify, record, reflect,

                     regard, show, state, refer or relate, directly or indirectly, in any way, to the subject

                     matter identified;




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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 71
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                g. the terms “any,” “all,” and “each” shall be read to mean any, all, each and every;

                   and

                h. the connectives “and” and “or” shall be construed either disjunctively or

                   conjunctively as necessary to bring within the scope of these Requests any

                   information that might otherwise be construed to be outside their scope.

                                            INSTRUCTIONS

           1)      For the purpose of reading, interpreting, or construing the scope of these

    Requests, the terms used shall be given their most expansive and inclusive interpretation.

           2)      Unless otherwise indicated, the time period encompassed by these Requests is

    from January 1, 2010 through the present.

           3)      These Requests extend to all responsive documents or things that are in your

    possession, custody, or control, wherever located, regardless of whether they are possessed

    directly or indirectly by you or your agents, representatives, employees, accountants, lawyers, or

    other persons acting or purporting to act on your behalf.

           4)      A Request for a document or thing includes a request for any and all file folders

    or binders within which the document was contained, transmittal sheets, cover letters, exhibits,

    enclosures, or attachments to the document or thing in addition to the document or thing itself.

           5)      Produce all documents in their entirety, along with any attachments, drafts, and

    non-identical copies, including copies that differ due to handwritten notes or other notes or

    markings.

           6)      All documents should be produced as they are kept in the ordinary course of

    business, or shall be organized and labeled to correspond to the specific request(s) to which they

    are responsive. Specifically, in producing the documents requested herein, you shall produce the

    documents in the original file folders and file cartons in which they have been maintained, or


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       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 72
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    attach a copy of the documents to copies of the file folders from which they came. The integrity

    and internal sequence of the requested documents within each folder shall not be disturbed or

    commingled with the contents of another folder. All documents should be stored, clipped,

    stapled, or otherwise arranged in the same form and manner as they were found.

            7)      All electronically stored information produced in response to these Requests shall

    be produced in their original electronic form (i.e. native format) on electronic media. All such

    items, including e-mails, shall be produced in the form in which it is ordinarily maintained with

    original electronic folder structure, folder names, and associated metadata, and should include

    data sufficient to reasonably indicate the following: (i) which request(s) the item is responsive to;

    (ii) where items (including attachments) and folders begin and end; (iii) the original file name;

    and (iv) the original time stamps and attributes.

            8)      If you object to any Request, state with specificity the grounds for each such

    objection. If you object to a portion of a Request, provide all documents and things requested by

    any portion of the Request to which you do not object and specifically identify the respect in

    which the remainder of the Request is allegedly objectionable.

            9)      If any portion of any document or thing is responsive to any Request, the entire

    document or thing must be produced.

            10)     If there are no documents or things responsive to any particular Request or part

    thereof, you shall state so in writing.

            11)     If you withhold any document or thing, or any portion of any document or thing,

    under a claim of privilege, immunity, or protection, including the attorney-client privilege or

    work product doctrine, you shall provide a written privilege log that sets forth the information

    required by Federal Rule of Civil Procedure 26(b)(5). If you redact information from a document




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    produced in response to a Request, you shall identify the redaction by stamping the word

    “Redacted” on the document at each place where information has been redacted and separately

    log each redaction on a written privilege log.

           12)     If any document or thing responsive to these Requests has been but is no longer in

    your possession, custody, or control because it has been destroyed, discarded, or placed outside

    of your custody or control, you shall furnish a list specifying each such document or thing and

    setting forth the type of document or thing, the general subject matter of the document or thing,

    the date of the document, the existence and nature of any attachments or appendices, the name(s)

    and address(es) of each person who prepared, received, viewed, or has or has had possession,

    custody, or control of the document or thing, the date on which the document or thing was

    destroyed, discarded, or placed outside of your possession, custody, or control, the manner in

    which and reason for which the document or thing was destroyed, discarded, or placed outside of

    your possession, and the person(s) authorizing and carrying out such destruction or discard.

           13)     These Requests shall be deemed continuing in nature and therefore, in accordance

    with Federal Rule of Civil Procedure 26(e), require you to promptly supplement responses if you

    learn of additional information responsive to these Requests between the time of the initial

    response to these Requests and the time of final judgment in this Action.

           14)     Unless instructed otherwise, each Request shall be construed independently and

    not by reference to any other Request for the purpose of limitation or exclusion.

           15)     These Requests are propounded without prejudice to, or waiver of, Defendants’

    right to conduct further discovery at a later date relevant to any issue raised in the Complaint in

    this Action or in any other relevant pleading.




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                                  REQUESTS FOR PRODUCTION

    REQUEST NO. 1:

           All non-content subscriber information related to the subscribers associated with the

    email accounts trendsetterrovheir@gmail.com and roviercarrington@gmail.com, including,

    without limitation:

           1. Name(s);

           2. Address(es) and other contact information;

           3. Associated backup or account recovery contact information, including telephone

               number(s) and other email address(es);

           4. IP addresses associated with all account logins, together with session dates, times and

               durations;

           5. Local and long distance telephone connection records;

           6. Length of service for each of the above-identified email accounts (including start date

               and, if any, deactivation date);

           7. Other types of service utilized by the associated subscribers; and

           8. Other subscriber number or identity, including any temporarily assigned network

               address.




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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    ROVIER CARRINGTON,

                            Plaintiff,

                    -against-

    BRIAN GRADEN, BRIAN GRADEN                                   Case No. 18-cv-04609 (KPF)
    MEDIA, LLC, VIACOM INC., VIACOM
    INTERNATIONAL INC., PARAMOUNT
    PICTURES CORPORATION, BRAD GREY,
    BRAD GREY ESTATE, BRAD ALAN GREY
    TRUST

                            Defendants.


      WRITTEN CONSENT TO ACCESS CONTENTS OF EMAIL COMMUNICATIONS

           I, ROVIER CARRINGTON, plaintiff in the above-captioned matter, hereby declare the

    following under penalty of perjury:

       1. At all relevant times, I have been the subscriber and user associated with the following

    three email accounts:

               a. trendsetterrovheir@gmail.com;

               b. roviercarrington@gmail.com; and

               c. Rovier@thecarringtondiaries.com.

       2. Pursuant to U.S.C. § 2702(b)(3), and in connection with the above-captioned matter, I

    hereby consent to the disclosure of the content of the above-referenced email accounts to FTI

    Consulting, Inc. at the address, 350 S. Grand Ave. Suite 3000, Los Angeles, California 90071.

       3. Accordingly, I authorize Google LLC (“Google”) and Microsoft Corporation
    (“Microsoft”), the internet service providers associated with the above-referenced accounts, as
    well as GoDaddy.com, LLC (“GoDaddy”), the domain host associated with the above-referenced

    accounts, to disclose and produce all available and/or recoverable content of the above-

    referenced email accounts (including, but not limited to, all sent, received, stored, draft, and


                                                      1


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      deleted email communications in the possession, custody or control of Google, Microsoft,

      and/or GoDaddy) to FTI Consulting, Inc. at the address, 350 S. Grand Ave. Suite 3000, Los

      Angeles, California 90071.



      Dated: Los Angeles, California           Duly sworn,
             February __, 2019


                                               By:
                                                         Rovier Carrington




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                          EXHIBIT 006




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   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 303
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   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 304
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   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 305
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                        EXHIBIT 008




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 384
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                        EXHIBIT 009




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 386
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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
   -------------------------------------------------------
                                                         X
                                                         :
   ROVIER CARRINGTON,                                    :
                                                         :
                                         Plaintiff,      :   18 Civ. 4609 (KPF)
                                                         :
                         v.                              :        ORDER
                                                         :
   BRIAN GRADEN, BRIAN GRADEN MEDIA :
   LLC, VIACOM INC., VIACOM                              :
   INTERNATIONAL INC., PARAMOUNT                         :
   PICTURES CORPORATION, BRAD GREY, :
   BRAD GREY ESTATE, BRAD ALAN GREY :
   TRUST,                                                :
                                                         :
                                         Defendants. :
                                                         :
   ----------------------------------------------------- X
  KATHERINE POLK FAILLA, District Judge:

         On July 19, 2019, the Court received two submissions from Plaintiff.

  (Dkt. #136, 137). The first of these two submissions can be dealt with quickly.

  Plaintiff objects to the absence of docket entry 114 from the docket and claims

  that it has been removed without justification. In fact, on May 13, 2019, the

  Court had restricted docket entry 114 to court users and case participants only

  to protect the privacy of parties to this case. (Dkt. #122). As Plaintiff disclaims

  an interest in keeping the entry restricted, the Court hereby directs the Clerk of

  Court to remove restrictions on docket entry 114 and restore it to the active

  docket.

         As for Plaintiff’s second request, Plaintiff objects to the affidavit of Brian

  Graden, submitted in conjunction with Defendants’ reply memorandum of law

  in support of their motion for terminating sanctions. (Dkt. #133). The Court




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    will address the substance of Plaintiff’s objections at the conference on July 25,

    2019. However, given the sensitive nature of aspects of Plaintiff’s second letter,

    the Court deems it appropriate to temporarily restrict access to the document.

    The Court will address what documents in the case shall remain restricted

    moving forward at the forthcoming conference, but the Court considers the

    privacy interests of Defendants and counsel to outweigh the need for

    immediate disclosure. See Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,

    119-20 (2d Cir. 2006) (holding that “the court must ‘balance competing

    considerations’ … [of the right of public access and] [s]uch countervailing

    factors … [as] ‘the privacy interests of those resisting disclosure’”) (internal

    citations omitted). The Clerk of Court is directed to restrict docket entry 137 to

    court users and case participants only.

           SO ORDERED.

    Dated:         July 23, 2019
                   New York, New York              __________________________________
                                                        KATHERINE POLK FAILLA
                                                       United States District Judge




 A copy of this Order was mailed by Chambers to:

    Rovier Carrington
    5901 Encina Road
    Suite C-2
    Goleta, CA 93117




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                        EXHIBIT 010




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                         Case 1:18-cv-04609-KPF Document 114 Filed 04/10/19 Page 1 of 5


                            Stanton L. Stein                 Diana A. Sanders
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                     !
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                            The Honorable Katherine Polk Failla
                            United States District Court
Tel 310.826.7474            Southern District of New York
Fax 310.826.6991            40 Foley Square, Courtroom 618
www.raklaw.com
                                    Re:         Carrington v. Graden et al, Case No. 1:18-cv-04609-KPF

                     Dear Judge Failla:

             The undersigned counsel represent all Defendants in this action. We write jointly to update Your
             Honor regarding the results of the subpoenas issued by the Court to GoDaddy.com LLC (“GoDaddy”),
             Microsoft Corporation (“Microsoft”) and Google, Inc. (“Google”), as well as the analysis of FTI
             Consulting (“FTI”) of Mr. Carrington’s iPhone X and of emails produced to FTI by Google. Each of
             these issues was covered by Order of this Court dated February 13, 2019. Dkt. No. 102. As the
             findings below show, it is now clearer than ever that the 39 disputed At-Issue Communications that
             form the foundation of this action never existed in the form forwarded by Plaintiff Rovier Carrington
             to his counsel, and attached and quoted extensively throughout the amended complaint. As FTI’s
             investigation already showed, none of the native emails could be located in Plaintiff’s email accounts.
             Now, further information obtained from Google, Microsoft, GoDaddy and FTI shows that the two email
             accounts from which virtually all of these communications were purportedly exchanged
             (trendsetterrovheir@gmail.com and rovier@thecarringtondiaries.com) were deleted after the
             authenticity issues were first raised in this action, in a campaign by Plaintiff to spoliate the digital
             record and thereby eliminate further proof that Plainitff perpetrated a fraud on the Court. No further
             proof is necessary beyond the fact that none of the disputed At-Issue Communications exist, Plaintiff’s
             own spoliation campaign, and the declarations of Darren Stein, Reno Logan, and James Kelshaw
             establishing that these emails were never exchanged. Accordingly, pursuant to Rule 11 and the
             Court’s inherent authority, Defendants intend to file a motion for terminating sanctions and other
             appropriate relief based upon Plaintiff’s fraud on the Court and spoliation, and respectfully request a
             pre-motion conference in advance of such motion.

                I.       The Evidence Was Already Clear that a Fraud on the Court Has Been Perpetrated

             The parties have now confirmed that, of the 40 separate At-Issue Communications included in the
             email chains that Plaintiff attached to his amended complaint [Dkt. No. 40-1], the only one found in
             Plaintiffs’ email accounts is the single email as to which authenticity is not in dispute. By contrast,
             not one of 39 contested emails that Plaintiff filed in support of his claims exists in native form in any
             of his accounts.

             Two independent third parties, Darren Stein and Reno Logan, have submitted sworn declarations
             stating that the emails appended to Mr. Carrington’s amended complaint purporting to be
             communications with them were never exchanged. See Dkt. No. 56-2 (Declaration of Darren Stein);
             July 23, 2018 email from Graden Defendants’ counsel to the Court and all counsel attaching letter
             enclosing Declaration of Reno Logan and Supplemental Declaration of Darren Stein. Indeed, Mr.
             Stein attested that he sent only one single email ever to Mr. Carrington, which he attached to his




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            !
   declaration, and which notably does not contain the alleged language against Brian Graden that the
   version offered by Mr. Carrington contains. See Dkt. No. 56-2, Ex. A. Further, TransPerfect Inc., a
   reputable digital forensics company, conducted a forensic analysis of Mr. Stein’s email account,
   which confirmed that the email attached to Mr. Stein’s declaration is identical to the one that exists
   in native form in his account and that there are no other emails with Mr. Carrington in the account.
   See Dkt. No. 56-3 (Declaration of James Kelshaw with exhibit); Dkt. No. 57-1 (Supplemental
   Declaration of James Kelshaw).

   Moreover, the forensic analysis conducted of Mr. Graden’s email account also showed that the
   emails offered by Plaintiff as exhibits to the amended complaint do not exist, but rather that
   fragments of actual emails Mr. Graden did send to Plaintiff were lifted from those real emails to
   create the fabricated emails appended as exhibits 9 and 10 to the amended complaint. See Dkt.
   No. 56-3 (Declaration of James Kelshaw). Accordingly, the only native documents retrievable in
   this litigation show fabrication by Plaintiff. The Court has inherent authority to impose sanctions on
   this basis. See Chambers v. NASCO, Inc., 501 U.S. 32, 51 (1991); ComLab, Corp. v. Kal Tire &
   Kal Tire Mining Tire Grp., No. 17-cv-1907 (KBF), 2018 U.S. Dist. LEXIS 154983, at *1, *20-25
   (S.D.N.Y. Sep. 11, 2018) (sanctions granted for fraud on the court where plaintiff “cannot produce
   so-called ‘native’ versions of the contested e-mails because of an alleged virus that affected [its]
   computer,” and the “story regarding a computer virus does not make sense”).

       II.    Further Evidence Now Conclusively Shows that Plaintiff Has Engaged in a Mass
              Spoliation Campaign to Obstruct the Investigation into His Fraud

   The evidence put forth by Defendants over the last nine months, the findings of the neutral e-
   discovery vendor FTI, and the findings from the subpoenas to Google, Microsoft and GoDaddy
   confirm that Plaintiff Rovier Carrington engaged in a total wipe-out campaign of his devices to prevent
   the parties and the Court from retrieving the natives of his emails and showing that the disputed At-
   Issue Communications never existed.

   Mr. Carrington’s iPhone X: Consistent with the Court’s Order, FTI was finally able to perform an
   examination of Mr. Carrington’s iPhone X and it delivered its inspection report to the parties on March
   5, 2019. See Exhibit A. As can be seen from the report, FTI concluded that “[n]o instances of the At-
   Issue Communications were identified” in Mr. Carrington’s iPhone X. However, FTI found that “Mr.
   Carrington’s data was migrated from his previous iPhone.” Exhibit A, page 2. Relatedly, FTI
   observed that multiple Apple ID accounts were linked to the iPhone X, including
   (1) trendsetterrovheir@gmail.com (the “Trendsetter Account”) and (2) roviercarrington@gmail.com
   (the “Existing Account”)—two of the three email accounts at issue in this litigation. FTI’s findings
   directly contradict Mr. Carrington’s representation to Your Honor during the February 7, 2019
   telephonic conference that he did not migrate his data from his old iPhone 7 to his new iPhone X and
   did not have the aforementioned email accounts linked to it.1 Based on FTI’s findings, it appears that
   Mr. Carrington purged any and all data that may have been relevant in this litigation from his current
   and only available phone.

   Google: Google produced non-content related information associated with the Trendsetter Account
   and Existing Account. Google also produced content-related information associated with the Existing



   1
    In a letter from Plaintiff’s former counsel to Your Honor dated September 17, 2018, Plaintiff
   represented that “the forwarded emails were forwarded from an I-Phone 10, which Mr. Carrington
   has in his possession.” Dkt. No. 76, page 5.



                                                      2

   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 391
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          !
   Account to FTI but could not recover any content-related information associated with the Trendsetter
   Account.

          Trendsetter Account: Critically, the Trendsetter Account is the one from which Plaintiff
          purportedly exchanged the emails most central to the claims and allegations in this action.
          See Amended Complaint [Dkt. No. 40, Exs. 1-7]. Mr. Carrington and his counsel have
          repeatedly represented to the Court and Defendants that the Trendsetter Account was
          “deactivated” several years ago, and that the original emails thus could not be recovered. See
          Transcript of Sept. 18, 2018 proceedings, 34:11-14; see also Affidavit of K. Gus Dimitrelos, ¶
          13 (submitted with letter from Mr. Carrington to the Court dated February 6, 2019); Exhibit C
          email from K. Landau to parties dated Aug. 24, 2018. As noted above, however, this account
          was linked to Plaintiff’s iPhone X, which was released in November 2017, long after Plaintiff
          claims this account was “deactivated.” More specifically, the Google-produced information
          shows this account was actually deactivated on June 19, 2018. See Exhibit B. To put that
          date into context, it is (1) just one day after Plaintiff filed the amended complaint, which
          attached as exhibits the explosive Trendsetter Account emails now at issue; (2) almost two
          months after the filing of this litigation; and (3) a month after issuance of a preservation letter,
          which was sent to Plaintiff’s counsel twice, on May 21 and 22, 2018.

          Existing Account: Following production to FTI of all content-related documents relating to the
          Existing Account, FTI conducted a search and delivered its report to the parties on March 28,
          2019. See Exhibit D. As can be seen from the report, FTI’s “search process did not identify
          any original instances of the At-Issue Communications.” Mr. Carrington therefore also purged
          all emails that may have been relevant in this litigation from this account, the only one he
          continues to maintain.

   Microsoft: Per Microsoft, the third email account at issue, rovier@thecarringtondiaries.com (the
   “Carrington Diaries Account”), does not currently exist in its system but was used through September
   2018 before being closed. See Exhibit E (email from Microsoft counsel Drew Wilkinson). Microsoft
   further indicated that Office 365 accounts such as the Carrington Diaries Account are controlled
   completely by the user, who has the power to delete the accounts and the content therein. This
   information from Microsoft evidences that Mr. Carrington closed his Carrington Diaries Account in
   September 2018, after all of the issues and concerns regarding authenticity were raised and after
   Your Honor authorized further discovery into Plaintiff’s evidence.

   GoDaddy: GoDaddy, which hosts the domain for Plaintiff’s website www.thecarringtondiaries.com
   and its associated Carrington Diaries Account, supplied data confirming that the
   www.thecarringdiaries.com domain




                                                                                                   Again,
   these events occurred after the Court’s orders for further discovery and specifically after the Court’s
   authorization of subpoenas to Microsoft and GoDaddy.

   It is significant to note that the GoDaddy records also reveal




                                                       3

   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 392
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           !




   In short, Plaintiff has affirmatively sought to delete all traces of the email records that he filed as
   exhibits to the amended complaint in this action. Not only did Plaintiff have a clear duty to preserve
   this data at all relevant times, but this spoliation campaign was in willful violation of the Court’s
   August 7, 2018 Order [Dkt. No. 64] specifically directing all parties to “immediately preserve each
   and every document constituting or containing any portion of any of the [At-Issue
   Communications].” Such willful spoliation and violation of the Court’s Order is alone sanctionable
   and, under the circumstances, sufficient to dismiss this action. See Fed. R. Civ. Pro. 37(b),(e);
   West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999) (“a district court may
   impose sanctions for spoliation, exercising its inherent power to control litigation”). Considered with
   the fact that this spoliation was to obstruct an investigation into what is already clear to have been a
   fraud on the Court, terminating sanctions are fully warranted. See, e.g., ComLab, 2018 U.S. Dist.
   LEXIS 154983, at *1, *20-25 (granting terminating sanctions under analogous circumstances).

   We thank the Court for its attention to this matter.




                                                          4

   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 393
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                !


        Respectfully submitted,


        _/s/ Stanton L. Stein____

        RUSS AUGUST & KABAT
        Stanton L. Stein (appearing pro hac vice)
        Diana A. Sanders (appearing pro hac vice)
        12424 Wilshire Blvd., 12th Floor
        Los Angeles, CA 90025

        Attorneys for Defendants Brian Graden
        and Brian Graden Media, LLC


          /s/ Wook Hwang

        LOEB & LOEB LLP
        Wook Hwang
        Sarah Schacter
        345 Park Avenue
        New York, New York 10154

        Attorneys for Brad Grey, Brad Grey Estate and
        Brad Alan Grey Trust


        _/s/ Stephen Fishbein_____

        SHEARMAN & STERLING LLP
        Stephen Fishbein
        Christopher LaVigne
        599 Lexington Ave.
        New York, NY 10022

        Counsel for Viacom Inc., Viacom International Inc.
        and Paramount Pictures Corporation


        Enclosure

        cc:    All Counsel of Record (via ECF)
               Rovier Carrington




                                                         5

   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 394
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                              EXHIBIT A




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 395
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     MARCH 5, 2019




     IPHONE INSPECTION REPORT

     CASE NUMBER: 1:18‐CV‐04609‐KPF

     ROVIER CARRINGTON V. GRADEN BRIAN GRADEN MEDIA,
     LLC, VIACOM INC., VIACOM INTERNATIONAL INC., PARAMOUNT
     PICTURES CORPORATION, BRAD GREY, BRAD GREY ESTATE, BRAD
     ALAN GREY TRUST

     FTI MATTER NUMBER: 009223.0051




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 396
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CARRINGTON V. GRADEN ET AL.




Background and Scope
On February 13, 2019, the Honorable Katherine Polk Failla of the United States District Court, Southern District of New York
issued an order further discovery in the case Carrington v. Graden et al. (Case 1:18‐CV‐04609‐KPF) which included the imaging
and analyzing Mr. Carrington’s iPhone X for evidence pertaining to the At‐Issue Communications, including the transmission
and/or deletion thereof, as well as non‐content user activity associated with the Accounts and/or concerning the dates of
operation of such device.



Information Considered
I relied on the following sources during this analysis:

    1.   Honorable Katherine Polk Failla’s Order for Limited Discovery Concerning the Authenticity of Communications, Case
         1:18‐cv‐04609‐KPF Document 64 Filed 08/07/18
    2.   Honorable Katherine Polk Failla’s Order for Further Discovery, Case 1:18‐cv‐04609‐KPF Document 64 Filed 02/13/19

    3.   Exhibits 2‐11 to the Amended Complaint (Dkt. #40‐1), Case 1:18‐cv‐04609‐KPF Document 35‐1 Filed 06/18/18 Pages
         4 – 35

    4.   Exhibit A to the Declaration of Darren Stein (Dkt. #56‐2), Case 1:18‐cv‐04609‐KPF Document 56‐2 Filed 07/12/18
         Page 5 of 5
    5.   Exhibits 1‐4 to the Declaration of James Kelshaw (Dkt. #56‐3), Case 1:18‐cv‐04609‐KPF Document 56‐3 Filed 07/12/18
         Pages 6 – 15

    6.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 10 Re Stolen Show, 8.7.17_Redacted 2 3.pdf”

    7.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 2 re Business 10.29.10_Redacted 3 4.pdf”
    8.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 8 re Build a Reality Show, 5.15.15_Redacted 2 3.pdf”

    9.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 9 re Inheritance TV Project, 8.10.15_Redacted
         2_Redacted 3.pdf”

    10. Various communications with parties
    11. Mr. Carrington’s iPhone X, serial number F2MW2B7XJCLG




Methodology and Findings
On February 27, 2019, Mr. Carrington came to the Los Angeles offices of FTI Consulting, Inc. located at 350 S. Grand Avenue,
Suite 3000, Los Angeles, CA 90071 and presented his iPhone X for collection. I performed the image in one of our conference
rooms using the Cellebrite software UFED Physical Analyzer v. 7.15.1.1 in the presence of Mr. Carrington, during which time
input his screen code each time asked. Once the imaging process completed and I verified the data to be readable, I handed
the device to Mr. Carrington and he departed.




1


      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 397
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CARRINGTON V. GRADEN ET AL.



I am unable to determine the initial date of use for this device. There are no inherent Apple iOS initialization logs or other
artifacts on which to rely for this information. It appears that Mr. Carrington’s data was migrated from his previous iPhone,
which further complicates this determination. This is because user files such as AddressBook.sqlitedb and sms.db retained
their creation dates of February 6, 2015 while the iPhone X was released around November 2017.


No email data was identified in this data collection by the Cellebrite UFED Physical Analyzer or Oxygen Forensic Detective
applications. This is because Mr. Carrington uses the native iOS email application and that data is not exposed for collection
with industry‐leading tools such as Cellebrite UFED Physical Analyzer. I did observe multiple Apple ID accounts associated
with this device, two of which are associated with the At‐Issue Communications:
    1.   trendsetterrovheir@gmail.com

    2.   roviercarrington@gmail.com


I searched the iPhone data using terms selected from the At‐Issue Communications. The terms were run as whole words
without case‐sensitivity due to limitations of the Cellebrite UFED Physical Analyzer software.
Those terms included:
    1.   Blacklist

    2.   Graden
    3.   Loftus

    4.   Petahmj

    5.   Raped
    6.   Sumner



No instances of the At‐Issue Communications were identified.




2


     EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 398
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                              EXHIBIT B




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 399
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                                   #:482
           Case 1:18-cv-04609-KPF Document 114-2 Filed 04/10/19 Page 2 of 7




  March 13, 2019



  VIA EMAIL

  Stanton “Larry” Stein
  Russ August & Kabat
  12424 Wilshire Blvd, 12th Floor
  Los Angeles, CA 90025
  (310) 826-7474
  Fax: (310) 979-8222
  lstein@raklaw.com

  Re:      Subpoena in Carrington v. Graden, et al., No. 1:18-cv-04609-KPF (S.D.N.Y.)

  Dear Larry:

  We represent Google LLC (“Google”) and write regarding the subpoena Google received in the
  above-referenced matter for records regarding trendsetterrovheir@gmail.com and
  roviercarrington@gmail.com. Google produced reasonably available non-content records for
  trendsetterrovheir@gmail.com on March 11, 2019. Google has provided notice to
  roviercarrington@gmail.com regarding the subpoena, and will produce reasonably available and
  responsive non-content records if the user does not file objections with the court by 10 a.m.
  Pacific Time on March 21, 2019. The user can expedite production if he or she responds to
  Google before March 21st and confirms they have no objection.

  As for the court-ordered consent form, Google does not possess any content for
  trendsetterrovheir@gmail.com. Moreover, Google cannot properly verify user consent via a
  paper consent form and is not required to do so under federal law. 1 Google does, however, have
  a process for verifying user consent and we would be happy to discuss that process with you and
  Plaintiff with respect to the existing account. In sum, that process involves a consent order that
  requires the user to verify their consent via email through the account in question and provide
  electronic consent for production of the contents of their account. Please contact me if you
  would like to further discuss.


  1
    See United States v. Wenk, 319 F. Supp. 3d 828, 829 (E.D. Va. 2017) (“under the [Stored Communications Act] a
  [non-governmental entity] cannot couple user consent and a court ordered subpoena to compel disclosure from a
  service provider.”); PPG Industries, Inc. v. Jiangsu Tie Mao Glass Co., Ltd., 273 F. Supp. 3d 558, 561 (W.D. Pa.
  2017) (“according to the language of the SCA, it is within the providers’ discretion whether to disclose e-mails even
  in cases where there is lawful consent.”); Schweickert v. Hunts Point Ventures, Inc., No. 13–cv–675RSM, 2014 WL
  6886630, at *13 (W.D. Wash. Dec. 4, 2014) (same).




      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 400
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     Very truly yours,

            /s/

     John K. Roche




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 401
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                                   #:484
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  Google LLC                                                                     google-legal-support@google.com
  1600 Amphitheatre Parkway                                                                      www.google.com
  Mountain View, California 94043


                                                  March 11, 2019
  Via Email Only
  lstein@raklaw.com

  Stanton L. Stein
  Russ August & Kabat
  12424 Wilshire Boulevard, 12th Floor
  Los Angeles, California 90025
  310-826-7474

          Re: Rovier Carrington v. Brian Graden et al., United States District Court for the Southern
          District of New York, 18-cv-04609 (KPF) (Internal Ref. No. 2334878)


  Dear Stanton L. Stein:

          Pursuant to the subpoena issued in the above-referenced matter, we have conducted a diligent search
  for documents and information accessible on Google’s systems that are responsive to your request. Without
  waiving, and subject to its objections, Google hereby produces the attached documents. Our response is made
  in accordance with state and federal law, including the Electronic Communications Privacy Act. See 18 U.S.C.
  § 2701 et seq. By this response, Google does not waive any objection to further proceedings in this matter.
           We understand that you have requested customer information regarding the user account(s) specified
  in the subpoena, which includes the following information: (1) subscriber and recent login information for the
  Gmail account TRENDSETTERROVHEIR@GMAIL.COM.
           Accompanying this letter is responsive information to the extent reasonably accessible from our
  system, a list of hash values corresponding to each file, and a signed Certificate of Authenticity. Google may
  not retain a copy of this production but does endeavor to keep a list of the files and their respective hash
  values.
          Finally, Google requests reimbursement in the amount of $125 for reasonable costs incurred in
  processing your request. Please forward your payment to Google Custodian of Records, at the address above
  and please write the Internal Reference Number (2334878) on your check. The federal tax ID number for
  Google is XX-XXXXXXX.


                                                     Very truly yours,

                                                     Sara Plummer
                                                     Legal Investigations Support




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 402
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                                   #:485
            Case 1:18-cv-04609-KPF Document 114-2 Filed 04/10/19 Page 5 of 7




   Google LLC                                                                google-legal-support@google.com
   1600 Amphitheatre Parkway                                                                 www.google.com
   Mountain View, California 94043


                          Hash Values for Production Files (Internal Ref. No. 2334878)

   trendsetterrovheir.AccountInfo.txt:

   MD5- 2a06281cecf468e8af7abdd12d190a5f
   SHA512-
   09ea0cecd6c5a0ddec77ac195fdb00ab90a55abb94464eda8d42096a3c9391eecab0f0bf4b72d3791fa3427dfb86f
   a8817fab00d5f99a7cdab779fdd380eea4c




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 403
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                                   #:486
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   Google LLC                                                                       google-legal-support@google.com
   1600 Amphitheatre Parkway                                                                        www.google.com
   Mountain View, California 94043



                                       CERTIFICATE OF AUTHENTICITY


   I, Sara Plummer, certify:


   1. I am a Custodian of Records for Google LLC (“Google”), located in Mountain View, California. I am
   authorized to submit this Certificate of Authenticity on behalf of Google in response to a subpoena dated
   February 13, 2019 (Google LLC Internal Reference No. 2334878) in the matter of Rovier Carrington v. Brian
   Graden et al.. I have personal knowledge of the following facts and could testify competently thereto if called
   as a witness.

   2. The accompanying 1 file(s) contain true and correct copies of records pertaining to the email address
   TRENDSETTERROVHEIR@GMAIL.COM (“Document”).

   3. The documents attached hereto reflect records made and retained by Google. The records were made at or
   near the time the data was acquired, entered, or transmitted to or from Google; the records were kept in the
   course of a regularly conducted activity of Google; and the making of the records were a regular practice of
   that activity.

   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and
   correct.


   DATED: March 11, 2019




             Sara Plummer, Custodian of Records for Google LLC




    EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 404
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                                   #:487
         Case 1:18-cv-04609-KPF Document 114-2 Filed 04/10/19 Page 7 of 7



    ############## * Google Confidential and Proprietary * ###############

    GOOGLE SUBSCRIBER INFORMATION
    Name:
    e-Mail: TrendsetterRovheir@gmail.com
    End of Service Date: 2018/06/19-17:43:57-UTC
    Services: Android, Blogger, Gmail, Google Calendar, Google Docs,
    Google Drive, Google Friend Connect, Google Hangouts, Google Maps
    Engine, Google Mobile, Google Payments, Google Photos, Google
    Services, Google Subscribed Links, Google Voice, Google+, Has Google
    Profile, Has Plusone, Location History, Web & App Activity, YouTube,
    iGoogle
    Created on: 2009/09/10-06:29:33-UTC
    Terms of Service IP: -
    Google Account ID: 190453201304

    No user IP logs data.

    ############## * Google Confidential and Proprietary * ###############




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 405
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                               EXHIBIT C




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 406
                 Case 1:18-cv-04609-KPF Document 114-3 Filed 04/10/19 Page 2 of 12
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 407 of 610 Page ID
                                     #:489
  From:    Kevin Landau Kevin@TheLandauGroup.com
Subject:   Re: Carrington v. Graden et al.
   Date:   August 24, 2018 at 2:17 PM
     To:   Wook Hwang whwang@loeb.com
    Cc:    Hammerquist, Erik Erik.Hammerquist@FTIConsulting.com, Shields, Steve Steve.Shields@FTIConsulting.com,
           Christopher LaVigne Christopher.LaVigne@shearman.com, Zach Landau zach@thelandaugroup.com, Larry Stein
           lstein@raklaw.com, Diana Sanders dsanders@raklaw.com, Stephen Fishbein SFishbein@shearman.com, Gabrielle Vidal
           gvidal@loeb.com, Sarah Schacter sschacter@loeb.com

     This email has been deactivated for years. We indicated the same in email to FTI.

     Sent from my iPhone

     On Aug 24, 2018, at 4:13 PM, Wook Hwang <whwang@loeb.com> wrote:

       Kevin – Why have you not provided the required login information for the third account,
       trendsetterrovheir@gmail.com?

       Wook Hwang |Partner
       LOEB & LOEB LLP | whwang@loeb.com
       345 Park Avenue | New York, NY 10154
       Direct 212.407.4035 | Fax 212.937.3847

       From: Hammerquist, Erik <Erik.Hammerquist@FTIConsulting.com>
       Sent: Friday, August 24, 2018 4:08 PM
       To: Wook Hwang <whwang@loeb.com>; Kevin Landau <kevin@thelandaugroup.com>; Shields, Steve
       <Steve.Shields@fticonsulting.com>
       Cc: Christopher LaVigne <Christopher.LaVigne@shearman.com>; Zach Landau <zach@thelandaugroup.com>;
       Larry Stein <lstein@raklaw.com>; Diana Sanders <dsanders@raklaw.com>; Stephen Fishbein
       <SFishbein@shearman.com>; Gabrielle Vidal <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>
       Subject: RE: Carrington v. Graden et al.



       No, just RovierCarrington@gmail.com and Rovier@TheCarringtonDiaries.com.

       Erik

       Erik Hammerquist
       Senior Director, Digital Forensics & Investigations
       +1.213.452.6440 T | +1.213.321.8842 M
       erik.hammerquist@fticonsulting.com


       From: Wook Hwang <whwang@loeb.com>
       Sent: Friday, August 24, 2018 1:04 PM
       To: Hammerquist, Erik <Erik.Hammerquist@FTIConsulting.com>; Kevin Landau <kevin@thelandaugroup.com>;
       Shields, Steve <Steve.Shields@fticonsulting.com>
       Cc: Christopher LaVigne <Christopher.LaVigne@shearman.com>; Zach Landau <zach@thelandaugroup.com>;
       Larry Stein <lstein@raklaw.com>; Diana Sanders <dsanders@raklaw.com>; Stephen Fishbein
       <SFishbein@shearman.com>; Gabrielle Vidal <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>
       Subject: RE: Carrington v. Graden et al.

       Thanks for the update, Erik. Did you receive the login information for all three accounts? These are
       trendsetterrovheir@gmail.com, roviercarrington@gmail.com, and Rovier@thecarringtondiaries.com.

       Wook Hwang |Partner
       LOEB & LOEB LLP | whwang@loeb.com
       345 Park Avenue | New York, NY 10154
       Direct 212.407.4035 | Fax 212.937.3847

       From: Hammerquist, Erik <Erik.Hammerquist@FTIConsulting.com>
       Sent: Friday, August 24, 2018 4:00 PM
       To: Kevin Landau <kevin@thelandaugroup.com>; Shields, Steve <Steve.Shields@fticonsulting.com>
       Cc: Wook Hwang <whwang@loeb.com>; Christopher LaVigne <Christopher.LaVigne@shearman.com>; Zach
       Landau <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders <dsanders@raklaw.com>;
       Stephen Fishbein <SFishbein@shearman.com>; Gabrielle Vidal <gvidal@loeb.com>; Sarah Schacter
       <sschacter@loeb.com>
       Subject: RE: Carrington v. Graden et al.




           EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 407
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                                   #:490

  All,

  We received the credentials at noon. I’m contending with some unexpected continuing urgencies and will attempt to
  locate the messages at issue today, but cannot currently predict a completion time. I will update this group as soon
  as I’m able.

  With best regards,

  Erik

  Erik Hammerquist
  Senior Director, Digital Forensics & Investigations
  +1.213.452.6440 T | +1.213.321.8842 M
  erik.hammerquist@fticonsulting.com

  From: Kevin Landau <kevin@thelandaugroup.com>
  Sent: Friday, August 24, 2018 7:31 AM
  To: Shields, Steve <Steve.Shields@fticonsulting.com>
  Cc: Wook Hwang <whwang@loeb.com>; Christopher LaVigne <Christopher.LaVigne@shearman.com>; Zach
  Landau <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders <dsanders@raklaw.com>;
  Stephen Fishbein <SFishbein@shearman.com>; Gabrielle Vidal <gvidal@loeb.com>; Sarah Schacter
  <sschacter@loeb.com>; Hammerquist, Erik <Erik.Hammerquist@FTIConsulting.com>
  Subject: Re: Carrington v. Graden et al.

  Zach is in the hospital. He has the login information.
  I will obtain and be in touch.

  As I'm sure you are aware, the judge extended certain deadlines.

                          Kevin Landau
                          Managing Partner
                          New York | 212.537.4025
  <image001.jpg> Michigan | 248.247.1153
                          E: Kevin@TheLandauGroup.com
                          www.TheLandauGroup.com <image001.jpg> <image001.jpg>
  This message, which contains information from a law firm, may be confidential and privileged. If you have received this communication in error (you are not the
  addressee or authorized to receive for the addressee), you may not use, copy or disclose the message or any information contained in the message. If you
  have received the message in error, please advise the sender by reply e-mail and delete the message.


  On Fri, Aug 24, 2018 at 10:22 AM, Shields, Steve <Steve.Shields@fticonsulting.com> wrote:
     Kevin
     Just a reminder that we will require the login credentials ASAP if Erik is to complete this today. Thanks.

     Regards,

     Steve
     949-280-1868


     On Aug 23, 2018, at 3:13 PM, Shields, Steve <Steve.Shields@fticonsulting.com> wrote:

             Please see the attached fully executed LOE.


             <attachment 1.pdf>


             Regards,

             Steve
             949-280-1868


             On Aug 23, 2018, at 3:07 PM, Kevin Landau <kevin@thelandaugroup.com> wrote:

                     Steve,




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      Case 1:18-cv-04609-KPF Document 114-3 Filed 04/10/19 Page 4 of 12
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            Steve,                 #:491
           Do you agree to strictly adhere to the confidentiality terms asserted in your LOE? If so,
           the login information will be provided now under separate cover. Please advise. Thank
           you.

           Kevin

                                   Kevin Landau
                                   Managing Partner
                                   New York | 212.537.4025
           <image001.jpg> Michigan | 248.247.1153
                                   E: Kevin@TheLandauGroup.com
                                   www.TheLandauGroup.com <image001.jpg> <image001.jpg>
           This message, which contains information from a law firm, may be confidential and privileged. If you have received this
           communication in error (you are not the addressee or authorized to receive for the addressee), you may not use, copy or
           disclose the message or any information contained in the message. If you have received the message in error, please
           advise the sender by reply e-mail and delete the message.


           On Thu, Aug 23, 2018 at 5:47 PM, Kevin Landau <kevin@thelandaugroup.com> wrote:
              Sign the LOE and the login information will be provided. Not providing confidential
              information until they have been officially retained and our bound by such requirements.

                                      Kevin Landau
                                      Managing Partner
                                      New York | 212.537.4025
              <image001.jpg> Michigan | 248.247.1153
                                      E: Kevin@TheLandauGroup.com
                                      www.TheLandauGroup.com <image001.jpg> <image001.jpg>
              This message, which contains information from a law firm, may be confidential and privileged. If you have received this
              communication in error (you are not the addressee or authorized to receive for the addressee), you may not use, copy
              or disclose the message or any information contained in the message. If you have received the message in error, please
              advise the sender by reply e-mail and delete the message.


              On Thu, Aug 23, 2018 at 5:45 PM, Wook Hwang <whwang@loeb.com> wrote:
                 Zach, Kevin – You advised FTI that they would have the login credentials by Tuesday,
                 and represented to the Court on Tuesday that you had the information in your
                 possession then. What is the holdup? The production deadline is tomorrow.

                 Wook Hwang |Partner
                 LOEB & LOEB LLP | whwang@loeb.com
                 345 Park Avenue | New York, NY 10154
                 Direct 212.407.4035 | Fax 212.937.3847

                 From: Shields, Steve <Steve.Shields@fticonsulting.com>
                 Sent: Thursday, August 23, 2018 5:20 PM
                 To: Wook Hwang <whwang@loeb.com>; Christopher LaVigne
                 <Christopher.LaVigne@Shearman.com>; Zach Landau
                 <zach@thelandaugroup.com>

                 Cc: Kevin Landau <kevin@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>;
                 Diana Sanders <dsanders@raklaw.com>; Stephen Fishbein
                 <SFishbein@Shearman.com>; Gabrielle Vidal <gvidal@loeb.com>; Sarah Schacter
                 <sschacter@loeb.com>; Hammerquist, Erik
                 <Erik.Hammerquist@FTIConsulting.com>
                 Subject: RE: Carrington v. Graden et al.



                 We should be able to accommodate the invoicing per your note below. I will have the
                 LOE countersigned and sent back asap. Neither Erik or I have received the login
                 information from the Landau firm yet.

                 From: Wook Hwang <whwang@loeb.com>
                 Sent: Thursday, August 23, 2018 2:02 PM
                 To: Shields, Steve <Steve.Shields@fticonsulting.com>; Christopher LaVigne
                 <Christopher.LaVigne@Shearman.com>; Zach Landau
                 <zach@thelandaugroup.com>




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               <zach@thelandaugroup.com> #:492
              Cc: Kevin Landau <kevin@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>;
              Diana Sanders <dsanders@raklaw.com>; Stephen Fishbein
              <SFishbein@Shearman.com>; Gabrielle Vidal <gvidal@loeb.com>; Sarah Schacter
              <sschacter@loeb.com>; Hammerquist, Erik
              <Erik.Hammerquist@FTIConsulting.com>
              Subject: RE: Carrington v. Graden et al.

              Steve – Attached is the executed LOE. You can send invoices allocating 1/3 of the
              amounts due to each of the three defendants’ firms.

              Have you have received Mr. Carrington’s login information from the Landau firm?

              Wook Hwang |Partner
              LOEB & LOEB LLP | whwang@loeb.com
              345 Park Avenue | New York, NY 10154
              Direct 212.407.4035 | Fax 212.937.3847

              From: Shields, Steve <Steve.Shields@fticonsulting.com>
              Sent: Wednesday, August 22, 2018 8:24 PM
              To: Christopher LaVigne <Christopher.LaVigne@Shearman.com>; Zach Landau
              <zach@thelandaugroup.com>
              Cc: Wook Hwang <whwang@loeb.com>; Kevin Landau
              <kevin@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
              <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@Shearman.com>; Gabrielle
              Vidal <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist,
              Erik <Erik.Hammerquist@FTIConsulting.com>
              Subject: RE: Carrington v. Graden et al.



              Attached is the LOE (the word version with the accepted changes) as well as a PDF
              version for signing. We will await the executed version and direction from Zach
              regarding access to the gmail accounts.
              Thanks
              Steve

              From: Christopher LaVigne <Christopher.LaVigne@Shearman.com>
              Sent: Wednesday, August 22, 2018 4:20 PM
              To: Shields, Steve <Steve.Shields@fticonsulting.com>; Zach Landau
              <zach@thelandaugroup.com>
              Cc: Wook Hwang <whwang@loeb.com>; Kevin Landau
              <kevin@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
              <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@Shearman.com>; Gabrielle
              Vidal <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist,
              Erik <Erik.Hammerquist@FTIConsulting.com>
              Subject: Re: Carrington v. Graden et al.


               Many thanks Steve. No need for me to discuss this further and thanks for
               considering.

               Best,

               Chris

               On: 22 August 2018 17:15, "Shields, Steve" <Steve.Shields@fticonsulting.com>
               wrote:
              We have received approval for 45 day payment terms. Our counsel has rejected the
              changes/insertion to section 6 of the LOE. The attached redline version incorporates
              both these points. Please let me know if you would like to discuss this with our
              counsel.

              Thanks
              Steve

              From: Christopher LaVigne <Christopher.LaVigne@Shearman.com>
              Sent: Wednesday, August 22, 2018 9:29 AM




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                                              #:493
               Sent: Wednesday, August 22, 2018 9:29 AM
              To: Shields, Steve <Steve.Shields@fticonsulting.com>; Zach Landau
              <zach@thelandaugroup.com>
              Cc: Wook Hwang <whwang@loeb.com>; Kevin Landau
              <kevin@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
              <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@Shearman.com>; Gabrielle
              Vidal <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist,
              Erik <Erik.Hammerquist@FTIConsulting.com>
              Subject: Re: Carrington v. Graden et al.


               45 days is fine and this should not hold up the work. Chris

               On: 22 August 2018 12:08, "Shields, Steve" <Steve.Shields@fticonsulting.com>
               wrote:
              Hi Chris
              I have sent this to our AGC for review. In addition, I am seeking executive approval
              for the changes in payments terms. It is likely they will approve 45 day payment terms
              but not sixty. Will 45 days work for you?

              From: Christopher LaVigne <Christopher.LaVigne@Shearman.com>
              Sent: Tuesday, August 21, 2018 8:25 PM
              To: Shields, Steve <Steve.Shields@fticonsulting.com>; Zach Landau
              <zach@thelandaugroup.com>
              Cc: Wook Hwang <whwang@loeb.com>; Kevin Landau
              <kevin@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
              <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@Shearman.com>; Gabrielle
              Vidal <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist,
              Erik <Erik.Hammerquist@FTIConsulting.com>
              Subject: RE: Carrington v. Graden et al.

              Scott,

              We are awaiting resolution of one issue before finalizing this engagement. We
              anticipate that will happen tomorrow. In the meantime, we had two small suggestions
              on the engagement letter, which I attach for your review in redline. Could you let us
              know if there is any objection to these modifications?

              Thanks,

              Chris

              Christopher LaVigne
              ___________________________________________
              Shearman & Sterling LLP
              599 Lexington Avenue
              New York, NY 10022-6069
              D +1.212.848.4432 | F +1.646.848.4432
              christopher.lavigne@shearman.com | www.shearman.com


              From: Shields, Steve [mailto:Steve.Shields@fticonsulting.com]
              Sent: Tuesday, August 21, 2018 11:53 AM
              To: Zach Landau
              Cc: Wook Hwang; Kevin Landau; Larry Stein; Diana Sanders; Stephen Fishbein; Christopher
              LaVigne; Gabrielle Vidal; Sarah Schacter; Hammerquist, Erik
              Subject: RE: Carrington v. Graden et al.

              Good morning Zach
              My apologies for the delay in responding but I was awaiting a response from FTI’s
              conflict department to address your requests below. I have attached a copy of FTI’s
              conflict procedures for your review. I have also provided an abridged version in the
              body of this email below:

              FTI is a global firm with worldwide practices, providing services which range
              from purely advisory and consultative services to litigation-based services
              involving potential or actual adversarial proceedings. In light of the breadth of
              our client base, we often find clients on opposite or the same sides (i.e., as co-
              defendants) of adversarial matters in which one client seeks to engage us in
              some manner. Prior to accepting a new engagement, we conduct a case-by-
              case evaluation which takes into consideration a number of criteria including:




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                                   #:494
                                The nature of the engagement and the issues presented.
                                The type of services being requested.
                                The nature and extent of our relationship with the involved
                                clients and which of our various business segments are
                                used by those clients.
                                The nature and subject matter relationship of prior
                                engagements for the involved clients or on identical or
                                closely related issues.
                                The adequacy of FTI’s ability to protect client information.
              Additionally, both Compass Lexecon and FTI Technology are wholly-owned
              subsidiaries of FTI Consulting, Inc. Except in unusual circumstances, we view
              these practice areas as separate, and absent a legal conflict of interest,
              available to all clients on any matters.
              FTI may institute ethical screen procedures in situations where its experts or
              consultants are engaged in matters which may be perceived as either adverse
              to a client or related to another client matter. These ethical screen procedures
              (which are recognized as appropriate tools by courts) protect sensitive client
              information from unauthorized access by, or disclosure to, persons who are
              not part of the client engagement team.”
              We are unbale to provide you with any additional information regarding previous
              engagements with Defendants firms as it is FTI’s position that this information is
              privileged and confidential.

              As to the clarification of the order below, I believe we understand the scope of this
              order. FTI has been asked to forensically collect and produce emails from specific
              custodial gmail accounts. The engagement documents do not reflect any additional
              work to be performed by FTI. I am aware that there will be a need to image specific
              devices and produce those images to Plaintiff at some point in the future. I am
              unaware at this time as to the quantity and timing of this work and therefore left it out
              of the engagement documents. If this is something that needs to be added to the
              current Statement of Work, I am happy to make those changes provided I have some
              additional details as to the location, type and number of devices to be imaged. I will
              have to defer to Defense counsel on any additional changes to the scope of this
              engagement.

              Erik and I would be happy to schedule a conference call to discuss this project with
              everyone if you feel this would be the most expeditious way to move forward.

              Thanks
              Steve


              From: Zach Landau <zach@thelandaugroup.com>
              Sent: Monday, August 20, 2018 3:12 PM
              To: Shields, Steve <Steve.Shields@fticonsulting.com>
              Cc: Wook Hwang <whwang@loeb.com>; Kevin Landau
              <kevin@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
              <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
              Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
              <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist, Erik
              <Erik.Hammerquist@FTIConsulting.com>
              Subject: Re: Carrington v. Graden et al.

              Steve -

              Before we commence work on this project, a couple preliminary issues must be
              addressed:


                     1) Please disclose FTI’s conflicts policy and procedures, and the
                     conflicts check and search undertaken in this case, including, any work,
                     within the past five years, that FTI was retained or appointed to perform
                     by any of the Defendants law firms, and the amount of any fees derived
                     by FTI thereto. Likewise, please disclose if FTI has ever retained any of
                     the Defendants law firms to represent them in any matter, within the past




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                                   #:495
                     the Defendants law firms to represent them in any matter, within the past
                     5 years.



                     2) The Order underlying FTI’s engagement must be clarified, and fully
                     understood. The Order does not simply apply to Plaintiff, as represented
                     by the Defendants. The Court also ordered as follows:

                  “IT IS FURTHER ORDERED that, within fourteen (14) days of the entry of
              this Order, Defendants shall produce each of the At-Issue Communications in
              Defendants’ possession, custody or control, in original native format and with all
              accompanying metadata;”

                  “IT IS FURTHER ORDERED that, within fourteen (14) days of the entry of
              this Order, Plaintiff and Defendants shall identify to each of the parties’
              respective counsel any and all computers, hard drives, tablets, cellular phones
              or other electronic devices that Plaintiff or Defendants, as applicable, maintain in
              their possession, custody or control and that have been used to: (i) transmit any
              of the At-Issue Communications to the recipient(s) reflected therein; or (ii)
              forward or otherwise transmit any of the At-Issue Communications at any time to
              the party’s counsel of record in this action, or to any other person on or after
              May 1, 2016, two years prior to the commencement of this action (collectively,
              the “Devices”);”

                  Therefore, Defendants must produce any of the At-Issue Communications in
              their possession, custody or control, in their original native format, with all
              accompanying metadata. Further, Defendants must identify any and all
              computers, hard drives, tablets, cellular phones or other electronic devices,
              maintained in their possession, custody or control, that have been used to
              transmit any of the at-issue communications to the recipient reflected, or
              forwarded or otherwise transmitted any of the at issue communications, at any
              time to the party’s counsel of record in this action, or to any other person, on or
              after May 1, 2016.

                 Likewise, the Court ordered as follows:

                  “IT IS FURTHER ORDERED that, within twenty-one (21) days of the entry of
              this Order, Defendants shall, upon Plaintiff’s request, make available to the
              Neutral E-Discovery Vendor all of the Devices within any Defendant’s
              possession, custody or control, for such Neutral E-Discovery Vendor to create,
              at Plaintiff’s expense, one or more mirror images of each such Device and return
              such Devices to Defendants upon the creation of such mirror-images;”

                  Plaintiff has requested that Defendants make available to the neutral e-
              discovery vendor, all of the devices within any Defendant’s possession, custody
              or control, for such Neutral E-Discovery Vendor to create, one or more mirror
              images of each such Device.

                 Thank you.

                 Zach


              On Mon, Aug 20, 2018 at 11:52 AM, Shields, Steve
              <Steve.Shields@fticonsulting.com> wrote:
                Hi Wook
                Any update on this? We have not heard from anyone and I believe you have a
                deadline of Tuesday 8/21. We will need the executed LOE and login credentials in
                order to get started.

                Thanks
                Steve
                From: Shields, Steve
                Sent: Friday, August 17, 2018 4:11 PM




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                                                #:496
                 Sent: Friday, August 17, 2018 4:11 PM

               To: 'Wook Hwang' <whwang@loeb.com>
               Cc: Kevin Landau <kevin@thelandaugroup.com>; Zach Landau
               <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
               <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
               Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
               <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist, Erik
               <Erik.Hammerquist@FTIConsulting.com>
               Subject: RE: Carrington v. Graden et al.

               Thank you Wook. We will need to LOE signed before we can commence work on
               this project. I have attached a PDF of the LOE for signature by all 3 defense
               counsels. We will plan on commencing work on Monday unless informed otherwise.
               I will touch base Monday morning If I do not hear from you sooner.
               Thanks Steve


               From: Wook Hwang <whwang@loeb.com>
               Sent: Friday, August 17, 2018 1:14 PM
               To: Shields, Steve <Steve.Shields@fticonsulting.com>
               Cc: Kevin Landau <kevin@thelandaugroup.com>; Zach Landau
               <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
               <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
               Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
               <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist, Erik
               <Erik.Hammerquist@FTIConsulting.com>
               Subject: RE: Carrington v. Graden et al.

               Thanks Steve, these look fine. Kevin, Zach, please let FTI know whether you have
               any issues with these docs and when you will provide Mr. Carrington’s login
               information, with copy to us.

               Wook Hwang |Partner
               LOEB & LOEB LLP | whwang@loeb.com
               345 Park Avenue | New York, NY 10154
               Direct 212.407.4035 | Fax 212.937.3847

               From: Shields, Steve <Steve.Shields@fticonsulting.com>
               Sent: Friday, August 17, 2018 12:55 PM
               To: Wook Hwang <whwang@loeb.com>
               Cc: Kevin Landau <kevin@thelandaugroup.com>; Zach Landau
               <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
               <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
               Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
               <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>; Hammerquist, Erik
               <Erik.Hammerquist@FTIConsulting.com>
               Subject: RE: Carrington v. Graden et al.



               Hi Wook
               Attached are the engagement documents (LOE and Statement of Work). Erik and I
               are available up until 11:30AM PT this morning for a call if that is convenient for all.
               If that window of time does not work please suggest alternative times. Erik and I
               are both in meetings from 12PM – 2PM PT today.

               Thanks
               Steve



               From: Wook Hwang <whwang@loeb.com>
               Sent: Friday, August 17, 2018 8:43 AM
               To: Shields, Steve <Steve.Shields@fticonsulting.com>
               Cc: Kevin Landau <kevin@thelandaugroup.com>; Zach Landau
               <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
               <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
               Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal




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                                   #:497
               Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
               <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>
               Subject: RE: Carrington v. Graden et al.

               Thanks, Steve. I don’t see Erik Hammerquist copied, so please feel free to forward
               this to him.

               The first task required of your firm is to collect and produce the At-Issue
               Communications from Mr. Carrington’s email accounts. The At-Issue
               Communications are defined by the Order to include all emails “constituting or
               containing any portion of any of the communications” that are shown in the
               attached pdf files. These include “all earlier emails in any email chains constituting
               such communications,” and those earlier emails should be produced separately
               from the parent email chains. All production is to be in original native format and
               with all accompanying metadata. As far as this task is concerned, all that is
               required is the native email production, or for you to “advise Defendants that those
               communications cannot be located in [Mr. Carrington’s] accounts, without further
               disclosure to Defendants of any other information concerning such accounts or the
               contents thereof.”

               The At-Issue Communications appear to show three email addresses for Mr.
               Carrington, as follows: trendsetterrovheir@gmail.com,
               roviercarrington@gmail.com, Rovier@thecarringtondiaries.com. Mr. Carrington or
               his counsel are required to provide you with access to these email accounts, and
               any others maintained by him reflected in the attached files that I may have
               inadvertently omitted. In light of the imminent deadline, we request that the
               Landau Group ensure that this login information be provided to you today.
               Other than the communication by which that login information is transmitted to you,
               please keep all counsel copied on any other communications.

                For purposes of the engagement letter, Defendants will bear the cost of this work,
                split three ways amongst the three defendants’ firms. The next task will be the
                mirror-imaging of the parties’ respective “Devices” used to transmit (or, in certain
                circumstances, forward) any of the At-Issue Communications, and the cost of that
                work is to be borne by the other side – i.e. Defendants pay for mirror-imaging of
                Plaintiff’s Devices, and vice versa. We will cross this bridge next week when the
                Devices are identified.

                If you would like to discuss, let’s schedule a time today that works for you, me and
                at least one of the Landaus. I am generally available. Thanks.

               Wook Hwang |Partner
               LOEB & LOEB LLP | whwang@loeb.com
               345 Park Avenue | New York, NY 10154
               Direct 212.407.4035 | Fax 212.937.3847

               From: Shields, Steve <Steve.Shields@fticonsulting.com>
               Sent: Friday, August 17, 2018 10:58 AM
               To: Wook Hwang <whwang@loeb.com>
               Cc: Kevin Landau <kevin@thelandaugroup.com>; Zach Landau
               <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
               <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
               Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
               <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>
               Subject: RE: Carrington v. Graden et al.



               Hi Wook
               We have cleared conflicts. Please let me know if there are some convenient times
               for a scoping call with our forensic expert, Erik Hammerquist (copied here). I will
               start putting the engagement documents together.

               From: Wook Hwang <whwang@loeb.com>
               Sent: Thursday, August 16, 2018 12:18 PM
               To: Shields, Steve <Steve.Shields@fticonsulting.com>
               Cc: Kevin Landau <kevin@thelandaugroup.com>; Zach Landau
               <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 415
       Case 1:18-cv-04609-KPF Document 114-3 Filed 04/10/19 Page 11 of 12
Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 416 of 610 Page ID
                                             #:498
                 <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
                      <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
                      Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
                      <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>
                      Subject: RE: Carrington v. Graden et al.

                      Steve – Please keep all counsel copied on these communications. To answer your
                      question, the parties and counsel are:

                      Plaintiff Rovier Carrington – Landau Group
                      Defendants Brad Grey, Brad Grey Estate and Brad Alan Grey Trust – Loeb & Loeb
                      Defendants Viacom Inc., Viacom International Inc. and Paramount Pictures
                      Corporation – Shearman and Sterling
                      Defendants Brian Graden and Brian Graden Media, LLC – Russ, August & Kabat

                      Wook Hwang |Partner
                      LOEB & LOEB LLP | whwang@loeb.com
                      345 Park Avenue | New York, NY 10154
                      Direct 212.407.4035 | Fax 212.937.3847

                      From: Shields, Steve <Steve.Shields@fticonsulting.com>
                      Sent: Thursday, August 16, 2018 2:29 PM
                      To: Wook Hwang <whwang@loeb.com>
                      Subject: RE: Carrington v. Graden et al.



                      Confirmed. Can you please identify defense counsel and their respective clients
                      along with which frim is representing plaintiffs? Thanks

                      From: Wook Hwang <whwang@loeb.com>
                      Sent: Thursday, August 16, 2018 11:18 AM
                      To: Shields, Steve <Steve.Shields@fticonsulting.com>
                      Cc: Kevin Landau <kevin@thelandaugroup.com>; Zach Landau
                      <zach@thelandaugroup.com>; Larry Stein <lstein@raklaw.com>; Diana Sanders
                      <dsanders@raklaw.com>; Stephen Fishbein <SFishbein@shearman.com>;
                      Christopher LaVigne <Christopher.LaVigne@shearman.com>; Gabrielle Vidal
                      <gvidal@loeb.com>; Sarah Schacter <sschacter@loeb.com>
                      Subject: Carrington v. Graden et al.

                      Steve – Per our discussion, attached is the order that requires the parties to
                      engage a Neutral E-Discovery Vendor for the tasks set forth in the order. Please
                      run conflicts and let us know if there are any issues with respect to any of the
                      parties. I have copied all counsel involved in the case. Thank you.

                      Wook Hwang |Partner
                      LOEB & LOEB LLP | whwang@loeb.com
                      345 Park Avenue | New York, NY 10154
                      Direct 212.407.4035 | Fax 212.937.3847


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                 --
                                            Zach Landau
                                            Senior Associate




    EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 416
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                                   #:499
                                  Senior Associate
                                  New York | 212.537.4025
              <image001.jpg> Michigan | 248.247.1153
                                  E: Zach@TheLandauGroup.com
                                  www.TheLandauGroup.com <image001.jpg> <image001.jpg>
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                                   #:500
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                              EXHIBIT D




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 418
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                                   #:501
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      MARCH 28, 2018




      EMAIL SEARCH REPORT

      CASE NUMBER: 1:18‐CV‐04609‐KPF

      ROVIER CARRINGTON V. GRADEN BRIAN GRADEN MEDIA,
      LLC, VIACOM INC., VIACOM INTERNATIONAL INC., PARAMOUNT
      PICTURES CORPORATION, BRAD GREY, BRAD GREY ESTATE, BRAD
      ALAN GREY TRUST

      FTI MATTER NUMBER: 009223.0051




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 419
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                                   #:502
            Case 1:18-cv-04609-KPF Document 114-4 Filed 04/10/19 Page 3 of 4

CARRINGTON V. GRADEN ET AL.




Background and Scope
On February 13, 2019, the Honorable Katherine Polk Failla of the United States District Court, Southern District of New York
issued an order further discovery in the case Carrington v. Graden et al. (Case 1:18‐CV‐04609‐KPF) which included instructions
for Mr. Carrington to provide written consent to Google, Microsoft and GoDaddy to produce to FTI Consulting, Inc. the
content of any and all available and/or recoverable email communications in the accounts: trendsetterrovheir@gmail.com;
roviercarrington@gmail.com; and Rovier@thecarringtondiaries.com for the purposes of searching for the at‐issue
communications.
On March 20, 2019, FTI received a CD from Sara Plummer, Custodian of Records for Google LLC, containing the email data for
the email address RovierCarrington@Gmail.com. This report documents the search of that data.




Information Considered
I relied on the following sources during this analysis:

    1.   Honorable Katherine Polk Failla’s Order for Limited Discovery Concerning the Authenticity of Communications, Case
         1:18‐cv‐04609‐KPF Document 64 Filed 08/07/18
    2.   Exhibits 2‐11 to the Amended Complaint (Dkt. #40‐1), Case 1:18‐cv‐04609‐KPF Document 35‐1 Filed 06/18/18 Pages
         4 – 35

    3.   Exhibit A to the Declaration of Darren Stein (Dkt. #56‐2), Case 1:18‐cv‐04609‐KPF Document 56‐2 Filed 07/12/18
         Page 5 of 5

    4.   Exhibits 1‐4 to the Declaration of James Kelshaw (Dkt. #56‐3), Case 1:18‐cv‐04609‐KPF Document 56‐3 Filed 07/12/18
         Pages 6 – 15

    5.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 10 Re Stolen Show, 8.7.17_Redacted 2 3.pdf”
    6.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 2 re Business 10.29.10_Redacted 3 4.pdf”

    7.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 8 re Build a Reality Show, 5.15.15_Redacted 2 3.pdf”
    8.   PDF of email forward from Plaintiff to The Landau Group, “Ex. 9 re Inheritance TV Project, 8.10.15_Redacted
         2_Redacted 3.pdf”
    9.   Discussions on conference calls with parties

    10. Honorable Katherine Polk Failla’s Order for Further Discovery, Case 1:18‐cv‐04609‐KPF Filed 02/13/19




1


      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 420
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CARRINGTON V. GRADEN ET AL.




Methodology
I indexed the received data into Nuix Workstation for text‐based searching. The email data was then searched using dates
and terms selected from the At‐Issue Communications. The terms were run as stems and without case‐sensitivity.
Those terms included:
    1.   “Build a show”                                                15. Inheritance
    2.   “dramatic series”                                             16. legally protectable
    3.   “erase someone”                                               17. Loftus
    4.   “Network error”                                               18. Lombardo
    5.   “Our Jewish bodies”                                           19. Masterpiece

    6.   “Reality Show”                                                20. Obey

    7.   “TV Project”                                                  21. petahmj
    8.   Blacklist                                                     22. Pounding

    9.   darrenstein                                                   23. Raped
    10. Demands                                                        24. Reschedule
    11. Fix this                                                       25. Stolen

    12. Genitals                                                       26. Sumner

    13. Graden                                                         27. TieLonzo
    14. Harvey bullshit                                                28. Trendsetterrovheir



Findings
This search process did not identify any original instances of the At‐Issue Communications. This is summarized in the table
below:
     Exhibit           Subject                        Date                    Observations
     2                 Business                         10/29/10 7:42:22 AM   No instances noted
     3                 Re: Grey                         1/17/11 10:18:00 AM   No instances noted
     4                 Re: Demands                      2/28/11 11:03:00 AM   No instances noted
     5                 Re: Mr. Rovheir                  4/19/11 10:12:43 AM   No instances noted
     6                 Re: Fix This                     6/10/11 11:08:00 AM   No instances noted
     7                 RE: Reschedule                   7/29/14 11:11:00 AM   No instances noted
     8                 Re: Build a Show "Reality        5/15/15 11:17:46 PM   No instances noted
                       Show"
     9                 Re: Inheritance "TV Project"     8/10/15 12:52:47 AM   No instances noted
     10                Re: Stolen show                    8/7/17 6:15:11 PM   No instances noted
     11                Re: Darren Stein’s Offer        10/24/17 12:03:15 PM   No instances noted
     Kelshaw 1         Re: Darren Stein’s Offer        10/24/17 12:06:00 PM   No instances noted
     Kelshaw 2         Re: Inheritance "TV Project"     8/10/15 12:49:00 AM   No instances noted
     Kelshaw 3         Re: Inheritance "TV Project"      8/10/15 1:00:00 AM   No instances noted
     Kelshaw 4         Re: Network error                  8/8/17 7:07:00 PM   No instances noted
     Stein Decl. A     Re: Darren Stein’s Offer        10/24/17 12:05:00 PM   No instances noted




2


     EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 421
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                                   #:504
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                              EXHIBIT E




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 422
                Case 1:18-cv-04609-KPF Document 114-5 Filed 04/10/19 Page 2 of 4
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 423 of 610 Page ID
                                     #:505
  From:    Drew Wilkinson (CELA) anwilkin@microsoft.com
Subject:   RE: Microsoft Objections - Rovier Carrington v. Brian Graden, et al
   Date:   March 11, 2019 at 2:40 PM
     To:   Larry Stein lstein@raklaw.com
    Cc:    Diana Sanders dsanders@raklaw.com, Cheryl Zive czive@raklaw.com


       Larry,

       Per our phone conversation on 3/6/19, I am following up on your request to find out when
       the target account was opened and closed. Since the account does not exist in any of our
       systems, we have very limited data available. The only information we have is that the
       Office 365 domain was opened 10/12/15 and showed usage through 9/2018. I believe
       this concludes Microsoft’s obligations to your subpoena, thank you.

       Drew Wilkinson | Litigation Group



       From: Larry Stein <lstein@raklaw.com>
       Sent: Wednesday, March 6, 2019 9:22 AM
       To: Drew Wilkinson (CELA) <anwilkin@microsoft.com>
       Cc: Diana Sanders <dsanders@raklaw.com>; Cheryl Zive <czive@raklaw.com>
       Subject: Re: Microsoft Objections - Rovier Carrington v. Brian Graden, et al

       Dear Drew,

       Are you available for a quick call today between 12:00 pm and 2:00 pm PT?

       Best,
       Larry


                 On Mar 4, 2019, at 10:52 AM, Drew Wilkinson (CELA)
                 <anwilkin@microsoft.com> wrote:

                 Mr. Stein,

                 I’ve heard back from the technical team we rely on to access responsive data
                 and they have confirmed that Microsoft has no data associated with the
                 target account listed in your subpoena. Without data to produce, the consent
                 form you provided won’t be necessary and I believe this concludes
                 Microsoft’s obligations under the subpoena. Feel free to give me a call if you
                 have further questions.
                 Drew Wilkinson | Litigation Group
                 <image001.jpg>

                 From: Larry Stein <lstein@raklaw.com>
                 Sent: Monday, March 4, 2019 9:51 AM
                 To: Drew Wilkinson (CELA) <anwilkin@microsoft.com>
                 Cc: Diana Sanders <dsanders@raklaw.com>
                 Subject: Re: Microsoft Objections - Rovier Carrington v. Brian Graden, et al




           EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 423
       Case 1:18-cv-04609-KPF Document 114-5 Filed 04/10/19 Page 3 of 4
Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 424 of 610 Page ID
                                   #:506
        Dear Drew,

        Attached please find the subscriber’s signed written consent form allowing
        Microsoft to access and provide, in accordance with the subpoena served
        upon it, all recoverable content data from the relevant account. This was part
        of the federal court order, which accompanied the federal court-issued
        subpoena that has been served on Microsoft. I believe this moots the
        objections in the February 22 letter we received from you. Should you have
        any questions or additional concerns about compliance with the subpoena,
        please give me a call.

        Sincerely,

        Larry Stein




              On Feb 22, 2019, at 12:32 PM, Drew Wilkinson (CELA)
              <anwilkin@microsoft.com> wrote:

              Please find Microsoft’s objections to this subpoena attached; you
              should be receiving the signed originals shortly.

              Drew Wilkinson | Litigation Group
              <image001.jpg>

              <Signed OBJ - Rovier Carrington v. Brian Graden, et al..pdf>


        Stanton “Larry” Stein
        RUSS AUGUST & KABAT | 12424 Wilshire Blvd., 12th Floor | Los Angeles,
        CA 90025
        T: 310.826.7474 | F: 310.826.6991 | lstein@raklaw.com | www.raklaw.com

        ***********************************
        IRS Circular 230 Notice: This communication is not intended to be used and
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        or promoting, marketing or recommending to another party any tax-related
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   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 424
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                                   #:507

  Stanton “Larry” Stein
  RUSS AUGUST & KABAT | 12424 Wilshire Blvd., 12th Floor | Los Angeles, CA 90025
  T: 310.826.7474 | F: 310.826.6991 | lstein@raklaw.com | www.raklaw.com

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  promoting, marketing or recommending to another party any tax-related
  matter addressed herein.
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   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 425
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                                   #:508
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                         EXHIBIT F




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 426
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                                   #:509
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                                   #:510
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   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 429
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   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 430
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                                   #:513
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 CONFIDENTIAL                                GD 000001

   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 431
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                                      #:514
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CONFIDENTIAL                                GD 000002

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 432
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CONFIDENTIAL                                GD 000003

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CONFIDENTIAL                                GD 000004

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CONFIDENTIAL                                 GD 000005

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                                     #:518
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CONFIDENTIAL                                 GD 000007

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 437
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                                     #:520
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CONFIDENTIAL                                 GD 000008

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 438
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                                     #:521
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CONFIDENTIAL                                 GD 000009

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 439
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                                     #:522
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CONFIDENTIAL                                 GD 000010

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 440
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                                     #:523
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CONFIDENTIAL                                 GD 000011

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 441
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CONFIDENTIAL                                 GD 000012

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 442
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                                     #:525
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CONFIDENTIAL                                 GD 000013

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 443
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                                     #:526
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CONFIDENTIAL                                 GD 000014

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 444
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                                     #:527
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CONFIDENTIAL                                 GD 000015

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 445
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                                     #:528
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CONFIDENTIAL                                 GD 000016

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 446
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                                     #:529
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CONFIDENTIAL                                 GD 000017

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 447
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                                     #:530
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CONFIDENTIAL                                 GD 000018

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                                     #:531
               Case 1:18-cv-04609-KPF Document 114-6 Filed 04/10/19 Page 24 of 81




CONFIDENTIAL                                 GD 000019

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 449
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                                      #:532
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CONFIDENTIAL                                 GD 000020

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 450
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                                     #:533
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CONFIDENTIAL                                 GD 000021

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                                     #:534
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CONFIDENTIAL                                 GD 000022

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 452
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 453 of 610 Page ID
                                     #:535
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CONFIDENTIAL                                 GD 000023

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 453
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                                                  #:536
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CONFIDENTIAL                                            GD 000024

                  EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 454
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                                    #:537
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CONFIDENTIAL                                 GD 000025

     EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 455
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 456 of 610 Page ID
                                     #:538
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CONFIDENTIAL                                 GD 000026

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 456
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                                      #:539
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CONFIDENTIAL                                 GD 000027

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 457
 Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 458 of 610 Page ID
                                    #:540
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CONFIDENTIAL                                 GD 000028

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 458
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                                     #:541
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CONFIDENTIAL                                 GD 000029

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 459
   Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 460 of 610 Page ID
                                      #:542
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CONFIDENTIAL                                 GD 000030

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 460
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 461 of 610 Page ID
                                     #:543
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CONFIDENTIAL                                 GD 000031

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 461
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                                     #:544
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CONFIDENTIAL                                 GD 000032

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 462
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 463 of 610 Page ID
                                     #:545
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CONFIDENTIAL                                 GD 000033

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 463
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 464 of 610 Page ID
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CONFIDENTIAL                                 GD 000034

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 464
   Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 465 of 610 Page ID
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CONFIDENTIAL                                 GD 000035

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 465
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 466 of 610 Page ID
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CONFIDENTIAL                                 GD 000036

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 466
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     EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 467
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CONFIDENTIAL                                 GD 000038

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 468
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CONFIDENTIAL                                 GD 000039

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 469
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CONFIDENTIAL                                 GD 000040

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 470
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CONFIDENTIAL                                 GD 000041

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 471
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CONFIDENTIAL                                 GD 000042

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 472
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CONFIDENTIAL                                 GD 000043

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 473
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 474 of 610 Page ID
                                     #:556
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CONFIDENTIAL                                 GD 000044

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 474
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                                     #:557
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CONFIDENTIAL                                 GD 000045

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 475
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CONFIDENTIAL                                 GD 000046

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 476
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CONFIDENTIAL                                 GD 000047

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 477
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CONFIDENTIAL                                 GD 000048

     EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 478
Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 479 of 610 Page ID
                                   #:561
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CONFIDENTIAL                                 GD 000049

    EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 479
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 480 of 610 Page ID
                                     #:562
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CONFIDENTIAL                                 GD 000050

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 480
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                                     #:563
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CONFIDENTIAL                                 GD 000051

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 481
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 482 of 610 Page ID
                                     #:564
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CONFIDENTIAL                                 GD 000052

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 482
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CONFIDENTIAL                                 GD 000053

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 483
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                                    #:566
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CONFIDENTIAL                                 GD 000054

     EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 484
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CONFIDENTIAL                                 GD 000055

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 485
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CONFIDENTIAL                                 GD 000056

     EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 486
 Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 487 of 610 Page ID
                                    #:569
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CONFIDENTIAL                                 GD 000057

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 487
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CONFIDENTIAL                                 GD 000058

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 488
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                                     #:571
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CONFIDENTIAL                                 GD 000059

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 489
   Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 490 of 610 Page ID
                                      #:572
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CONFIDENTIAL                                 GD 000060

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 490
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                                      #:573
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CONFIDENTIAL                                 GD 000061

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 491
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                                      #:574
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CONFIDENTIAL                                 GD 000062

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 492
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CONFIDENTIAL                                 GD 000063

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 493
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                                      #:576
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CONFIDENTIAL                                 GD 000064

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 494
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CONFIDENTIAL                                 GD 000065

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 495
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 496 of 610 Page ID
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CONFIDENTIAL                                 GD 000066

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 496
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                                      #:579
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CONFIDENTIAL                                 GD 000067

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 497
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CONFIDENTIAL                                 GD 000068

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 498
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      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 499
   Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 500 of 610 Page ID
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CONFIDENTIAL                                 GD 000070

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 500
   Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 501 of 610 Page ID
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CONFIDENTIAL                                 GD 000071

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 501
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CONFIDENTIAL                                 GD 000072

       EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 502
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CONFIDENTIAL                                 GD 000073

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 503
  Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 504 of 610 Page ID
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CONFIDENTIAL                                 GD 000074

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 504
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CONFIDENTIAL                                 GD 000075

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 505
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CONFIDENTIAL                                 GD 000076

      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 506
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                                   #:589




                        EXHIBIT 011




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 507
Case 2:20-cv-09825-VAP-JC Document 1-1 Filed 10/26/20 Page 508 of 610 Page ID
                                   #:590
         Case 1:18-cv-04609-KPF Document 109 Filed 02/25/19 Page 1 of 3



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
  ROVIER CARRINGTON,

                           Plaintiff,

                   v.                                   18 Civ. 4609 (KPF)

  BRIAN GRADEN, BRIAN GRADEN                   ORDER REGARDING PLAINTIFF’S
  MEDIA, LLC, VIACOM INC., VIACOM             REQUEST FOR TURNOVER ORDER
  INTERNATIONAL INC., PARAMOUNT
  PICTURES CORPORATION, BRAD
  GREY, BRAD GREY ESTATE, and
  BRAD ALAN GREY TRUST,

                        Defendants.


 KATHERINE POLK FAILLA, District Judge:

       On February 6, 2019, Plaintiff Rovier Carrington filed a letter with the

 Court requesting an order requiring his former counsel, the Landau Group PC

 (the “Landau Group”), to turn over files regarding his case in their possession.

 Plaintiff further requested that the Court terminate the retaining and charging

 liens that the Court placed on Mr. Carrington, when it granted the Landau

 Group’s motion to withdraw. On February 20, 2019, the Court received the

 Landau Group’s brief in opposition. (Dkt. #104). Having reviewed both parties’

 submissions, the Court finds that the Landau Group holds a retaining lien on

 Mr. Carrington’s file as well as a charging lien; Plaintiff’s request for a turnover

 order is DENIED.

       The retaining lien exists under New York common law: In this Circuit, “[i]t

 is settled that an attorney may claim a lien for outstanding unpaid fees and

 disbursements on a client’s papers which came into the lawyer’s possession as

 the result of his professional representation of his client.” Pomerantz v.

 Schandler, 704 F.2d 681, 683 (2d Cir. 1983) (citing In re San Juan Gold Inc., 96 1



   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 508
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 F.2d 60 (2d Cir. 1938)). The right to a retaining lien “is grounded in common

 law, and is enforced in federal courts unless a specific federal law alters the

 parties’ rights.” See Katz v. Image Innovations Holdings, Inc., No. 06 Civ. 3707

 (JGK), 2009 WL 1505174, at *1 (S.D.N.Y. May 27, 2009). “An attorney who has

 been discharged without cause [ — including where the attorney is relieved by

 the Court — ] is entitled to be paid a fee on a quantum meruit basis for the

 reasonable value of the legal services that were provided.” Viada v. Osaka Health

 Spa, Inc., No. 04 Civ. 2744 (VM) (KNF), 2005 WL 3481196, at *2 (S.D.N.Y. Dec.

 19, 2005). “Unless a client can demonstrate exigent circumstances, counsel

 need not release papers subject to the lien until his fee has been paid or

 secured.” Kariman v. Time Equities, Inc., No. 10 Civ. 3773 (AKH) (JCF), 2011 WL

 1900092, at *6 (S.D.N.Y. May 11, 2011) (citing Allstate Ins. Co. v. Nandi, 258 F.

 Supp. 2d 309, 312 (S.D.N.Y. 2003)).

       In this case, the Court granted the Landau Group leave to withdraw. (Dkt.

 #82). As the Landau Group notes, the Court specifically made a finding that the

 termination was without cause in an ex parte hearing on the withdrawal motion.

 (Dkt. #104 (Exhibit 2, Transcript of Withdrawal Hearing, 10-5-18)). Plaintiff does

 not address the prior orders of the Court. Plaintiff’s arguments are largely

 focused on a breakdown in communications of which the Court was aware when

 making findings at the October 5, 2018 hearing at which it granted the motion to

 withdraw. Therefore, the Court finds that the retaining lien remains, and the

 Landau Group is entitled to “reasonable value” for the costs incurred in litigating

 this case.




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 509
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             Plaintiff also objects to the total cost breakdown provided by the Landau

      Group. The Court has reviewed the material provided by the Landau Group in

      response. (Dkt. 104, Exhibits 1-10). The Court finds that the Landau Group has

      adequately provided justification for the costs in their billing statement, with a

      single exception. The Landau Group’s bill includes a line item of $250 for “meals

      and entertainment.” Plaintiff objects to this cost, and the Landau Group’s

      response does not address this item. Therefore, the Court finds that the Landau

      Group has not provided an adequate explanation of these costs, and ORDERS

      the retaining lien reduced to $14,295.00. The Court DENIES Plaintiff’s request

      for a turnover order and for termination of the Landau Group’s liens.

             SO ORDERED.

      Dated:        February 25, 2019
                    New York, New York            _____________________________
                                                  KATHERINE POLK FAILLA
                                                  United States District Judge




A copy of this Order was mailed by Chambers to:


      Rovier Carrington
      5901 Encina Road
      Suite C-2
      Goleta, CA 93117




      EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 510
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                        EXHIBIT 012




   EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 511
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         Case 1:18-cv-04609-KPF Document 64 Filed 08/07/18 Page 1 of 4

                                                                USDC SDNY
                                                                DOCUMENT
UNITED STATES DISTRICT COURT                                    ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                   DOC #: _________________
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                                                       X                      August 7, 2018
                                                                DATE FILED: ______________
                                                       :
 ROVIER CARRINGTON,                                    :
                                                       :
                                       Plaintiff,      :
                                                       :
                       v.                              :    18 Civ. 4609 (KPF)
                                                       :
 BRIAN GRADEN, BRIAN GRADEN MEDIA, :                       ORDER FOR LIMITED
 LLC, VIACOM INC., VIACOM                              :      DISCOVERY
 INTERNATIONAL INC., PARAMOUNT                         :    CONCERNING THE
 PICTURES CORPORATION, BRAD GREY, :                         AUTHENTICITY OF
 BRAD GREY ESTATE, BRAD ALAN GREY :                         COMMUNICATIONS
 TRUST,                                                :
                                                       :
                                       Defendants. :
                                                       :
 ----------------------------------------------------- X
KATHERINE POLK FAILLA, District Judge:

       Defendants Brian Graden, Brian Graden Media, LLC, Viacom Inc.,

Viacom International Inc., Paramount Pictures Corporation, Brad Grey, Brad

Grey Estate, and Brad Alan Grey Trust (collectively, “Defendants”), having

requested immediate discovery limited to the authenticity of the emails

attached as Exhibits 2-11 of the Amended Complaint (Dkt. #40) filed by

Plaintiff Rovier Carrington (“Plaintiff”), and this Court having found that

Defendants have presented sufficient evidence to warrant such immediate

discovery;

       NOW, in consideration of the materials submitted by Defendants in

regards thereto, and the entire record of this case;

       IT IS HEREBY ORDERED, without prejudice to or limiting any existing

duty to preserve relevant materials that has arisen in connection with this




    EXHIBITS TO THE ROVIER CARRINGTON CIVIL RIGHTS COMPLAINT p. 512
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             Case 1:18-cv-04609-KPF Document 64 Filed 08/07/18 Page 2 of 4




  action, that Plaintiff and Defendants, and their respective counsel, shall

  immediately preserve each and every document constituting or containing any

  portion of any of the communications that are attached as: (i) Exhibits 2-11 to

  the Amended Complaint (Dkt. #40-1); (ii) Exhibit A to the Declaration of Darren

  Stein (Dkt. #56-2); or (iii) Exhibits 1-4 to the Declaration of James Kelshaw

  (Dkt. #56-3), including, without limitation, all earlier emails in any email

  chains constituting such communications (collectively, the “At-Issue

  Communications”) and all email forwards of any and all such communications,

  in original native format as well as any and all electronic or paper copies

  thereof;

        IT IS FURTHER ORDERED that, within fourteen (14) days of the entry of

  this Order, Plaintiff shall produce each of the At-Issue Communications in

  Plaintiff’s possession, custody or control, in original native format and with all

  accompanying metadata, with the assistance of a neutral electronic discovery

  vendor to be agreed upon by the parties (the “Neutral E-Discovery Vendor”),

  who shall be provided with access to Plaintiff’s relevant email accounts in order

  to make the required production to Defendants and/or to advise Defendants

  that the At-Issue Communications cannot be located in such accounts, without

  further disclosure to Defendants of any other information concerning such

  accounts or the contents thereof, and with the costs of such production to be

  borne by Defendants;

        IT IS FURTHER ORDERED that, within fourteen (14) days of the entry of

  this Order, Defendants shall produce each of the At-Issue Communications in




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  Defendants’ possession, custody or control, in original native format and with

  all accompanying metadata;

        IT IS FURTHER ORDERED that, within fourteen (14) days of the entry of

  this Order, Plaintiff and Defendants shall identify to each of the parties’

  respective counsel any and all computers, hard drives, tablets, cellular phones

  or other electronic devices that Plaintiff or Defendants, as applicable, maintain

  in their possession, custody or control and that have been used to: (i) transmit

  any of the At-Issue Communications to the recipient(s) reflected therein; or

  (ii) forward or otherwise transmit any of the At-Issue Communications at any

  time to the party’s counsel of record in this action, or to any other person on or

  after May 1, 2016, two years prior to the commencement of this action

  (collectively, the “Devices”);

        IT IS FURTHER ORDERED that, within twenty-one (21) days of the entry

  of this Order, Plaintiff shall, upon Defendants’ request, make available to the

  Neutral E-Discovery Vendor all of the Devices within Plaintiff’s possession,

  custody or control, for such Neutral E-Discovery Vendor to create, at

  Defendants’ expense, one or more mirror images of each such Device and

  return such Devices to Plaintiff upon the creation of such mirror-images;

        IT IS FURTHER ORDERED that, within twenty-one (21) days of the entry

  of this Order, Defendants shall, upon Plaintiff’s request, make available to the

  Neutral E-Discovery Vendor all of the Devices within any Defendant’s

  possession, custody or control, for such Neutral E-Discovery Vendor to create,




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  at Plaintiff’s expense, one or more mirror images of each such Device and

  return such Devices to Defendants upon the creation of such mirror-images;

        IT IS FURTHER ORDERED that the contents of any of the Devices so

  made available, and the contents of any mirror-images so created, shall not be

  disclosed to any of the parties or to their counsel and shall otherwise be

  maintained in strict confidence by the Neutral E-Discovery Vendor, with no

  examination of any such mirror-images to be conducted by the Neutral E-

  Discovery Vendor or by anyone else until further Order of the Court; and

        IT IS FURTHER ORDERED that the parties’ counsel shall appear for a

  status conference before the Court on September 11, 2018, at 2:00 p.m.

        SO ORDERED.

  Dated:       August 7, 2018
               New York, New York             __________________________________
                                                   KATHERINE POLK FAILLA
                                                  United States District Judge




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                        EXHIBIT 013




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                                                                   PART 1 | OBJECTIONS OVERRULED

           Thousands of U.S. judges who broke laws or oaths
                       remained on the bench




           REUTERS ILLUSTRATION/Jason Schneider




           In the past dozen years, state and local judges have repeatedly escaped public accountability for
           misdeeds that have victimized thousands. Nine of 10 kept their jobs, a Reuters investigation found
           – including an Alabama judge who unlawfully jailed hundreds of poor people, many of them Black,
           over traffic fines.

           By MICHAEL BERENS and JOHN SHIFFMAN in MONTGOMERY, ALABAMA   Filed June 30, 2020, noon GMT




           J        udge Les Hayes once sentenced a single mother to 496 days behind bars for failing to pay traffic tickets. The sentence was
                    so stiff it exceeded the jail time Alabama allows for negligent homicide.

                   Marquita Johnson, who was locked up in April 2012, says the impact of her time in jail endures today. Johnson’s three
           children were cast into foster care while she was incarcerated. One daughter was molested, state records show. Another was
           physically abused.



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           “Judge Hayes took away my life and didn’t care how my children suffered,” said Johnson, now 36. “My girls will never be the
           same.”

           Fellow inmates found her sentence hard to believe. “They had a nickname for me: The Woman with All the Days,” Johnson said.
           “That’s what they called me: The Woman with All the Days. There were people who had committed real crimes who got out
           before me.”

           In 2016, the state agency that oversees judges charged Hayes with violating Alabama’s code of judicial conduct. According to the
           Judicial Inquiry Commission, Hayes broke state and federal laws by jailing Johnson and hundreds of other Montgomery residents
           too poor to pay fines. Among those jailed: a plumber struggling to make rent, a mother who skipped meals to cover the medical
           bills of her disabled son, and a hotel housekeeper working her way through college.

           Hayes, a judge since 2000, admitted in court documents to violating 10 different parts of the state’s judicial conduct code. One of
           the counts was a breach of a judge’s most essential duty: failing to “respect and comply with the law.”




                                                                                                                                                                                    !
           DAUGHTERS ABUSED: When Marquita Johnson couldn’t afford to pay traffic fines that had accumulated for some eight years, Judge Les Hayes sentenced her to more than a year in
           jail. Her daughters were cast into foster care. One was physically abused, court records show, and another was molested. REUTERS/Chris Aluka Berry



           Despite the severity of the ruling, Hayes wasn’t barred from serving as a judge. Instead, the judicial commission and Hayes
           reached a deal. The former Eagle Scout would serve an 11-month unpaid suspension. Then he could return to the bench.

           Until he was disciplined, Hayes said in an interview with Reuters, “I never thought I was doing something wrong.”

           This week, Hayes is set to retire after 20 years as a judge. In a statement to Reuters, Hayes said he was “very remorseful” for his
           misdeeds.

           Community activists say his departure is long overdue. Yet the decision to leave, they say, should never have been his to make,
           given his record of misconduct.

           “He should have been fired years ago,” said Willie Knight, pastor of North Montgomery Baptist Church. “He broke the law and



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           wanted to get away with it. His sudden retirement is years too late.”

           Hayes is among thousands of state and local judges across America who were allowed to keep positions of extraordinary power
           and prestige after violating judicial ethics rules or breaking laws they pledged to uphold, a Reuters investigation found.


           RELATED CONTENT


                         The Teflon Robe: Read the series




                         Reuters database: Judges who were publicly disciplined – and what they did




                         Methodology and Q&A: How we examined misconduct




                         How to use the searchable database to explore the disciplinary files of judges across America




           Judges have made racist statements, lied to state officials and forced defendants to languish in jail without a lawyer – and then
           returned to the bench, sometimes with little more than a rebuke from the state agencies overseeing their conduct.

           Recent media reports have documented failures in judicial oversight in South Carolina, Louisiana and Illinois. Reuters went
           further.

           In the first comprehensive accounting of judicial misconduct nationally, Reuters identified and reviewed 1,509 cases from the last
           dozen years – 2008 through 2019 – in which judges resigned, retired or were publicly disciplined following accusations of
           misconduct. In addition, reporters identified another 3,613 cases from 2008 through 2018 in which states disciplined wayward
           judges but kept hidden from the public key details of their offenses – including the identities of the judges themselves.

           All told, 9 of every 10 judges were allowed to return to the bench after they were sanctioned for misconduct, Reuters determined.
           They included a California judge who had sex in his courthouse chambers, once with his former law intern and separately with an
           attorney; a New York judge who berated domestic violence victims; and a Maryland judge who, after his arrest for driving drunk,
           was allowed to return to the bench provided he took a Breathalyzer test before each appearance.

           The news agency’s findings reveal an “excessively” forgiving judicial disciplinary system, said Stephen Gillers, a law professor at
           New York University who writes about judicial ethics. Although punishment short of removal from the bench is appropriate for
           most misconduct cases, Gillers said, the public “would be appalled at some of the lenient treatment judges get” for substantial
           transgressions.

           Among the cases from the past year alone:




                                                                         PUBLIC WARNING (2019)




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                                                                                       JACK ROBISON
                                                                                      District Court, Texas

                                               Burst into a jury deliberation room, exclaiming that God told him the defendant was innocent.
                                                                          The Herald-Zeitung/Handout via REUTERS



           In Utah, a judge texted a video of a man’s scrotum to court clerks. He was reprimanded but remains on the bench.

           In Indiana, three judges attending a conference last spring got drunk and sparked a 3 a.m. brawl outside a White Castle fast-food
           restaurant that ended with two of the judges shot. Although the state supreme court found the three judges had “discredited the
           entire Indiana judiciary,” each returned to the bench after a suspension.

           In Texas, a judge burst in on jurors deliberating the case of a woman charged with sex trafficking and declared that God told him
           the defendant was innocent. The offending judge received a warning and returned to the bench. The defendant was convicted
           after a new judge took over the case.

           “There are certain things where there should be a level of zero tolerance,” the jury foreman, Mark House, told Reuters. The judge
           should have been fined, House said, and kicked off the bench. “There is no justice, because he is still doing his job.”

           Judicial misconduct specialists say such behavior has the potential to erode trust in America’s courts and, absent tough
           consequences, could give judges license to behave with impunity.

           “When you see cases like that, the public starts to wonder about the integrity and honesty of the system,” said Steve Scheckman, a
           lawyer who directed Louisiana’s oversight agency and served as deputy director of New York’s. “It looks like a good ol’ boys club.”

           That’s how local lawyers viewed the case of a longtime Alabama judge who concurrently served on the state’s judicial oversight
           commission. The judge, Cullman District Court’s Kim Chaney, remained on the bench for three years after being accused of
           violating the same nepotism rules he was tasked with enforcing on the oversight commission. In at least 200 cases, court records
           show, Judge Chaney chose his own son to serve as a court-appointed defense lawyer for the indigent, enabling the younger
           Chaney to earn at least $105,000 in fees over two years.




                                                                                                                                                                                    !
           NEPOTISM BY WATCHDOG: While serving on a state board on judicial misconduct, Judge Kim Chaney violated the very nepotism rules he enforced on other judges, appointing his
           own son to more than 200 cases in his hometown.



           In February, months after Reuters repeatedly asked Chaney and the state judicial commission about those cases, he retired from
           the bench as part of a deal with state authorities to end the investigation.



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           Tommy Drake, the lawyer who first filed a complaint against Chaney in 2016, said he doubts the judge would have been forced
           from the bench if Reuters hadn’t examined the case.

           “You know the only reason they did anything about Chaney is because you guys started asking questions,” Drake said. “Otherwise,
           he’d still be there.”




           Bedrock of American justice
           State and local judges draw little scrutiny even though their courtrooms are the bedrock of the American criminal justice system,
           touching the lives of millions of people every year.

           The country’s approximately 1,700 federal judges hear 400,000 cases annually. The nearly 30,000 state, county and municipal
           court judges handle a far bigger docket: more than 100 million new cases each year, from traffic to divorce to murder. Their titles
           range from justice of the peace to state supreme court justice. Their powers are vast and varied – from determining whether a
           defendant should be jailed to deciding who deserves custody of a child.




                                                                                                                                                                                      !
           ‘GUT INSTINCT’: Judge Les Hayes served on the Montgomery Municipal Court in Alabama since 2000. “With my years of experience, I can tell when someone is being truthful with
           me,” he told Reuters. Courtesy Montgomery Advertiser/Handout via REUTERS



           Each U.S. state has an oversight agency that investigates misconduct complaints against judges. The authority of the oversight



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           agencies is distinct from the power held by appellate courts, which can reverse a judge’s legal ruling and order a new trial. Judicial
           commissions cannot change verdicts. Rather, they can investigate complaints about the behavior of judges and pursue discipline
           ranging from reprimand to removal.




                                                                                 REPRIMANDED (2017)




                                                                                  SAM BENNINGFIELD
                                                                              General Sessions Court, Tennessee

                                        Granted jail credit to women who received surgical implants for birth control and men who received vasectomies.
                                                                              TNcourts.gov/Handout via REUTERS



           Few experts dispute that the great majority of judges behave responsibly, respecting the law and those who appear before them.
           And some contend that, when judges do falter, oversight agencies are effective in identifying and addressing the behavior. “With a
           few notable exceptions, the commissions generally get it right,” said Keith Swisher, a University of Arizona law professor who
           specializes in judicial ethics.

           Others disagree. They note that the clout of these commissions is limited, and their authority differs from state to state. To
           remove a judge, all but a handful of states require approval of a panel that includes other judges. And most states seldom exercise
           the full extent of those disciplinary powers.

           As a result, the system tends to err on the side of protecting the rights and reputations of judges while overlooking the impact
           courtroom wrongdoing has on those most affected by it: people like Marquita Johnson.

           Reuters scoured thousands of state investigative files, disciplinary proceedings and court records from the past dozen years to
           quantify the personal toll of judicial misconduct. The examination found at least 5,206 people who were directly affected by a
           judge’s misconduct. The victims cited in disciplinary documents ranged from people who were illegally jailed to those subjected to
           racist, sexist and other abusive comments from judges in ways that tainted the cases.

           The number is a conservative estimate. The tally doesn’t include two previously reported incidents that affected thousands of
           defendants and prompted sweeping reviews of judicial conduct.




          “If we have a system that holds a wrongdoer accountable but we fail
           to address the victims, then we are really losing sight of what a
           justice system should be all about.”
           Arthur Grim, retired judge




           In Pennsylvania, the state examined the convictions of more than 3,500 teenagers sentenced by two judges. The judges were
           convicted of taking kickbacks as part of a scheme to fill a private juvenile detention center. In 2009, the Pennsylvania Supreme
           Court appointed senior judge Arthur Grim to lead a victim review, and the state later expunged criminal records for 2,251



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           juveniles. Grim told Reuters that every state should adopt a way to compensate victims of judicial misconduct.

           “If we have a system that holds a wrongdoer accountable but we fail to address the victims, then we are really losing sight of what
           a justice system should be all about,” Grim said.

           In another review underway in Ohio, state public defender Tim Young is scrutinizing 2,707 cases handled by a judge who retired
           in 2018 after being hospitalized for alcoholism. Mike Benza, a law professor at Case Western Reserve University whose students
           are helping identify victims, compared the work to current investigations into police abuse of power. “You see one case and then
           you look to see if it's systemic,” he said.

           The review, which has been limited during the coronavirus pandemic, may take a year. But Young said the time-consuming task is
           essential because “a fundamental injustice may have been levied against hundreds or thousands of people.”




           ‘Special rules for judges’
           Most states afford judges accused of misconduct a gentle kind of justice. Perhaps no state better illustrates the shortcomings of
           America’s system for overseeing judges than Alabama.




                                                                           CENSURED (2014)




                                                                             SCOTT STEINER
                                                                          Superior Court, California

                                           Had sex in his chambers with his intern and with an attorney practicing before his court.
                                                                       Twitter/Handout via REUTERS



           As in most states, Alabama’s nine-member Judicial Inquiry Commission is a mix of lawyers, judges and laypeople. All are
           appointed. Their deliberations are secret and they operate under some of the most judge-friendly rules in the nation.

           Alabama’s rules make even filing a complaint against a judge difficult. The complaint must be notarized, which means that in
           theory, anyone who makes misstatements about the judge can be prosecuted for perjury. Complaints about wrongdoing must be
           made in writing; those that arrive by phone, email or without a notary stamp are not investigated, although senders are notified
           why their complaints have been summarily rejected. Anonymous written complaints are shredded.

           These rules can leave lawyers and litigants fearing retaliation, commission director Jenny Garrett noted in response to written
           questions.




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           “It’s a ridiculous system that protects judges and makes it easy for them to intimidate anyone with a legitimate complaint,” said
           Sue Bell Cobb, chief justice of the Alabama Supreme Court from 2007 to 2011. In 2009, she unsuccessfully championed changes
           to the process and commissioned an American Bar Association report that offered a scathing review of Alabama's rules.

           In most other states, commission staff members can start investigating a judge upon receiving a phone call or email, even
           anonymous ones, or after learning of questionable conduct from a news report or court filing. In Alabama, staff will not begin an
           investigation without approval from the commission itself, which convenes about every seven weeks.

           By rule, the commission also must keep a judge who is under scrutiny fully informed throughout an investigation. If a subpoena is
           issued, the judge receives a simultaneous copy, raising fears about witness intimidation. If a witness gives investigators a
           statement, the judge receives a transcript. In the U.S. justice system, such deference to individuals under investigation is
           extremely rare.




          “It’s a ridiculous system that protects judges and makes it easy for
           them to intimidate anyone with a legitimate complaint.”
           Sue Bell Cobb, former chief justice of the Alabama Supreme Court




           “Why the need for special rules for judges?” said Michael Levy, a Washington lawyer who has represented clients in high-profile
           criminal, corporate, congressional and securities investigations. “If judges think it’s fair and appropriate to investigate others for
           crimes or misconduct without providing those subjects or targets with copies of witness statements and subpoenas, why don’t
           judges think it’s fair to investigate judges in the same way?”

           Alabama judges also are given an opportunity to resolve investigations confidentially. Reuters interviews and a review of Alabama
           commission records show the commission has met with judges informally at least 19 times since 2011 to offer corrective
           “guidance.” The identities of those judges remain confidential, as does the conduct that prompted the meetings. “Not every
           violation warrants discipline,” commission director Garrett said.

           Since 2008, the commission has brought 21 public cases against judges, including Hayes, charging two this year.




           496
           Number of days Judge Hayes sentenced Marquita Johnson to jail for unpaid traffic tickets.




           Two of the best-known cases brought by the commission involved Roy Moore, who was twice forced out as chief justice of the
           Alabama Supreme Court for defying federal court orders.

           Another Alabama justice fared better in challenging a misconduct complaint, however. Tom Parker, first elected to the state’s high
           court in 2004, pushed back when the commission investigated him in 2015 for comments he made on the radio criticizing the
           U.S. Supreme Court's decision legalizing gay marriage.

           Parker sued the commission in federal court, arguing the agency was infringing on his First Amendment rights. He won. Although
           the commission had dropped its investigation before the ruling, it was ordered to cover Parker’s legal fees: $100,000, or about a
           fifth of the agency’s total annual budget.

           In 2018, the people of Alabama elected Parker chief justice.



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           These days, Parker told Reuters, Alabama judges and the agency that oversees them enjoy “a much better relationship” that’s less
           politically tinged. “How can I say it? It’s much more respectful between the commission and the judges now.”




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           " David Sachar, director of the Arkansas Judicial Discipline & Disability Commission: “People can be scared for their life.”




           “Gut instinct”
           Montgomery, Alabama has a deep history of racial conflict, as reflected in the clashing concepts emblazoned on the city’s great
           seal: “Cradle of the Confederacy” and “Birthplace of the Civil Rights Movement.”

           Jefferson Davis was inaugurated here as Confederate president after the South seceded from the Union in 1861, and his birthday
           is a state holiday. As was common throughout the South, the city was the site of the lynchings of Black men, crimes now
           commemorated at a national memorial based here. Police arrested civil rights icon Rosa Parks here in 1955 for refusing to give up
           her seat on a city bus to a white passenger.

           Today, about 60% of Montgomery’s 198,000 residents are Black, U.S. census records show. Even so, Black motorists account for
           about 90% of those charged with unpaid traffic tickets, a Reuters examination of court records found. Much of Judge Hayes’ work
           in municipal court involved traffic cases and the collection of fines. Hayes, who is white, told Reuters that “the majority of people
           who come before the court are Black.”

           City officials have said that neither race nor economics have played a role in police efforts to enforce outstanding warrants, no
           matter how minor the offense.




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                                                                                                                                                              !
            CONFLICTING HISTORY: The great seal of Montgomery on the entrance to the city council chamber. Reuters/John Shiffman



            In April 2012, Marquita Johnson was among them. Appearing before Hayes on a Wednesday morning, the 28-year-old single
            mother pleaded for a break.

            Johnson had struggled for eight years to pay dozens of tickets that began with a citation for failing to show proof of insurance. She
            had insurance, she said. But when she was pulled over, she couldn’t find the card to prove it.

            Even a single ticket was a knockout blow on her minimum-wage waitress salary. In addition to fines, the court assessed a $155 fee
            to every ticket. Court records show that police often issued her multiple tickets for other infractions during every stop – a practice
            some residents call “stacking.”

            Under state law, failing to pay even one ticket can result in the suspension of a driver’s license. Johnson’s decision to keep driving
            nonetheless – taking her children to school or to doctor visits, getting groceries, going to work – led to more tickets and deeper
            debt.

            “I told Judge Hayes that I had lost my job and needed more time to pay,” she recounted.

            By Hayes’ calculation, Johnson owed more than $12,000 in fines. He sentenced Johnson to 496 days in jail. Hayes arrived at that
            sentence by counting each day in jail as $25 toward the outstanding debt. A different judge later determined that Johnson
            actually owed half the amount calculated by Hayes, and that Hayes had incorrectly penalized her over fines she had already paid.
            To shave time off her sentence, Johnson washed police cars and performed other menial labor while jailed.




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            " Reiko Callner, director of the Washington state Commission on Judicial Conduct: Judges have unique power.



            Hayes told Reuters that he generally found pleas of poverty hard to believe. “With my years of experience, I can tell when
            someone is being truthful with me,” Hayes said. He called it “gut instinct” -- though he added, in a statement this week, that he
            also consulted “each defendant's criminal and traffic history as well as their history of warrants and failures to appear in court.”

            Of course, the law demands more of a judge than a gut call. In a 1983 landmark decision, Bearden v. Georgia, the U.S. Supreme
            Court ruled that state judges are obligated to hold a hearing to determine whether a defendant has “willfully” chosen not to pay a
            fine.

            According to the state’s judicial oversight commission, “Judge Hayes did not make any inquiry into Ms. Johnson’s ability to pay,
            whether her non-payment was willful.”

            From jail, “I prayed to return to my daughters,” Johnson said. “I was sure that someone would realize that Hayes had made a
            mistake.”

            She said her worst day in jail was her youngest daughter’s 3rd birthday. From a jail telephone, she tried to sing “Happy Birthday”
            but slumped to the floor in grief.

            “She was choking up and crying,” said Johnson’s mother, Blanche, who was on the call. “She was devastated to be away from her
            children so long.”

            When Johnson was freed after 10 months in jail, she learned that strangers had abused her two older children. One is now a
            teenager; the other is in middle school. “My kids will pay a lifetime for what the court system did to me,” Johnson said. “My
            daughters get frantic when I leave the house. I know they’ve had nightmares that I’m going to disappear again.”

            Six months after Johnson’s release, Hayes jailed another single Black mother. Angela McCullough, then 40, had been pulled over
            driving home from Faulkner University, a local community college where she carried a 3.87 grade point average. As a mother of
            four children, including a disabled adult son, she had returned to college to pursue her dream of becoming a mental health
            counselor.

            Police ticketed her for failing to turn on her headlights. After a background check, the officer arrested McCullough on a warrant
            for outstanding traffic tickets. She was later brought before Hayes.

            “I can’t go to jail,” McCullough recalled pleading with the judge. “I’m a mother. I have a disabled son who needs me.”



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            Hayes sentenced McCullough to 100 days in jail to pay off a court debt of $1,350, court records show. Her adult son, diagnosed
            with schizophrenia, was held in an institution until her release.




                                                                                                                                                                                          !
            HOPES DASHED: Before she was pulled over for failing to turn on her headlights, Angela McCullough carried a 3.87 grade point average at a local community college. Jailed by Judge
            Les Hayes, she put her tuition money toward fines she owed. “I don’t think I’ll ever be able to afford to go back” to college, she says today. REUTERS/Chris Aluka Berry



            McCullough said she cleaned jail cells in return for time off her sentence. One day, she recalled, she had to clean a blood-soaked
            cell where a female inmate had slit her wrists.

            She was freed after 20 days, using the money she saved for tuition to pay off her tickets, she said.

            Jail was the darkest chapter of her life, McCullough said, a place where “the devil was trying to take my mind.” Today, she has
            abandoned her pursuit of a degree. “I don’t think I’ll ever be able to afford to go back.”




                                                                                 SUSPENDED 6 MONTHS (2017)




                                                                                   CHRIS KUNZA MENNEMEYER
                                                                                           Circuit Court, Missouri




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Thousands of U.S. judges who broke laws or oaths remained on th...                                       https://www.reuters.com/investigates/special-report/usa-judges-mi...


                                                   Deliberately postponed the appointment of public defenders in probation violation cases.
                                                                          Pike County News/Handout via REUTERS



            A clear sign that something was amiss in Montgomery courts came in November 2013, when a federal lawsuit was filed alleging
            that city judges were unlawfully jailing the poor. A similar suit was filed in 2014, and two more civil rights cases were filed in
            2015. Johnson and McCullough were plaintiffs.

            The lawsuits detailed practices similar to those that helped fuel protests in Ferguson, Missouri, after a white police officer killed a
            Black teenager in 2014. In a scathing report on the origins of the unrest, the U.S. Department of Justice exposed how Ferguson
            had systematically used traffic enforcement to raise revenue through excessive fines, a practice that fell disproportionately hard
            on Black residents.

            “Montgomery is just like Ferguson,” said Karen Jones, a community activist and founder of a local educational nonprofit. Jones
            has led recent protests in Montgomery in the wake of the killing of George Floyd, the Black man whose death under the knee of a
            cop in Minneapolis set off worldwide calls for racial justice.

            In Montgomery, “everybody knew that the police targeted Black residents. And I sat in Hayes’ court and watched him squeeze
            poor people for more money, then toss them in jail where they had to work off debts with free labor to the city.”

            It was years before the flurry of civil rights lawsuits against Hayes and his fellow judges had much impact on the commission. The
            oversight agency opened its Hayes case in summer 2015, nearly two years after plaintiffs’ lawyers in the civil rights cases filed a
            complaint with the body. Hayes spent another year and a half on the bench before accepting the suspension.




                                                                                                                                                                                   !
            OUTRAGED: Community activist Karen Jones says she watched Judge Les Hayes “squeeze poor people for more money, then toss them in jail where they had to work off debts with
            free labor to the city.” REUTERS/Michael Berens



            Under its own rules, the commission could have filed a complaint and told its staff to investigate Hayes at any time. Commission
            director Garrett said she is prohibited by law from explaining why the commission didn’t investigate sooner. The investigation
            went slowly, Garrett said, because it involved reviewing thousands of pages of court records. The commission also was busy with



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            other cases from 2015 to early 2017, Garrett said, issuing charges against five judges, including Moore.




            “Slap in the face”
            A few months after Judge Hayes’ suspension ended, his term as a municipal judge was set to expire. So, the Montgomery City
            Council took up the question of the judge’s future on March 6, 2018. On the agenda of its meeting: whether to reappoint Hayes to
            another four-year term.




                                                                                                                                                            !
            UNLAWFUL RULINGS: The Alabama judicial oversight agency’s determination on the wrongdoing of Judge Les Hayes.



            Hayes wasn’t in the audience that night, but powerful supporters were. The city’s chief judge, Milton Westry, told the council that
            Hayes and his colleagues have changed how they handled cases involving indigent defendants, “since we learned a better way of
            doing things.” In the wake of the suits, Westry said, Hayes and his peers complied with reforms that required judges to make
            audio recordings of court hearings and notify lawyers when clients are jailed for failing to pay fines.

            As part of a settlement in the civil case, the city judges agreed to implement changes for at least two years. Those reforms have
            since been abandoned, Reuters found. Both measures were deemed too expensive, Hayes and city officials confirmed.

            Residents who addressed the council were incredulous that the city would consider reappointing Hayes. Jones, the community
            activist, reminded council members that Hayes had “pleaded guilty to violating the very laws he was sworn to uphold.”




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                                                                                                                                            0:00 / 0:48

            " Resident Phyllis Harvey-Hall told the Montgomery City Council that reappointing Judge Les Hayes was not fair.



            The city council voted to rehire Hayes to a fifth consecutive term.

            Marquita Johnson said she can’t understand why a judge whose unlawful rulings changed the lives of hundreds has himself
            emerged virtually unscathed.

            “Hiring Hayes back to the bench was a slap in the face to everyone,” Johnson said. “It was a message that we don't matter.”

            On Thursday, Hayes will retire from the bench. In an earlier interview with Reuters, he declined to discuss the Johnson case.
            Asked whether he regrets any of the sentences he has handed out, he paused.

            “I think, maybe, I could have been more sympathetic at times,” Hayes said. “Sometimes you miss a few.”



            Additional reporting by Isabella Jibilian, Andrea Januta and Blake Morrison. Edited by Morrison.




            A watchdog accused, a pattern of rulings delayed, a
            repeat offender
            By JOHN SHIFFMAN




            Three recent cases illustrate how Alabama judges who were cited for wrongdoing were able to remain on the bench for years.




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            Judge Chaney: Enforced, broke rules
            What happened when a trial judge who also served on the
            state’s judicial oversight board was accused of misbehavior.

            Alex Chaney was just a year out of law school in 2015 when he
            started receiving lucrative appointments at taxpayer expense. A
            district judge began assigning him to represent people too poor
            to afford a lawyer.

            That judge was his dad, Kim Chaney.

            Judge Chaney is a powerful figure in rural Cullman County,
            where he was first elected to the bench in 1992. Chaney serves        Court of the Judiciary finds Judge Chaney guilty of
                                                                                  nepotism (AUDIO)
            on a local bank board and has led several statewide justice
            associations.

            In 2012, the governor honored Chaney by selecting him to also serve on Alabama’s nine-member Judicial Inquiry Commission,
            which investigates misconduct by judges. While on the commission, Chaney broke its ethics laws in his own courtroom.

            In 2016, local attorney Tommy Drake filed a complaint against Chaney, alleging that the judge was appointing his son to
            represent indigent defendants, violating ethics rules that prohibit nepotism. Alex Chaney was paid $105,000 from 2015 to
            2017 by the state for such court-appointed work, accounting records show.

            Because Judge Chaney served on the judicial commission, Drake sent his complaint to a different state watchdog agency, the
            Alabama Ethics Commission. On October 4, 2017, the Ethics Commission found that Judge Chaney violated ethics rules and
            referred the case to the state attorney general.

            The following day, records show, Judge Chaney resigned from the Judicial Inquiry Commission. But he remained a trial judge in
            Cullman. Eighteen months passed.

            Last summer, a Reuters reporter began asking state officials about the status of the case. The officials declined to comment.

            In November, Reuters sent Judge Chaney and his son queries. They did not respond. The judge’s lawyer, John Henig Jr, wrote to
            Reuters: “Judge Chaney is a person of remarkably good character and would never knowingly do anything unethical or wrong.”

            Henig said that Judge Chaney appointed his son from a rotating list of lawyers to represent indigent defendants. Henig called the
            appointments “ministerial” in nature.

            “If Judge Chaney’s son’s name was the next name on the list for appointments, Judge Chaney would call out his son’s name and
            thereafter immediately recuse himself from the case,” Henig wrote.

            A Reuters review of court records showed otherwise: Judge Chaney participated in several cases after appointing his son and
            issued substantive decisions. For example, records show that the judge reduced bond for one of his son’s clients, and approved
            another’s motion to plead guilty. Henig did not respond to questions about these records.




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                                                                                                                                                             !
            APPOINTED SON: This document shows how Judge Kim Chaney appointed his lawyer son to handle cases.



            This February 7 – eight months after Reuters began inquiring about Chaney – the commission charged the judge with appointing
            his son to more than 200 cases and making rulings in some of them. Chaney struck a deal with the commission and retired from
            the bench, avoiding a trial.

            During a hearing to approve the deal, commission lawyer Elizabeth Bern said Chaney should have known better than to appoint
            his son, especially given that he did so while a member of the oversight agency. During Chaney’s tenure, the commission had
            disciplined two judges who abused their office to benefit a relative.

            “The nepotism provision is clear and unequivocal without exception,” she said.

            Chaney did not speak during the hearing.

            Drake, the lawyer who filed the complaint in 2016, said that absent the Reuters inquiries, he doubts Chaney would have retired
            from the bench because he is so politically powerful.

            Indeed, shortly after the judge stepped down in disgrace for steering work to his son, the local bar association issued a resolution
            praising him.

            Of Chaney, the local lawyers said, “He has always maintained the highest ethical and moral standards of the office and has been
            an example to all, what a judge should represent.”



            Judge Kelly: “Callous indifference”
            How a judge left children in limbo by repeatedly failing to
            perform her most basic duty: ruling on cases.

            Montgomery Circuit Court Judge Anita Kelly hears time-
            sensitive family matters such as child custody, adoption and
            divorce – cases in which a child remains in limbo until she rules.

            Starting in 2014, court and judicial commission records show,
            word of years-long delays in her cases began to emerge from
            foster parents, lawyers, social workers and appeals court judges.
            Commission officials are barred by law from discussing the case,
                                                                                                   FAMILY MATTERS: Montgomery Circuit Court Judge Anita
            but Reuters pieced together the scope of the investigation                             Kelly. Courtesy Montgomery Advertiser/Handout via
            through juvenile court records, public documents and interviews                        REUTERS
            with people involved.




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            In May 2014, foster parents Cheri and Travis Norwood filed a complaint about Kelly with the judicial commission. They alleged
            the judge’s incompetence led to a traumatic, years-long delay in which a foster child who began living with the Norwoods as an
            infant was taken away from them at age 3 ½ and returned to live with her teenage biological mother.

            “If Judge Kelly thought they should have been together, fine,” Travis Norwood said in an interview. “Why didn’t this happen
            sooner? Because children can’t wait. You can’t freeze a child, hold her in suspended animation until her mother is ready.”

            Social workers who heard about the Norwood complaint forwarded their own concerns about Kelly’s conduct in several other
            cases. Nonetheless, the commission dismissed the Norwood complaint in early 2015, finding “no reasonable basis to charge the
            judge.”

            Over the next year, more red flags emerged. State appeals court judges raised concerns about Kelly’s “continued neglect of her
            duty,” citing at least five cases that had untenable delays. In November 2015, a supreme court justice criticized the nearly three
            years it took to determine one child’s fate.




                                                                                                                                                                                        !
            YOUTHFUL INNOCENCE: A handprint by a 3-year-old girl whose foster parents filed a judicial complaint against Circuit Court Judge Anita Kelly. The complaint alleged incompetence
            in a case that lingered for years. REUTERS/John Shiffman



            “I refuse to be another adult who has totally failed this child,” Justice Tommy Bryan wrote.

            Another 20 months passed before the judicial commission took action. In August 2017, it charged Kelly with delays that
            “manifest a callous indifference or lack of comprehension” to children’s well-being. One child’s case, it noted, had dragged on for
            five years.

            Kelly took her case to trial before the Court of the Judiciary, the special tribunal that weighs charges against judges. Her attorney
            argued that the judge worked hard and had shown no ill intent.




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            In 2018, the tribunal found Kelly failed to “maintain professional competence.” Kelly was suspended for 90 days. Still, she kept
            her job. The court said it likely would have removed Kelly from the bench if not for two factors: Voters re-elected her in 2016, and
            she exhibited “good character and the lack of evidence of scandal or corruption on her part.”

            Her lawyer, Henry Lewis Gillis, applauded her reinstatement and said the delays never affected the quality of her decisions.

            “Judge Kelly cannot change yesterday,” Gillis said. “Rather, she chooses to learn from her past experiences as she continues to
            handle the many, many, many cases that come before her today.”



            Judge Wiggins: Give blood or go to jail
            A judge who is a repeat offender – four times over – remains on
            the bench.

            Circuit Judge Marvin Wiggins has been hit with misconduct
            charges by Alabama’s judicial conduct commission four times
            over the past decade. In 2009, he was reprimanded and
            suspended for 90 days for failing to recuse himself from a voter
            fraud investigation involving his relatives.

            “The public must be able to trust that our judges will dispense
            justice fairly and impartially,” the Court of the Judiciary
                                                                                                 FAMILIAR FACE: Alabama Circuit Judge Marvin Wiggins.
            concluded. “Judge Wiggins, by his actions, disregarded that                          Courtesy Selma Times-Journal/Handout via REUTERS
            trust.”

            In 2016 – in a case that made global headlines – Wiggins was censured for offering defendants the option of giving blood instead
            of going to jail for failing to pay fines. A local blood drive happened to be taking place at the courthouse that day.

            “If you do not have any money and you don’t want to go to jail, as an option to pay it, you can give blood today,” Wiggins told
            dozens of defendants, according to a recording. “Consider that as a discount rather than putting you in jail, if you do not have any
            money.”

            Forty-one defendants gave blood that day, and the commission called Wiggins’ conduct “reprehensible and inexcusable.” Wiggins
            acknowledged that his comments were inappropriate, but noted he did not send anyone to jail that day for failure to pay fines.


            ALERT US TO WRONGDOING


                          Not all judges who have violated their oaths of office, broken the law or misbehaved on the bench have been brought before their states’ oversight
                          commission. If you know of a judge who may have committed misconduct, please send us details at tips@thomsonreuters.com. Include the name
                          of the judge, the state, details of what the judge may have done wrong, and a way for us to contact you. Reuters investigates such tips and will
                          contact you before publishing.




            Wiggins’ lawyer, Joe Espy III, said that the judge “has always tried to cooperate” with authorities. Espy noted that Wiggins is a
            community leader, an ordained pastor and has been repeatedly re-elected to the bench for more than 20 years.

            “He is not only a good judge but a good person,” Espy said.

            Last year, Wiggins was reprimanded for directly calling the father in a custody dispute – a conversation that violated a rule
            prohibiting a judge from discussing a case without both sides present. A recording of the call became a key piece of evidence
            against Wiggins.

            In preparation for trial in that case, the commission said it found a “pattern and practice” of similar one-sided calls. The
            commission also said it found evidence that Wiggins was meeting with divorce litigants in his chambers without lawyers present.

            In November, this prompted a new commission case against Wiggins – his fourth in 10 years.




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            “At a very minimum,” the commission alleged, his track record indicates a “pattern of carelessness or indifferent disregard or lack
            of respect for the high standards imposed on the judiciary.”

            But at a pretrial hearing in January, and in a subsequent order, Wiggins scored a victory before the Alabama tribunal that issues
            final judgment on such cases, the Court of the Judiciary. The presiding judge raised questions about whether proper procedures
            had been followed in the case against Wiggins.

            Three weeks later, the commission dropped the case. And Wiggins returned to the bench.




            Judges who were publicly disciplined – and what
            they did
            In the first comprehensive accounting of judicial misconduct nationally, Reuters identified and reviewed 1,509 cases from the last dozen years – 2008
            through 2019 – in which state or local judges resigned, retired or were publicly disciplined following accusations of misconduct. Explore judges in your
            STATE by using the dropdown menu on the left. To find a specific judge, type in the judge’s LAST NAME. To read official records about the judge’s
            conduct, click on a judge’s name.



            FIND JUDGES BY STATE

              Choose a state                                                           OR Search by last name                                                     #




            The Teflon Robe
            By Michael Berens and John Shiffman
            Contributing reporting: Andrea Januta and Caroline Monahan
            Data: Michael Berens, John Shiffman and Isabella Jibilian
            Graphic: Matthew Weber
            Photo editing: Corinne Perkins
            Video: Craig Hettich
            Art direction: Troy Dunkley and Pete Hausler
            Edited by Blake Morrison



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            Death Sentence                                                                      The Fighter
            Dying Inside | Part 1: The U.S. government collects data on who’s dying in which    Broadhurst Cona survived the indignities of apartheid. He wasn't going to let
            jails around the country – but won’t let anyone see it. So, Reuters conducted its   the coronavirus kill him. But his family wasn't spared the pandemic's grief.
            own tally.




            The Plastic Pandemic                                                                Maritime Murder
            Recyclers struggle as oil world invests hundreds of billions to make new plastic    A deadly voyage reveals the ruin within Venezuela’s maritime and defense
                                                                                                agencies and alleged complicity of state agents in the very crimes they are
                                                                                                meant to prevent.




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                        EXHIBIT 014




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         Case 1:18-cv-04609-KPF Document 86 Filed 11/19/18 Page 1 of 69   1
       I9I9CARC

 1     UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
 2     ------------------------------x

 3     ROVIER CARRINGTON,

 4                      Plaintiff,

 5                 v.                                18 CV 4609 (KPF)

 6     BRIAN GRADEN, ET AL,

 7                      Defendants.                  CONFERENCE

 8     ------------------------------x
                                                     New York, N.Y.
 9                                                   September 18, 2018
                                                     2:10 p.m.
10
       Before:
11
                           HON. KATHERINE POLK FAILLA,
12
                                                     District Judge
13
                                     APPEARANCES
14
       THE LANDAU GROUP
15          Attorneys for Plaintiff
       BY: KEVIN LANDAU
16
       RUSS AUGUST & KABAT
17          Attorneys for Defendants Brian Graden
             and Brian Graden Media, LLC
18     BY: STANTON L. STEIN via Speakerphone
            DIANA A. SANDERS
19
       SHEARMAN & STERLING
20          Attorneys for Defendants Viacom Inc.,
             Viacom International, and Paramount Pictures Corporation
21     BY: STEPHEN R. FISHBEIN
            CHRISTOPHER L. LaVIGNE
22
       LOEB & LOEB
23          Attorneys for Defendants Brad Grey, Brad Grey Estate,
             and Brad Alan Grey Trust
24     BY: WOOK J. HWANG
            SARAH SCHACTER
25


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 1               (Case called)

 2               MR. LANDAU:    Good afternoon, your Honor.

 3               Kevin Landau on behalf of plaintiff.

 4               THE COURT:    Good afternoon, sir.

 5               MR. LaVIGNE:    Good afternoon, your Honor.

 6               Christopher LaVigne and Stephen Fishbein on behalf of

 7     Viacom, Inc., Viacom International, and Paramount Pictures.

 8               THE COURT:    Sir, to which of you should I be directing

 9     my questions?

10               MR. LaVIGNE:    Myself, your Honor.

11               THE COURT:    Ms. Schacter.

12               MS. SCHACTER:    Yes.   Sarah Schacter from Loeb & Loeb

13     with Wook Hwang who will be addressing your Honor.

14               THE COURT:    OK.   Mr. Hwang, I should be directing

15     questions to you?

16               MR. HWANG:    Yes, your Honor.     Thank you.

17               THE COURT:    OK.   Thank you.

18               MS. SANDERS:    And Diana Sanders of Russ August & Kabat

19     on behalf of Brian Graden and Brian Graden Media, and my

20     colleague, Larry Stein, is on the phone.

21               THE COURT:    Mr. Stein, are you there, sir?

22               MR. STEIN:    I am, your Honor.

23               THE COURT:    Mr. Stein, I'm understanding that you are

24     participating by listening; is that correct?

25               MR. STEIN:    That's correct, your Honor, as I


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       I9I9CARC

 1     understand the Court's instructions.

 2                THE COURT:    Why I'm asking that is I have a microphone

 3     that is directed to your phone and I'm actually going to move

 4     it because it's the one that I would be using.

 5                So if you have any problems hearing what's going on

 6     you'll let me know, all right, sir?

 7                MR. STEIN:    Thank you, your Honor.

 8                THE COURT:    Thank you.   All right.    I've gotten two

 9     letters.    Can I -- let me first be sure that I only have the

10     two letters.    I have a letter on Shearman & Sterling stationery

11     that I received yesterday in the morning; and then in the

12     afternoon I received a letter from Mr. Landau.

13                Was there anything else I should be expecting?

14                MR. LANDAU:    Not from plaintiffs, your Honor.

15                MR. LaVIGNE:    Not from the defendants, your Honor.

16                THE COURT:    Mr. LaVigne, let me begin with you, sir.

17                I'm a little surprised because I find that the two

18     what I'll call experts, the two forensic folk are not in

19     complete agreement.      What I think -- you may, sir.

20                I want to make sure I understand precisely what was

21     done by both experts so I want to hear about what FTI did and

22     I'm assuming, sir, you've seen what the plaintiff's expert from

23     Progressive has done; is that correct?

24                MR. LaVIGNE:    That's correct, your Honor.      I saw that

25     last night.


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       I9I9CARC

 1               THE COURT:    Have you had an opportunity -- and I

 2     understand if you haven't -- to share that report, the

 3     Progressive report with your -- with the expert at FTI?

 4               MR. LaVIGNE:    We have not, your Honor.

 5               THE COURT:    OK.   Let me understand what you want me to

 6     take away from the FTI report.

 7               MR. LaVIGNE:    From the FTI report, which is confirmed

 8     with the plaintiff's expert's report, is basically three

 9     things, Judge.    Neither expert -- both experts cannot identify

10     any of the native at-issue communications that are in dispute.

11               THE COURT:    Let me make sure I understand what you

12     mean by that.    I'll think what I understand you to be saying is

13     there are in the world electronic -- there are e-mails in an

14     electronic format that were sent to Mr. Landau and the other

15     Mr. Landau and so at least these e-mails exist in an electronic

16     format but they appear to be a forwarded e-mail.         And what

17     you've been unable to find is the original version of the

18     e-mail that was forwarded to counsel.        Am I correct?

19               MR. LaVIGNE:    That's right, Judge.

20               Basically there are 40 e-mails in various chains that

21     are Exhibits 2 to 11 in plaintiff's amended complaint.

22               Out of those 40 e-mails, FTI could find one, one

23     e-mail that was in its what we call native original form.

24               THE COURT:    Let's make sure we're speaking from --

25     about the same thing.     Native and original means what?          It's in


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 1     the form -- it's in the -- for example, if it were Outlook, if

 2     it were Gmail, it's in that format, and it is as it was when it

 3     was sent?

 4               MR. LaVIGNE:    Correct.    If you opened up your inbox,

 5     Judge, and if a lawyer -- like the e-mail I sent you last night

 6     if it's residing in that inbox, that's original native form.

 7     So those 39 e-mails, none were found.

 8               Now one reason is because what we found out literally

 9     on the day that was the deadline for plaintiff to comply with

10     the order turning over all relative communications was that one

11     of the core accounts, the trendsetter@gmail account, and this

12     was the account that allegedly was used to correspond with Reno

13     Logan and encompasses e-mails that are Exhibits 2 to 7 of the

14     amended complaint, that e-mail account apparently, according to

15     plaintiff, was deactivated and nobody has been able to access

16     it.   So that's a second point on which both experts agree.

17     They cannot identify the at-issue communications.          They cannot

18     access this trendsetter account.

19               THE COURT:    Tell me again please, sir, which exhibits

20     are from the --

21               MR. LaVIGNE:    Two to seven.

22               Essentially all of those communications involve the

23     defendant Brad Grey and Paramount and Viacom by virtue of Brad

24     Grey's employment.

25               Now the third main takeaway I got from the FTI report,


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 1     and I certainly got from Mr. Landau's expert report, is they

 2     can't explain why they cannot find these e-mails.

 3                Judge, to put this in perspective.       This has been

 4     going on now for seven weeks.      And I'm not trying to make light

 5     of anything.

 6                THE COURT:   Please don't.

 7                MR. LaVIGNE:   I won't.

 8                Our request has been very simple, what we've asked

 9     from the Court.    We've been very, very measured.       Show us the

10     original e-mails.    That's what we have asked.       Show us the

11     natives.

12                They were important enough for Mr. Landau and his

13     client to append them to an amended complaint in July.             Show

14     them to us.

15                Because we have put forth good faith sworn testimony

16     that these are fake.      A nonparty, Darren Stein, came in; put in

17     an affidavit and said that e-mail, Exhibit 11, that e-mail has

18     language that I did not send.      That is false.

19                We have an affidavit from Reno Logan who also said he

20     didn't send those.

21                Our request has been simple.      Simply show us the

22     native e-mails.    And we have been unable to get those.

23                Now FTI gave three possibilities.      Number one --

24                THE COURT:   Let me stop you for a moment, sir.         These

25     are the three possibilities that are outlined in Mr. Landau's


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 1     letter, pages two and three, correct?

 2               MR. LaVIGNE:    I believe that's right.      Mr. Landau did

 3     allude to three possibilities that FTI set forth.          I believe

 4     it's in page three to four of Mr. Landau's letter from last

 5     night.

 6               THE COURT:    OK.   But the three that are listed there

 7     for Mr. Hammerquist are the same three that you're about to

 8     tell me now.

 9               MR. LaVIGNE:    Correct.    One possibility is they were

10     fabricated, all these e-mails.

11               This is not something that we can rule out or say

12     definitively.    These are just possibilities that FTI said as to

13     why they could not find the natives.

14               Possibility number two is that it's entirely possible

15     that these e-mails reside in a cloud or an external device such

16     that when plaintiff sent them from the two active accounts it

17     would appear as a forward.      So, in other words, if they were

18     stored in an alternate device, that was a possibility that FTI

19     said.    And that's one that we noted in our letter.

20               And the third possibility is that these e-mails truly

21     were forwarded from like a trendsetter account or another

22     account to one of plaintiff's active accounts and then from

23     there forwarded on to Mr. Landau.

24               Now the reason why that doesn't make sense --

25               THE COURT:    Wait.   One moment, please.     I thought that


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 1     that particular possibility as proposed by Mr. Hammerquist was

 2     that upon being forwarded they were deleted from the original

 3     account.

 4                MR. LaVIGNE:   That's one of the reasons why we submit

 5     that possibility does not make sense.        Because the natives

 6     aren't there.

 7                The natives aren't there so if they were forwarded to

 8     one of the two active accounts from the trendsetter account,

 9     for example, there is no evidence of that underlying forward,

10     nor is there evidence in the two active accounts of those

11     e-mails in original form.

12                THE COURT:   Well, we'll get to Mr. Landau's concerns

13     in a moment because I know you've read them.

14                I guess I want to understand the second -- well, which

15     you've now presented as the third, the idea of forwarding.

16                According to Mr. Hammerquist, because I wasn't on the

17     call, is the idea that Mr. Carrington forwarded the e-mails and

18     necessarily volitionally deleted them or is there some universe

19     in which merely by forwarding them they would have been

20     deleted?

21                MR. LaVIGNE:   Certainly not the latter.      Certainly not

22     the latter.    And FTI and Mr. Hammerquist can't speak to exactly

23     what happened.    These are just three possibilities.

24                One of the reasons, we submit, that later possibility

25     should be ruled out is because you have e-mails that are


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 1     forwarded from plaintiff's two active accounts but you don't

 2     have the e-mail coming in that sends that underlying e-mail.

 3               So one would have to forward an e-mail into the two

 4     existing accounts, then delete that e-mail, and then forward it

 5     to Mr. Landau.

 6               Is it possible?     It's possible.

 7               THE COURT:    It's possible.

 8               MR. LaVIGNE:    It's possible.

 9               So we outlined those three possibilities and asked for

10     the devices because to the extent there was an external device

11     all plaintiff has to do, and all we've been asking is to give

12     us the device, consistent with the Court's order on August 7 as

13     amended on August 24.

14               THE COURT:    But we've now both been advised that these

15     devices are not in his possession.

16               MR. LaVIGNE:    We've now both been advised.

17               And as of last night the answer, after the six-week

18     odyssey, is there was a hack and that's the reason.

19               THE COURT:    I'm getting to the hack in a moment.       I'm

20     back at the devices.

21               Do you accept the explanation provided by Mr. Landau

22     that he can't give you the devices because his client no longer

23     has them?

24               MR. LaVIGNE:    Judge, I can't sit here and say that I

25     have a good faith basis that he -- that there's a


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 1     misrepresentation going on.

 2               I finally -- candidly I find it suspect that over the

 3     last five to six years the only devices that were referenced in

 4     plaintiff's letter are iPhones which notoriously are very

 5     difficult to mirror image.       There's not one reference to a

 6     computer on there.

 7               THE COURT:    I thought one of the devices was a

 8     BlackBerry.

 9               MR. LaVIGNE:    BlackBerry, fine.     Not an actual

10     computer.

11               But I don't have a basis, I can't come in and say I

12     have evidence that that is a misrepresentation.

13               THE COURT:    Let me ask the question a little bit

14     differently, please.

15               At any point before last night were you or any of the

16     defense attorneys advised that these devices were no longer in

17     Mr. Carrington's possession?

18               MR. LaVIGNE:    No.

19               THE COURT:    I'll ask the follow-up question.

20               I issued the order some six, seven weeks ago, correct?

21               MR. LaVIGNE:    Correct.    August 7.

22               THE COURT:    When was the -- were there discussions

23     about turning over the devices for review at any time prior to

24     last night?

25               MR. LaVIGNE:    Yes.   There were discussions on I


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 1     believe it was August 28 where we had -- I can look at my

 2     calendar for the exact day.      There were two discussions.        One

 3     was on August, I believe, 28 and at that moment in time we had

 4     not received a list of devices from the Landaus.          We asked for

 5     it.   We were told that they thought they had already supplied

 6     it.   We said they had not.     They said all right they'll look

 7     into it.

 8                And then on September 6, which was last week, we had a

 9     follow-up discussion with Zach Landau.        And we asked Zach

10     Landau again:    We need these devices, any devices defined in

11     the order that was used to send an at-issue communication or

12     forward it to counsel, we need to have a list of those.

13                And Zach Landau said the same thing as Mr. Landau,

14     which is we thought we gave that to you; if we didn't give it

15     to you, we'll give it to you tomorrow.        We did not get it.

16                Eleven days has passed by.      We never got this.

17                I can say, in compliance with the Court order, I think

18     the deadline was August 24, myself, counsel for Viacom,

19     Mr. Hwang, counsel for Brad Grey and the estate, we advised

20     plaintiff that we did not have any at-issue communications in

21     our possession nor any devices.       Counsel for Graden did send

22     over native communications via e-mail to Mr. Landau, consistent

23     with the court order, and identified the one device in his

24     possession that was used to transmit or otherwise fall within

25     the parameters of the order.


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 1                So last night hearing about this iPhone was the first

 2     time we had heard about it.

 3                THE COURT:   Mr. Hwang, did you want to add something

 4     to that?

 5                MR. HWANG:   I can clarify the timeline.

 6                THE COURT:   Please.

 7                MR. HWANG:   The deadline to identify the devices was

 8     August 24.    On that day all three of the defense counsel

 9     advised, again Mr. Graden advised -- disclosed the identity of

10     the device he used to transmit the at-issue communications and

11     Viacom --

12                THE COURT:   Sir, I'm going to ask you to speak slower

13     and louder.    For some reason you're coming in very faintly.

14     Thank you.

15                MR. HWANG:   I apologize, your Honor.

16                THE COURT:   That's OK.    Go ahead.

17                MR. HWANG:   In essence, your Honor, on August 24 that

18     was the deadline to identify all of the devices as that term

19     was defined in the order.      All three sets of defense counsel

20     complied with that obligation on August 24.         We asked,

21     concomitant with our disclosure to the Landaus, that they

22     provide that information to us that day.        That request wasn't

23     complied with.    The deadline to actually produce the devices

24     was August 28.

25                We had e-mail communications on August 24.        We had


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 1     called on August 30, during which one of the Landaus advised

 2     that they thought they already provided the identity devices to

 3     us, which they hadn't, and that they would do it the next day.

 4               On September 6 we had another call.        We reminded them

 5     that that obligation hadn't been satisfied.         Again, they told

 6     us they would provide that information the next day.          And,

 7     again, we didn't get any of that information.         And the letter

 8     submitted last night was the first time we've heard that there

 9     is an iPhone that constitutes one of these devices that was

10     required to be mirror imaged weeks ago.        And it's the first

11     time they disclosed to us that all of these other devices that

12     were used to transmit the at-issue communications no longer

13     exist.

14               THE COURT:    Mr. LaVigne, I'm returning to you, please.

15               Mr. Hammerquist gave his alternatives, his theories as

16     to how this might have happened on the 6th of September; is

17     that correct?

18               MR. LaVIGNE:    That's correct, Judge.

19               THE COURT:    Between the 6th of September and

20     yesterday what did you and other defense counsel do to try and

21     figure out which one of these theories was the one that might

22     actually explain what was going on?

23               MR. LaVIGNE:    Well what we did was we looked at the

24     report.   We reviewed it.     It was a neutral e-discovery vendor.

25     So to the extent we're going to have discussions with the


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 1     vendor the Landaus participate.       We did have one discussion

 2     with the vendor where these three possibilities were

 3     hypothesized.    And the consensus, at least on our end, was

 4     obviously fabrication is one possibility.

 5               THE COURT:    Is one possibility, yes.

 6               MR. LaVIGNE:    And I'm not jumping to conclusions,

 7     Judge.    I'll summarize at the end my view on this.

 8               The external devices is another possibility.          To the

 9     extent these were stored in an external device we're entitled

10     to that under the order, which is why we had the call on

11     September 6 to see that and to actually test it, and we never

12     got a response.

13               THE COURT:    Let me understand what that means.          Does

14     that mean if somewhere there's a thumb drive where all these

15     exist or if it is in iCloud storage --

16               MR. LaVIGNE:    Both.

17               Let me emphasize.     This is an oral presentation that

18     FTI gave to both counsel for the plaintiff and myself.              And

19     Mr. Landau is right it's not in his report.         But I think we're

20     both in agreement on those three possibilities.

21               And the second one was these deleted e-mails.

22               Now the consensus we have -- and, Judge, what I feel

23     very strongly about -- is we're asking for these four

24     additional methods of discovery in order to get the answers to

25     that.    Because one of the difficulties we have here is, again,


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 1     at the eleventh hour we found out that the core -- one of the

 2     three accounts, which I submit is really the core account from

 3     my client's perspective, doesn't exist.        It's deactivated.      And

 4     that's been known -- that's been known since the inception of

 5     this case, apparently.

 6               We have no mechanism of having FTI or any other vendor

 7     get in there and look for the native communications.          So that's

 8     a gap.

 9               So what we want to do -- and, again, to get to the

10     truth and to find out if this is a red herring or not, and this

11     is a straightforward issue:      Do these e-mails exist?      Get a

12     subpoena to Google for the subscriber info and everything else.

13               THE COURT:    And it sounds like Mr. Landau is in

14     complete agreement with you on that.

15               MR. LaVIGNE:    He does not disagree with me based on

16     his last letter.

17               THE COURT:    So that's the easy one.      No one is

18     disagreeing.

19               MR. LaVIGNE:    That's the easy one.

20               And the second point is to direct Mr. Carrington, the

21     plaintiff, who has put these e-mails at issue, to sign a

22     consent so that if this account does exist Google will have the

23     necessary authorization so that they can go, get the content

24     and then send it to FTI.      We're happy to have this go to the

25     neutral e-discovery vendor and we're happy to use the exact


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 1     same protocols as we have in the past.        And then FTI can look

 2     for this.

 3               Because right now we have a situation, and I was

 4     talking about those three possibilities, Judge, and I'll get to

 5     this now, plaintiff took issue with my words that the logical

 6     inference is that these were fabricated.        And I stand by that.

 7     I stand by that yesterday.      I stand by that today.      I'm not

 8     saying it's a finding.     I'm not saying it's a conclusion.        I'm

 9     saying it's a logical inference because they can't identify the

10     e-mails, they can't access the key account, and they can't

11     explain it.    They can't explain it.      Basic things like this

12     trendsetter account, why was it deactivated.         And some of the

13     most important -- the core issue in this case, contemporaneous

14     communications that corroborate allegations that are explosive,

15     candidly and to be blunt, those are attached to the complaint

16     but they were never preserved.       And I alluded to the hack

17     before because the explanation now was there was a hack.            Well

18     that hack apparently occurred on May 24.

19               THE COURT:    The day the complaint was filed.

20               MR. LaVIGNE:    No.

21               THE COURT:    Within a day.

22               MR. LaVIGNE:    Three days after the complaint was

23     filed, Judge, but three days after -- in state court, your

24     Honor.

25               THE COURT:    Oh, in state court.     I see.


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 1               MR. LaVIGNE:    In state court it was filed May 2.

 2               THE COURT:    That's right.    OK.   It came to me on the

 3     24th of May.

 4               MR. LaVIGNE:    That's right, Judge.      But if you take

 5     the sequence and the undisputed facts and you accept that there

 6     was a hack, that hack, plaintiff says occurred presumably by

 7     Brian Graden, since he apparently had these credentials.            That

 8     took place three days after Graden's counsel, Graden's counsel

 9     sent a preservation request.      So there is this ghost out there

10     who is sophisticated, clever and cunning enough to go in and

11     delete e-mails to support a case, why would somebody do that

12     after a preservation request was sent?

13               Not only that but when they went in there and were

14     smart enough to delete all these natives, why would they not

15     delete e-mails that were forwarded to counsel?         In addition,

16     why would they not delete the one e-mail where there is no

17     dispute about authentication?       Candidly, it doesn't add up, I

18     submit.

19               In addition that hack only happened on one of the

20     three accounts, the roviercarrington@gmail which was in May.

21     If you take what plaintiff's expert said at face value, and I'm

22     purely arguing the inferences, undisputed facts, then in

23     mid-August you have to accept the fact that this expert went

24     in, tried to find some additional e-mails, found some purged

25     items, and that was deleted.      That was deleted.


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 1               THE COURT:    I want to understand.      Was the gentleman

 2     from FTI not looking for purged e-mails?

 3               I'm a little bit confused -- let me finish, please.

 4               I want to be sure I'm understanding because I'm

 5     reading Mr. Landau's submission and the report that goes with

 6     it to suggest that his forensic person was able to find certain

 7     things in purged e-mails.      I want to understand what they are

 8     and whether the gentlemen or people from FTI were looking for

 9     those things as well.

10               MR. LaVIGNE:    My understanding with FTI is, yes, they

11     were looking for purged e-mails.

12               My understanding also is that Mr. Landau's expert --

13     and this is one of the real issues we have with this disclosure

14     we read last night -- went into plaintiff's account, one of the

15     three accounts, thecarringtondiaries, and apparently never made

16     a mirror image or did anything else but went in and, for lack

17     of a better word, started sleuthing around trying to do all

18     this type of work, identified some e-mails that were purged.

19     And then if you take that report at face value, those findings,

20     that audit trail -- and the record is not entirely clear on

21     this, frankly -- was deleted before FTI was given access.           So

22     by the time FTI was given access to that account, plaintiff's

23     expert had already gone in there, had already apparently found

24     some items that were purged and all that stuff, if you accept

25     this proposition, was deleted.


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 1                I have no reason to dispute that something was

 2     deleted.    The idea that some third-party actor did that and

 3     that's why they can't identify, they can't access, they can't

 4     explain, to me is highly suspect.

 5                THE COURT:   I want to make sure I understand this.

 6                I received your letter before I received Mr. Landau's

 7     letter.    You are telling me that the progressive review of the

 8     account took place immediately prior to FTI's review?

 9                MR. LaVIGNE:   That's correct, Judge.

10                THE COURT:   So FTI would not be able to replicate what

11     this individual -- I guess it's PTG was able to do because the

12     deletion -- the purged e-mails had already been deleted.

13                I'm trying to figure -- I'll save that for Mr. Landau

14     because I'm trying to figure out whether what is lost here was

15     the fact of that search or the results of it.         If somewhere

16     there is a purged e-mail account that used to exist but now

17     doesn't, I'd like to understand that.

18                MR. LaVIGNE:   Certainly not an entire -- as I

19     understand it, an entire account has not been purged.

20                THE COURT:   OK.

21                MR. LaVIGNE:   We have three accounts.      The trendsetter

22     account, which, again, has some of the most explosive e-mails.

23     According to plaintiff, the reason why no e-mails are able to

24     be found, identified, or located is because that account was

25     deactivated.


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 1               THE COURT:    But did you say in your letter that there

 2     were communications from the trendsetter account more recently

 3     than would have been suggested by the date of its closure?

 4               MR. LaVIGNE:    No, your Honor.

 5               THE COURT:    When was the last account -- when was the

 6     last time someone got something from the trendsetter account?

 7               MR. LaVIGNE:    I believe the last e-mail from the

 8     trendsetter account is 2014 or 2015.        I think it's Exhibit 7.

 9               MR. HWANG:    Your Honor, there were forwards, just to

10     clarify, from Mr. Carrington's Microsoft account of e-mails

11     that resided in the trendsetter account to the Landaus as

12     recently as May 6 and May 7 after the filing of this action.

13               MR. LaVIGNE:    But those are forwards, Judge.        The last

14     time we have any evidence of the trendsetter being used

15     contemporaneously by the plaintiff was around 2014 and 2015.

16               THE COURT:    You and I are talking past each other.

17     I'm trying to figure out when the trendsetter account was

18     deactivated.    Mr. Hwang's answer to me suggests that

19     Mr. Carrington was able, in or about May of 2018, to access the

20     account in order to forward these e-mails to his attorney.

21     However, it may be, because I don't know, that these e-mails

22     were saved long, long ago and only more recently were

23     forwarded.   But Mr. Hwang is understanding what I'm trying to

24     say which is that the trendsetter account was invoked at least

25     in May of 20818.


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 1               MR. HWANG:    Your Honor, I have a couple examples that

 2     were produced to us by FTI that I think it would be helpful for

 3     your Honor to see for context.       And I'm happy to provide to

 4     plaintiff's counsel a set as well.

 5               THE COURT:    Yes.   Mr. Lopez, would you please get

 6     those e-mails.

 7               THE DEPUTY CLERK:     Yes, your Honor.

 8               MR. HWANG:    Your Honor, if I could just clarify one

 9     thing as far as the three scenarios that FTI posited to us.

10               THE COURT:    Yes.

11               MR. HWANG:    One scenario was did they reside on an

12     actual device or in the cloud as of the time these e-mails were

13     forwarded to the Landaus, then they would still exist and could

14     have been forwarded.

15               The second scenario as far as the forwards go was a

16     little more convoluted, that they were forwarded from one of

17     Mr. Carrington's account to another one of his accounts and

18     then forwarded to the Landaus.       But what FTI made clear, as

19     anybody who uses e-mail knows, is that when an e-mail is

20     forwarded -- if I e-mail -- if I forward an e-mail to

21     Mr. LaVigne, and then forwards it to Ms. Schacter, that second

22     forward will show my forward to Mr. LaVigne.         So there should

23     be an intermittent header below the top header showing that

24     initial forward.

25               THE COURT:    Yes.   Although to be -- just to give an


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 1     example.    I have in my lifetime deleted that intermediate

 2     forward as for example if I am -- if something is coming into

 3     my chambers inbox and I am responding to a particular judge,

 4     I'll take out that intermediate part where a clerk sent to me

 5     because that's not pertinent to the judge.         So you can delete

 6     it.   I can at least think of a world where it can be deleted.

 7                All right.   There is nothing in these e-mails to

 8     suggest when they were first -- or whether Mr. Carrington had

 9     downloaded them into some other format and then forwarded them

10     or whether he was, in fact, accessing the trendsetter account

11     in May of 2018.

12                MR. HWANG:   Well, you can rule out the possibility

13     that they reside somewhere locally because to the extent they

14     existed on some thumb drive or other device as of May 6 or

15     May 7, 2018 that device should have been preserved and

16     disclosed to us.    That was following the commencement of this

17     litigation.

18                Facially these e-mails, what's odd about them is they

19     are trendsetter e-mails exchanged with Reno Logan or some other

20     third party that were forwarded from Mr. Carrington's Microsoft

21     account, rovier@thecarringtondiaries.com, to the Landaus.            But

22     there is no intermittent forward.

23                And your Honor is absolutely correct.       That could have

24     been deleted.    But why in this scenario would you delete that?

25     That would show exactly when they were forwarded.          And did


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 1     Mr. Carrington forward these years ago before the trendsetter

 2     account was deactivated to his carringtondiaries account?

 3     That's possible.    But that initial forward was located nowhere

 4     in the Microsoft account itself.       They should be there because

 5     they were forwarded then the Landaus as of a couple of months

 6     ago.

 7               What the first e-mails from their report show are --

 8     the only e-mail they reference in that report is a February 11,

 9     2018 forward purportedly from the roviercarrington account to

10     thecarringtondiaries account.       But that itself was a forward of

11     the initial forward from the trendsetter account.          But none of

12     those original forwards exist anywhere.        Nor do the original

13     at-issue communications.

14               So all we have are forwards, upon forwards, upon

15     forwards in almost every instance.       The only plausible

16     scenario, the best case for them, is that there were two

17     forwards.   There is no evidence of the first forward.          There's

18     only evidence of the forward to their counsel.         And that's all

19     that's been purged.

20               So their report, your Honor, it's very confusing.           But

21     once you actually distill the essence of it, clear through the

22     smoke and mirrors, they reference one single e-mail that's a

23     forward of a forward that was supposed to be purged.          So we

24     would submit that that's not really relevant to what we're

25     dealing with here.     All we have, again, are compounded forwards


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 1     that, as anyone knows, are easily manipulated.

 2               THE COURT:    Thank you, sir.

 3               MR. LaVIGNE:    Judge, if I may just follow-up on that.

 4     That's right.    We do not have, and I can't sit here and tell

 5     the Court that I have evidence of when that trendsetter account

 6     was used to forward an e-mail to the roviercarrington@gmail or

 7     thecarringtondiaries.     As Mr. Hwang said, it's forwards to

 8     forwards to forwards and we just don't know.

 9               So to answer your Honor's question, May 2018 is the

10     last time we see forwards to the Landaus.         We can't say

11     May 2018 actually came from the trendsetter account onward.

12               THE COURT:    I want to talk about your remedies but I

13     also want to go back to the very disturbing allegation that

14     there's someone hacking into Mr. Carrington's accounts.

15               When is the first time that any of the defense

16     attorneys were made aware of the -- of this issue, of the

17     possibility that Mr. Carrington's accounts had been hacked?

18               MR. LaVIGNE:    When I got the this letter, Judge.        And

19     that's one of my real issues, candidly, with this.          Because if

20     you take this at face value, they were known of a purported

21     hack in May 2018.     Granted, that's based on an automatic

22     notification that Google sent about another device.

23               If you take that as true, that took place three days

24     after they got a preservation request.        And not once during

25     this whole rigmarole, for lack of a better word, the challenges


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 1     over discovery and challenges about authentication and going

 2     through the -- having an e-discovery vendor.         We found out

 3     about it yesterday when we got the letter.

 4               And in addition --

 5               THE COURT:    Am I understanding -- and I I'll talk to

 6     Mr. Landau momentarily -- that there are two hacks.

 7               MR. LaVIGNE:    Two.   On two different accounts.         So the

 8     May 2018 they claim -- plaintiff's counsel claims was a

 9     potential hack supposedly committed by Brian Graden associated

10     with the roviercarrington@gmail account.

11               THE COURT:    To be clear what they have is the same

12     thing I get when I sign up at a computer that is not my own.

13               MR. LaVIGNE:    Correct.

14               THE COURT:    There is no way yet to figure out where it

15     came from.

16               MR. LaVIGNE:    Correct.

17               THE COURT:    And you're not adverse, none of the

18     defense counsel are adverse to a subpoena to Google that might

19     identify the IP address.

20               MR. LaVIGNE:    Not at all, Judge.      We welcome that.

21               The second hack was on thecarringtondiaries account.

22     That supposedly took place in August.        And the basis for that

23     is that apparently somebody went into that account and

24     basically deleted some work product that plaintiff's counsel's

25     expert did.


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 1               THE COURT:    But there is no comparable or at least

 2     I've not been given a comparable notice from Google letting me

 3     know about a sign-in from some other account.

 4               MR. LaVIGNE:    Nor have we, Judge.      Nor have we.

 5               THE COURT:    Let me understand, before I turn to

 6     others, the remedies that you seek.

 7               The first one you sought was a disclosure of the

 8     devices but now it's been represented that most of the devices

 9     are no longer in Mr. Carrington's possession.

10               MR. LaVIGNE:    That's true, Judge.

11               But they also represented that an iPhone 10 was used

12     to forward e-mail communications to the Landaus.          So consistent

13     with the order from August 7 and as amended on August 24, we

14     want FTI to be permitted to make a mirror image of that device.

15     We also want --

16               THE COURT:    One moment, sir.     Have I not ordered this

17     to happen already?

18               MR. LaVIGNE:    Yes, Judge, but it hasn't.       And that's

19     one of the reasons why I wrote my letter.         Because it's three

20     weeks after the fact and it took us writing a letter to the

21     Court to get this information.

22               THE COURT:    Please continue.

23               MR. LaVIGNE:    Related to that --

24               THE COURT:    You're also seeking the plaintiff's

25     deposition.    I'm not sure on what basis I'm giving you that.


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 1                MR. LaVIGNE:   Judge, on the basis that we need to have

 2     the plaintiff under oath and answer questions about

 3     authentication.

 4                Right now the explanation as to why these three

 5     experts and plaintiff can't identify, can't access, can't

 6     explain is because there was a hack.        And we need to know when

 7     this trendsetter account was set up, what the various ways were

 8     that these accounts, e-mails were forwarded from trendsetter

 9     accounts to others.     This goes to the heart of authentication.

10     And at the end of the day, getting an affidavit on paper which

11     simply says these are authentic does not do justice to this

12     issue.

13                There is a real concern here that there's been a fraud

14     on the court.    And we spent a lot of time and a lot of money

15     trying to get a simple answer which is:        Just send me the

16     original e-mail.

17                And, like I said, I submit it's been a six-week

18     odyssey.    And there's been obfuscation going on and delays

19     complying with the Court's order.       It's time to have the

20     plaintiff testify under oath on that limited issue.

21                Nobody wants to have this devolve into a mini-trial on

22     the merits.    This is a narrow issue and we've been as cabin as

23     we can, as cabin as we can.

24                And I submit once we get the process back, if your

25     Honor orders it from Google, for the Rule 45 subpoena and the


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 1     content of the account, then plaintiff is going to have to

 2     answer and explain how these e-mails that he appended to his

 3     complaint and put in public and cast a lot of aspersions on

 4     different people, and now the two experts can't find them, and

 5     plaintiff can't find them and says there's a hack, the logical

 6     inference is there was a fabrication.        And I'm not saying it's

 7     the conclusion but to get to that conclusion we have to have

 8     plaintiff under oath and testify about it.         And it will be

 9     limited deposition.

10               THE COURT:    I think I should direct to Mr. Graden's

11     counsel some questions I are have about Mr. Graden because I

12     believe plaintiff is asking as well for reciprocal discovery

13     from Mr. Graden.    Do you agree it is better that I direct that

14     to Mr. Graden's counsel?

15               MR. LaVIGNE:    For Mr. Graden, yes, Judge.

16               THE COURT:    Let me do that in a moment.

17               But I want to game this out with you for a moment.

18               How am I ever able going to be able to figure out what

19     happened here?

20               In a perfect world Google will give you IP addresses

21     and information that will allow us to figure out who accessed

22     what and we either will or will not be able to rule out

23     Mr. Graden or anyone else as the putative hacker.

24               Because what I don't relish is the prospect that a

25     couple of months from now we will be sitting here with these


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 1     same three alternatives and no way of knowing which is which.

 2               MR. LaVIGNE:    We have a way, Judge.      We have a way.

 3               And the way is, number one, we start with the basics.

 4     If that account exists, if that account exists, Google knows

 5     about it.   We get a subpoena to them.       We find out what the

 6     dates were, who the subscriber was, what the IP addresses were,

 7     and Mr. Carrington provides the necessary consent, Google can

 8     look for it and tell us if there's content.         There either is or

 9     there isn't.    If there is, and if those e-mails are gone,

10     that's telling.    That's very, very telling.

11               As part of this, and this is not going to boil down to

12     a credibility issue, this is a ground truth issue.          The e-mails

13     either existed or they did not.

14               The plaintiff, Mr. Carrington, has to be put under

15     oath and to explain how exactly it was that this account was

16     set up, why these were forwarded on, when he did it, all of

17     those specifics are things that can be corroborated by Google

18     or another internet service provider.

19               And at the end of the day, your Honor, I think the

20     truth is going to come out.      I think the truth is going to come

21     out.

22               Because we've been dancing around this for seven or

23     eight weeks, and it's not that hard.        It's not that hard.     If

24     these were important enough to be appended to an amended

25     complaint, how is it that nobody can show us what they are?


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 1               And I don't want to be standing before your Honor two

 2     months from now making these same arguments.         I'm confident I

 3     won't have to because if plaintiff is put under oath, which he

 4     should have to be after making these accusations and after

 5     submitting that we should have a neutral e-discovery vendor and

 6     all this stuff when the e-mails supposedly were hacked and

 7     deleted and we find out about it at the eleventh hour, I think

 8     that deposition is going to be very telling.         And I think we

 9     can test those answers with the information we get from Google

10     and other internet service providers.

11               THE COURT:    Thank you.    Let me speak, please, with

12     Mr. Graden's counsel.

13               Ms. Sanders, is that correct?

14               MS. SANDERS:    Yes.

15               THE COURT:    Ms. Sanders, you've seen last evening's

16     submission from Mr. Carrington's counsel; is that correct?

17               MS. SANDERS:    Yes.   That's correct.

18               THE COURT:    I'd like to -- I'd like you to respond to

19     what's in there because I want -- I'm saving Mr. Landau for

20     third because there are so many things we want to discuss and a

21     hack is such a -- I think I don't even want to contemplate, but

22     it's been suggested that your client had access to these

23     accounts; is that correct?

24               MS. SANDERS:    That is what has been suggested and it's

25     an explosive accusation and we were just as surprised as I


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 1     guess everybody else in this room about that.

 2                THE COURT:   It may be that you haven't had enough time

 3     and I'm not here -- let's be clear.        I'm saying this to all

 4     counsel.    I don't want to intrude on privileged communications.

 5     I do not.

 6                But have you had occasion to speak with your client

 7     about the contention that it was your client who had access?

 8                MS. SANDERS:   I have had that opportunity to speak

 9     with my client.    And he's advised that he has not had access to

10     any of these accounts and has not used any methods to access

11     any of these accounts at any time.

12                THE COURT:   I'll ask the question more pointedly.

13                At any time ever did your client have the ability to

14     access one of Mr. Carrington's e-mail accounts?

15                MS. SANDERS:   No.

16                THE COURT:   Never?   He never had the password?

17     Because I can figure out -- let's just -- let's just use my

18     husband, for example.     I can figure out his e-mail account.      I

19     don't know his password.      So I can figure out what an e-mail

20     account is but not necessarily be able to access it.

21                Your client would know just from looking at e-mails

22     what certain of the Gmail accounts that Mr. Carrington

23     possessed or used were.      But you're saying to me, as an officer

24     of the court, that he never, not ever, was given or otherwise

25     obtained the information that would permit him to access any of


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 1     Mr. Carrington's e-mail accounts?

 2               MS. SANDERS:    Yes.   Based on my communications with my

 3     client yesterday evening, I have been advised that he has never

 4     accessed the account.     He doesn't believe he was ever provided

 5     any access information.

 6               I'm sure we can go back to all of these accounts and

 7     check to see if there has ever been any e-mail communication or

 8     text message where such information has been provided.              But he

 9     has unequivocally stated to me that he never used any access

10     information of any kind whatsoever to access any of

11     Mr. Carrington's accounts.

12               THE COURT:    And by extension that he did not access

13     them on or about the 24th of May?

14               MS. SANDERS:    That is correct.

15               THE COURT:    And that he did not access them in August?

16               MS. SANDERS:    That is correct.

17               THE COURT:    And he knows now not to access them?

18               I suppose you'll tell me he can't because he doesn't

19     have the password information.

20               MS. SANDERS:    Exactly.

21               THE COURT:    Is your client -- what is your reaction or

22     your client's reaction to the request for reciprocal discovery

23     from your client?

24               MS. SANDERS:    So we understand the optics and the

25     desire for reciprocity and that's why we've been so open during


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 1     this entire process.     We have supplied all of the natives in

 2     his possession, custody and control that even allude to any of

 3     the at-issue communications.      We have done our due diligence to

 4     get in contact with various witnesses who have supplied

 5     declarations.    We have retained experts and forensic

 6     professionals to do all of these things.

 7               So, we believe we've done our due diligence.          And

 8     there has been nothing that Mr. Graden has submitted to the

 9     Court that has been questioned.       The authenticity of the native

10     e-mails that he submitted on August 24 was not even referenced

11     in plaintiff's submission.      So there is no reason to believe

12     that what he has done should be questioned.

13               So we would just submit that there is nothing to

14     warrant any additional discovery of Mr. Graden's devices.

15               We've also identified his device that he's used and

16     are ready, willing and able to supply that device.

17               But additional discovery whether it's a subpoena or

18     whether it's a deposition, I'm not sure I quite understand what

19     more that can show.

20               THE COURT:    All right.    Thank you.

21               Mr. Landau, I appreciate very much your patience.           I

22     candidly don't even know where to begin because there are so

23     many things you and I should be covering.

24               But I guess I'd like to understand, and with the same

25     proviso I said earlier about not wanting to intrude on


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 1     attorney-client communications, why is it that defense counsel

 2     were only made aware yesterday that your client was not in

 3     possession of a number of the devices at issue and is it --

 4     first of all, is it correct that they were not told until your

 5     letter of last evening?

 6               MR. LANDAU:    Your Honor, we had a conversation on I

 7     believe August 16 at which point I did indicate that the

 8     trendrovheir account was deactivated prior to our involvement

 9     in this case representing Mr. Carrington in any capacity

10     whatsoever.

11               THE COURT:    Tell me please, sir, when to the best of

12     your client's understanding was that account deactivated.

13               MR. LANDAU:    To my recollection, it was around 2014 or

14     '15, within that timeframe.

15               THE COURT:    How did he have the documents that he sent

16     to you in 2018?    Did he download them for some reason?

17               MR. LANDAU:    From what I understand he forwarded from

18     the trendrovheir account to either the roviercarrington@gmail

19     account or thecarringtondiaries account.

20               THE COURT:    So it's not as though he's printed them

21     out and kept them in a folder somewhere.        Before he deactivated

22     the trendsetter account, he forwarded these e-mails?

23               MR. LANDAU:    Yes, your Honor.

24               THE COURT:    And you knew that all along?

25               MR. LANDAU:    We knew that we were the recipient of


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 1     forwarded e-mails.

 2               THE COURT:    I asked the wrong question.

 3               In -- right after I issued my order you were aware

 4     that the trendsetter account had been closed?

 5               MR. LANDAU:    Yes, your Honor.     And we advised

 6     accordingly.

 7               THE COURT:    And you were also aware that any -- these

 8     other e-mails had been forwarded from the trendsetter account

 9     to one of two other accounts?

10               MR. LANDAU:    Yes, your Honor.     And we supplied all

11     three of the accounts, to our knowledge, the trendsetterrovheir

12     account we indicated was deactivated, the two other accounts

13     that were the recipient of the e-mails from the

14     trendsetterrovheir.

15               THE COURT:    When did you first come to understand that

16     your client had been hacked, his e-mail accounts had been

17     hacked?

18               MR. LANDAU:    I'm not certain the exact date, your

19     Honor, but we were made aware.       He did forward that

20     notification to us.     It was prior to the Court's order.

21               THE COURT:    It was prior to the Court's order?

22               MR. LANDAU:    It was prior to the Court's order.

23               THE COURT:    Was it prior to the conference where I

24     issued the order?

25               MR. LANDAU:    I need to doublecheck on that.


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 1               THE COURT:    Am I correct, sir, that at that conference

 2     you never once mentioned your client's concerns that his

 3     e-mails had been compromised, his e-mail accounts had been

 4     compromised?

 5               I'm confident you didn't.

 6               MR. LANDAU:    I don't believe so.

 7               THE COURT:    Don't you think that's something we all

 8     should have known?

 9               Let me step backwards a moment, please.         We're trying

10     to figure out the bona fides of these e-mails.         If you had

11     reason to believe that we would never get to that point or that

12     we would be impaired in getting to that point because your

13     client's e-mail system had been hacked, why didn't you tell us

14     back then?

15               MR. LANDAU:    Your Honor, at that point in time we were

16     still figuring out what exactly was required from a discovery

17     standpoint.

18               THE COURT:    That's not a helpful answer to me.

19               Let me -- did you tell defense counsel at any time

20     prior to last evening or last -- yesterday afternoon that your

21     client believed his accounts had been hacked?

22               MR. LANDAU:    Yes.   We made them aware as well as FTI

23     was aware of it as well.

24               THE COURT:    You've told them in the conference --

25     there are multiple conferences that are being discussed.


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 1     You've actually said to them in these, what I'll call meet and

 2     confers pursuant to my order, when they were asking for devices

 3     and asking for other information, you said, in words or

 4     substance, By the way, my client has had -- someone hacked into

 5     his account?    You told them about -- you told them about the

 6     May hack?

 7               MR. LANDAU:    We didn't issue the fact that whether or

 8     not it was hacked because I did not want to draw that

 9     conclusion.

10               But the account was accessed on May 24 by an

11     unauthorized user.     Subsequent to that --

12               THE COURT:    Sir, please answer the question that I am

13     asking.

14               Did you tell any of the defense counsel prior to

15     yesterday's letter that your client had had an unauthorized

16     access of his e-mail accounts in May of 2018?

17               MR. LANDAU:    I believe we did, your Honor.

18               THE COURT:    You believe you did?

19               MR. LANDAU:    Yes.

20               THE COURT:    And you told them in words or in writing?

21               MR. LANDAU:    In words.

22               THE COURT:    And when did you tell them, if at all, or

23     did you tell them prior to yesterday's letter that your

24     client's account had been accessed a second time in August?

25               MR. LANDAU:    I don't know about that, your Honor.


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 1               But from what I understand with respect to the -- our

 2     expert's report, PTG's report, they were able to preserve

 3     everything so that shouldn't have made any technological

 4     difference for FTI's evaluation.

 5               THE COURT:    But that's what confuses me so, and I

 6     really do need your help in understanding how the two forensic

 7     organizations can work together.

 8               Again, don't give me privileged communications that I

 9     don't want to know.     But your client, in the early stages of

10     this case, said to you in words or substance:         I'm concerned I

11     may have been hacked?

12               MR. LANDAU:    Yes, your Honor.

13               THE COURT:    And he said:    I'm concerned I may have

14     been hacked by Brian Graden?      Or did he not --

15               MR. LANDAU:    That was one of -- yeah.      That was one.

16               THE COURT:    Well it wasn't Brad Grey?

17               MR. LANDAU:    Without, without --

18               THE COURT:    Yes.   Without.

19               MR. LANDAU:    Yes, your Honor.

20               THE COURT:    And all right.     I wish -- no, let me just

21     finish.

22               I wish you had said something to me, because I sent

23     people off on a seven-week frolic and detour that may

24     ultimately never get to the answer that we want because you

25     didn't tell me way back when that your client believed his


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 1     account was compromised at the outset.        And I can't understand

 2     why you didn't think that was something that we'd want to know.

 3     And you still can't explain it.       So let's understand what did

 4     happen.

 5                So PTG reviewed your client's e-mail accounts before

 6     FTI did?

 7                MR. LANDAU:    Yes, your Honor.

 8                THE COURT:    And did the other side know that they were

 9     going to do that preliminary review.

10                MR. LANDAU:    I advised the other side that we did have

11     an expert that was working on it.

12                THE COURT:    And so PTG, of course, wanted to look --

13     maybe get a sense of what FTI might encounter in their review?

14                MR. LANDAU:    However the experts do their e-discovery.

15                THE COURT:    May I understand why you felt PTG had to

16     do a review separate and apart from FTI before FTI got to it?

17                MR. LANDAU:    Your Honor, based upon the activity in

18     this case and based upon the manner in which our client's

19     correspondence were deleted by some unauthorized third party,

20     we wanted to get a better sense as to what was going on as

21     well.    And as a result of that we had a very qualified expert

22     go ahead and analyze the accounts to the extent that they

23     could.    And their analysis was such that we provided to the

24     Court.

25                THE COURT:    But I guess I still don't understand why.


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 1     I know that you and your client were disappointed that I

 2     permitted FTI to be retained as the forensic provider in this

 3     case because you believed that there might be some conflict,

 4     which there was none.

 5                Was it before or after I authorized FTI that you

 6     retained PTG?

 7                MR. LANDAU:    Before.

 8                THE COURT:    And you wanted them to sort of get a sense

 9     of the lay of the land before FTI started looking at the

10     account?

11                MR. LANDAU:    Absolutely, your Honor.

12                We had the affidavits.     We had the forwarded e-mails.

13     We take candor very seriously.       And as a result of that, we

14     wanted to make sure as well that we weren't having the

15     proverbial wool pulled over our eyes as well because of the

16     fact that the natives did not exist and the forwards from our

17     client to us did.

18                THE COURT:    So let me be clear.    So at the time that

19     PTG came onboard, you knew that there was at least a question

20     raised by the defendants about the validity of these e-mails

21     and so, of course, you wanted to get in there and see what was

22     what.

23                Your expert, PTG, themselves concluded that there were

24     no native original versions of most of the -- the vast majority

25     of the e-mails in question; is that correct?


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 1               MR. LANDAU:    Correct, your Honor.

 2               THE COURT:    And this is where I get confused and I

 3     really do need your help and you can take me along in baby

 4     steps.

 5               But your expert was able to find certain of these

 6     e-mails in a purged e-mail account?        Let me understand that.

 7               MR. LANDAU:    From what I understand, based on the

 8     reports, there are different elements of an e-mail account.

 9               THE COURT:    Yes.

10               MR. LANDAU:    There's your inbox, your sent box, and I

11     guess there's a deleted items or purged box as well.          I'm not

12     technologically sophisticated so I apologize if it's not the

13     right terminology.

14               But what they were able to detect from a purged e-mail

15     account were certain authentic headers that had been forwarded

16     from the original trendsetter account.

17               THE COURT:    But I have no knowledge of the contents.

18     I just have the header.      I would never be able to tell you what

19     was the content that was forwarded?

20               MR. LANDAU:    From what I understand, based upon them

21     tracing the lineage from the trendsetter through

22     thecarringtondiaries or roviercarrington Gmail account and then

23     the forwarded on perhaps to us, being his legal counsel at the

24     time, they were able to assess certain headers as to timestamps

25     upon which that original native was formed.


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 1               THE COURT:    This I understand.     And you might be able

 2     to trace certain e-mails.       But you could not guarantee that the

 3     very first e-mail was -- you couldn't guarantee or couldn't

 4     ascertain from looking at the purged e-mail account that the

 5     contents of the e-mail, the very earliest e-mail in the chain,

 6     were the exact contents that were forwarded the first time and

 7     maybe even the second time.

 8               So you can't -- I'm assuming PTG could not and would

 9     not be comfortable telling me that for sure the e-mails you

10     have, had received from your client, are the precise e-mails

11     that are -- for which there were headers found in the purged

12     e-mail account?

13               MR. LANDAU:    As far as the content of the e-mail?

14               THE COURT:    Indeed, sir.

15               MR. LANDAU:    I think that's fair.      Yes, your Honor.

16               THE COURT:    We may know if the Google subpoena helps

17     us out but right now today we don't know.

18               MR. LANDAU:    Yes.

19               THE COURT:    I want to understand better what happened

20     in August, that PTG was doing -- was working in the account but

21     then the very searches that it conducted, the very analysis

22     that it did, there is no record of?        It's lost?    What happened?

23               MR. LANDAU:    That's I think --

24               THE COURT:    That's what it says.

25               MR. LANDAU:    Yeah, yeah, and from what I understand


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 1     there is I guess they call it an e-discovery tool.          And the

 2     e-discovery tool is such that it creates an audit over a period

 3     of time.    I think it can go back as far as maybe 30 days

 4     prior -- 30 days prior to when that mechanism was turned on

 5     which means that from the moment that they were able to begin

 6     conducting their search through the period of some other breach

 7     that seems to have occurred, they were able to preserve all of

 8     that information.     So nothing was lost from the period of time

 9     when they began through FTI's investigation, primarily because

10     they turned this e-discovery tool which began in August.            So as

11     a result of their own expert analysis they were actually -- did

12     a service to FTI and everyone else in this room by preserving

13     whatever was attempted to be deleted in the first place because

14     they had some type of audit already in place.         To me, that's my

15     understanding.

16                THE COURT:    Does it not cause you a little bit of

17     concern --

18                MR. LANDAU:    It does.

19                THE COURT:    Let me finish -- that someone was trying

20     to delete what was there?

21                MR. LANDAU:    I don't know what they were doing but it

22     causes me concern that somebody was going back into the account

23     absolutely, yes.

24                THE COURT:    Your client is adamant that Mr. Graden was

25     given whatever information he needed to access these accounts;


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 1     is that correct.

 2               MR. LANDAU:    Yes, your Honor.

 3               THE COURT:    So that would be the password, right?

 4     It's nothing else?

 5               MR. LANDAU:    Yes.

 6               THE COURT:    I just want to make sure there's nothing

 7     else.

 8               MR. LANDAU:    Yeah.

 9               THE COURT:    There are certain -- I have certain

10     accounts that are two types of activation.

11               MR. LANDAU:    Oh, yeah.    I don't think so.

12               THE COURT:    So can I imagine that at some point --

13     well your client says he gave this information to Mr. Graden in

14     or about 2015, correct?

15               MR. LANDAU:    I'm sorry.    Can you rephrase?

16               THE COURT:    I understood, I thought, from your

17     submission and from your client's declaration that the

18     information -- the access information was given to Mr. Graden

19     in or about April of 2015.       That's paragraph two of his

20     supplemental declaration.

21               Is that correct?

22               MR. LANDAU:    Yes, your Honor.

23               THE COURT:    Does your client indicate -- has your

24     client indicated to you, and if you're willing to share, of any

25     other instances in which the password information was given to


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 1     Mr. Graden?

 2               MR. LANDAU:    Your Honor, to my recollection, no.        I

 3     don't recall having that conversation as to multiple times.

 4               THE COURT:    So your client recalls an instance.

 5               MR. LANDAU:    At least one, yes, your Honor.

 6               THE COURT:    Well I hope you asked him about others but

 7     I'll leave that to you.

 8               There was at least an instance in April of 2015 when

 9     Mr. Graden is alleged to have received this information.            Are

10     you telling me your client has not changed his Gmail passwords

11     since 2015?

12               MR. LANDAU:    So his trendsetterrovheir account was

13     deactivated right around that time.        And as a result of that,

14     he just had the Gmail and thecarringtondiaries.

15               THE COURT:    Yes, sir.

16               MR. LANDAU:    On which he used.

17               THE COURT:    Yes.

18               MR. LANDAU:    So from our understanding of the

19     conversations, he did not need to change his passwords.

20               THE COURT:    I should have asked a better question.

21     Excuse me.

22               The trendsetter account -- well, for which accounts

23     did Mr. Carrington give Mr. Graden access?         All three?

24               MR. LANDAU:    From my understanding it was the same

25     password for all three.


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 1               THE COURT:    OK.   That's unwise but that's another

 2     issue.

 3               When the trendsetter account was closed we were left

 4     with two accounts, thecarringtondiaries account and the Gmail

 5     account, correct?

 6               MR. LANDAU:    Yes, your Honor.

 7               THE COURT:    The password for the three has now become

 8     the password for two extant accounts, correct?

 9               MR. LANDAU:    Yes, your Honor.

10               THE COURT:    Did your client at that point change his

11     password?

12               MR. LANDAU:    At which point?

13               THE COURT:    In -- when the trendsetter account was

14     closed.

15               MR. LANDAU:    To my knowledge, no.

16               THE COURT:    So Mr. Graden shortly after April of 2015

17     in your client's recollection had the password for two of his

18     accounts, the two that still worked?

19               MR. LANDAU:    Yes, your Honor.

20               THE COURT:    In May of this year he received this

21     indication that there had been -- that it had been accessed

22     from an unusual location, I'll just say, a not usual location.

23     At that moment was he concerned?

24               MR. LANDAU:    Yes, your Honor.

25               THE COURT:    Did he change his password?


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 1               MR. LANDAU:    I need to ask, your Honor.

 2               THE COURT:    I'm trying to figure out.

 3               MR. LANDAU:    I would suspect so.      I mean it would make

 4     sense to me that he would, yes.

 5               THE COURT:    Well then how did the August hack happen?

 6               MR. LANDAU:    I don't know.

 7               THE COURT:    Well isn't that our concern?

 8               MR. LANDAU:    It is.

 9               THE COURT:    I thought I read your letter to be saying

10     to me, you were outlining the three alternatives that

11     Mr. Hammerquist presented to the parties.         On your pages two

12     and three, this is your -- you believe this still to be an

13     accurate recollection of what happened, what the three

14     alternatives were, yes?

15               MR. LANDAU:    Yes, Judge.

16               THE COURT:    So I want to make sure -- I want to make

17     sure I understand this sentence, it's just two paragraphs down

18     on page three of your letter.       The e-mail contained in Exhibit

19     5 of plaintiff's complaint -- oh, it's -- I'm sorry.          I believe

20     the report states that it was able to recover a number of

21     previously deleted e-mails.       And from this you intuit that it

22     is the second scenario that must be the case?

23               I want to understand -- if I may, sir, what does that

24     paragraph mean?    If you could break it down for me, if you need

25     to dumb it down for me, please, go ahead.         But I want to


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 1     understand what it means.      Because I read it to mean that there

 2     were three alternatives and you think it's alternatives two.

 3               MR. LANDAU:    Yes, your Honor.     That's fair.

 4               THE COURT:    Let me figure out what the yes means.       The

 5     yes means that of the three alternatives presented -- I'm sure

 6     you don't believe it's alternative three because that would be

 7     a very bad thing.

 8               MR. LANDAU:    Of course not.

 9               THE COURT:    Of course.    So we have instead one and

10     two.   Have you explored the possibility of one?

11               MR. LANDAU:    We have, your Honor.      And we attempted to

12     have Google contacted.     And at this juncture it appears that

13     the only way that we would be able to obtain any in-depth

14     analysis would be based on subpoena.        So that's why we are in

15     full agreement with that.

16               THE COURT:    Let's make sure I understand what that

17     means.   You're fine with the disclosure of the IP addresses and

18     the contents too?

19               MR. LANDAU:    Well we want to keep the contents

20     confidential so we can provide it to the e-discovery vendor to

21     the extent that there is certain information that is irrelevant

22     to this case because if they go into the account they may, you

23     know, obtain more than just the at-issue communications.

24               THE COURT:    But I've got two allegations of hacking.

25     How can I ensure that any forensic computer person would have


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 1     this information and would be able -- I don't want anyone

 2     touching what comes from Google.       Can I --

 3               MR. LANDAU:    That's fine, your Honor.

 4               THE COURT:    So what's coming from Google?

 5               MR. LANDAU:    Nothing yet because.

 6               THE COURT:    Let me be more clear.      What do you think

 7     the subpoena is going to call for?

 8               MR. LANDAU:    From our perspective?

 9               THE COURT:    Yes.

10               MR. LANDAU:    We want the truth as well, your Honor.

11               THE COURT:    Of course.

12               MR. LANDAU:    So with respect to the Gmail for Google

13     or carringtondiaries or anything else that will help us arrive

14     at the truth, then we can make that subpoena as detailed as

15     your Honor would like and ensure that there is some type of

16     security around who receives it as opposed to the parties.

17               What we've also tried to do is, absent the natives and

18     trying to figure out exactly what the lineage of these e-mails

19     that were forwarded, what ended up happening to them, we have

20     provided some additional affidavits from nonparties as well as

21     text messages.

22               THE COURT:    But they don't help me at all in this

23     regard.   They are, if anything, corroborative of events and in

24     no way helpful to me on the issue of the validity or not of

25     these e-mails.    So I've read them all.


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 1               But other than the one from your client which, again,

 2     speaks to the e-mails, having someone who may have shown up at

 3     an event or may have been told about something does nothing for

 4     me.

 5               MR. LANDAU:    Understood.

 6               THE COURT:    I saw them.    They don't move the needle

 7     for me.

 8               So I'll let you continue.

 9               MR. LANDAU:    So to that point, short of deposing our

10     client, we are in full agreement with the subpoenas and

11     whatever is manifest based on that is manifest.

12               THE COURT:    Do you believe it's appropriate to comply

13     with court orders?

14               MR. LANDAU:    Yes, your Honor.

15               THE COURT:    Why haven't you turned over the iPhone X?

16               MR. LANDAU:    We had a discussion as to it and that was

17     only one discussion with FTI.       We still made scheduling

18     arrangements for some person to go.

19               THE COURT:    Did I not provide a schedule by which this

20     had to be done that you've now gone past?

21               Yes is the answer.

22               MR. LANDAU:    Yes, your Honor.

23               THE COURT:    Why do you think that I would allow that?

24               MR. LANDAU:    Your Honor, it was not us that was

25     preventing anyone from accessing the iPhone.


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 1               THE COURT:    Who has the iPhone?

 2               MR. LANDAU:    Our client.

 3               THE COURT:    So he was preventing?

 4               MR. LANDAU:    No, not at all.     It was the -- the

 5     schedule wasn't made between the two parties.         It was a

 6     conversation that didn't continue.

 7               THE COURT:    At what point did you come to me and say

 8     we cannot agree on a schedule for the production of the device?

 9               MR. LANDAU:    We did not, your Honor.

10               THE COURT:    Right.   So how was I to know prior to

11     yesterday's submissions from the parties that you had not, in

12     fact, abided by my order?

13               MR. LANDAU:    You were not.

14               THE COURT:    What possessed you to think that I was

15     going to be pleased to hear that you had not abided by my

16     order?   Because I'm not.     At all.   And I don't understand how

17     you think that it's -- if it's convenient for you it's

18     something that should be abided by.        Because I wanted this on a

19     compressed schedule because you yourself and your cocounsel

20     wanted this case to move forward, as do I.         We can't until we

21     get to the heart here.     And, sadly, we've opened up, I feel, a

22     Pandora's box -- this is not how I thought this was going to

23     turn out.   Never -- since you never told me that there was a

24     hack, this was the most surprising outcome for me.

25               The point is you have to turn it over.         When are you


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 1     turning it over?

 2               MR. LANDAU:    Your Honor, we have been available to do

 3     so.

 4               THE COURT:    By the end of the month of September you

 5     are turning it over to FTI.

 6               MR. LANDAU:    Fine.    OK.

 7               THE COURT:    There will be no further discussions about

 8     it, correct?

 9               MR. LANDAU:    That's fine.

10               THE COURT:    Fine.    You will find a mutually convenient

11     time between now and the end of September to do that.

12               Sir, let me hear from you.

13               You want discovery.      And I've spoken with Mr. Graden's

14     counsel and you've heard the representations that she has made

15     to me.

16               Let me understand what Mr. Graden's -- has Mr. Graden,

17     in fact, produced e-mails in original native format to you?

18               MR. LANDAU:    I believe the only e-mail that was

19     produced was from Mr. Stein; is that correct?

20               MS. SANDERS:    That's not correct.

21               MR. LANDAU:    I don't have those but I'm going to take

22     counsel at her word.

23               THE COURT:    Well why I care is it's in part important

24     that they be produced but it's also in part important that you

25     tell me if there's anything wrong with them.


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 1                I am assuming that since they were produced on or

 2     about the 24th of August that you have found nothing wrong

 3     with his e-mails.     You've done whatever searching you had to do

 4     and there's nothing strange about them.

 5                MR. LANDAU:    Well, your Honor, from what I do recall,

 6     the e-mails produced were not from at-issue communications.           So

 7     I don't know if those are all of the e-mails and I don't know

 8     the relevance of them.      But, unfortunately, I don't have them

 9     in front of me.

10                THE COURT:    Yes.   That is unfortunate.     I'm sorry.

11                Ms. Sanders, let me talk to you.       What did you

12     produce?

13                MS. SANDERS:    On August 24, in compliance with your

14     order, we produced ten e-mails.       One of them was the Darren --

15     the native Darren Stein e-mail and the remaining nine were

16     native e-mails from Brian Graden's e-mail account that

17     referenced any sort of test that was in the at-issue

18     communications appended to the complaint.

19                So, no, there were no, you know, Exhibit 8, 9, and 10

20     as they were appended to the complaint, because those e-mails

21     don't exist.    But portions of the text of those e-mails that

22     appeared in other e-mails that Mr. Graden had, those were

23     produced.

24                THE COURT:    Ms. Sanders, please tell me if I'm

25     remembering this incorrectly.       I thought I understood from our


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 1     prior conference that there was an argument that one of the

 2     e-mails was an assemblage of prior e-mails.         There was a piece

 3     taken from one -- it is alleged.       I don't know because I wasn't

 4     there -- there is a sentence that or a portion of it that

 5     appears in one e-mail, a sentence that appears in still another

 6     e-mail and a sentence that appears -- they were, if you will,

 7     picked from prior e-mails and put into an e-mail that is

 8     attached as an exhibit to the complaint.        Is that correct?

 9               MS. SANDERS:    That is correct.

10               THE COURT:    So when you talk about the ten that you're

11     producing, one of them is one that is, if you will, at issue,

12     part of an e-mail string and the others include -- are either

13     relevant because they speak to the issues of this case or

14     they -- speak to the issues of this antecedent issue of the

15     validity of the e-mails or they are important because they are,

16     in your reckoning, the constituent elements of another e-mail?

17               MS. SANDERS:    Yes.

18               And the ten also comprise of different e-mails within

19     all of the commune -- within the chain of communications that

20     all reference portions of the e-mails that have been appended

21     to the complaint.

22               THE COURT:    To the best of your knowledge,

23     Ms. Sanders, were these e-mails made available to FTI?

24               MS. SANDERS:    They have not been.      So they were

25     e-mailed on August 24 to all counsel in two different native


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 1     formats, in an MSG file and in an FTP file.

 2               THE COURT:    Could they have been given to FTI?

 3               MS. SANDERS:    Absolutely.    I'm more than happy to do

 4     that today.

 5               THE COURT:    I'm not asking you to.      I just want to

 6     know what was done with them.

 7               They went from you to the Landau firm, correct?

 8               MS. SANDERS:    That's correct.

 9               THE COURT:    And after that you don't know what

10     happened to them?

11               MS. SANDERS:    That's correct.

12               THE COURT:    To the best of your recollection, no one

13     representing plaintiff or plaintiff's counsel called you to

14     request further information about those e-mails?

15               MS. SANDERS:    That is correct.

16               THE COURT:    OK.   Thank you.

17               Mr. Landau -- I thank you very much -- come on back.

18     Thank you.

19               Sir, were you the individual to whom these e-mails

20     were sent?

21               MR. LANDAU:    I believe I was on that e-mail.

22               THE COURT:    Was it your -- what were you hoping to do

23     with them when you had them?

24               MR. LANDAU:    Well the e-mail in and of itself doesn't

25     necessarily tell the whole story unless we did have access to


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 1     that account.    What --

 2               THE COURT:    Would you not have been able to give those

 3     e-mails in original native format to FTI to look at and see if

 4     there was anything strange about them, anything suggesting they

 5     had been fabricated or manipulated in any way?

 6               MR. LANDAU:    I'm sure we could have, your Honor.

 7     But --

 8               THE COURT:    I thought that's what you were doing.

 9               My understanding was the reason for producing those

10     e-mails was so that you could counter Mr. Graden's claims that

11     these things had been fabricated by saying no, it is your

12     e-mails that have been fabricated and I don't know that you've

13     done that.

14               MR. LANDAU:    We have not, your Honor.

15               THE COURT:    I see.

16               All right.    What then do you want, sir, other than the

17     Google subpoena?    What do you think you need from Mr. Graden or

18     his attorneys?

19               MR. LANDAU:    Your Honor, given the aspersions on our

20     client as to the possibility of fabrication or as to the

21     possibility of doing something that he should not have done, in

22     response to that I think it would be logical to have the same

23     type of access through FTI, of course, not us, not our expert,

24     but through FTI to assess Mr. Graden's e-mails in the same

25     fashion that they assessed our client's as well, which may help


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 1     get closer to the truth.

 2               THE COURT:    You're not asking today for a Google

 3     subpoena for any of his accounts?

 4               MR. LANDAU:    Yes, your Honor.

 5               THE COURT:    You are?

 6               MR. LANDAU:    We're asking for, to the extent that

 7     Google is able to produce information relative to our client, I

 8     think we start there.     And then -- I just don't know enough

 9     about Mr. Graden's accounts.

10               THE COURT:    I don't know enough about what you're

11     asking me to do.

12               You're asking -- is it the same subpoena?         One would

13     be everything relating to the two Carrington accounts and one

14     related to, what, any of Mr. Graden's communications with

15     Mr. Carrington?

16               MR. LANDAU:    Yes, your Honor.

17               THE COURT:    How would Google be able to identify that,

18     sir?

19               MR. LANDAU:    I'm assuming that they can identify

20     correspondence between particular e-mail accounts perhaps

21     between particular dates.      So there is a variety of ways.

22               But the problem is, is if we were to start with the

23     timestamp in the original account, that's probably what we

24     would need to subpoena between the trendrovheir and the Gmail

25     account and thecarringtondiaries, not the most recent forwarded


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 1     accounts of course.     So I don't know how far back they'll go

 2     but we'll agree and assert that if Mr. Graden's accounts are

 3     subpoenaed in a similar fashion it will help all of us arrive

 4     at the truth.

 5               THE COURT:    All right.    What else would you like me to

 6     know?

 7               MR. LANDAU:    I think you've been pretty thorough, your

 8     Honor.

 9               THE COURT:    Thank you.

10               Ms. Sanders, I want to hear from you in reply and then

11     I'll hear from either Mr. Hwang or Mr. LaVigne in reply.

12               Thank you.

13               MS. SANDERS:    Do you mean as to the Google subpoena?

14               THE COURT:    Oh, yes.

15               MS. SANDERS:    Again --

16               THE COURT:    I presume you object but I want to

17     understand why.    Because he's making what, in the Failla

18     parlance, not crazy argument that if what we're trying to do is

19     figure out the truth a way of doing that is to look at both

20     sides.

21               MS. SANDERS:    Yes.   And, your Honor, we have been

22     trying to figure out the truth since this action was filed.

23     We've supplied the at-issue communications that Mr. Graden has

24     in his possession custody and control.        We have submitted an

25     affidavit from a forensic professional who acquired those


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 1     e-mails, who also submitted those with his declaration, and

 2     that was from James Kelshaw.      That was in July of this year.

 3     And plaintiff's counsel has not represented any reason to

 4     believe that any of that information is inaccurate.          And so I

 5     still don't quite understand what the purpose of a Google

 6     subpoena on Mr. Graden would be other than for the sheer optics

 7     of it because it's in the spirit of reciprocity.          The issue

 8     here is whether Mr. Carrington's e-mails are authentic, not

 9     whether Mr. Graden's e-mails are authentic.

10               THE COURT:    Anything else?

11               Mr. Hwang or Mr. LaVigne.

12               MR. LaVIGNE:    Thank you, Judge.

13               It sounds like there's not opposition to issuing these

14     subpoenas to the internet service providers.

15               It also sounds to get content I believe we're going to

16     need consent, and it sounds like Mr. Landau is not objecting to

17     consent for the trendsetter account.

18               The one issue where it sounds like there is dispute is

19     this deposition.

20               THE COURT:    I think the other issue where there's

21     dispute is to who would receive the contents of any subpoena.

22               MR. LaVIGNE:    What we propose in our letter, Judge,

23     and I'm sensitive to that, is that Google would be directed to

24     turn over the content to FTI and we handle it using the same

25     protocol.   So essentially FTI would conduct the same searches


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 1     as a neutral e-discovery vendor and would look in the

 2     trendsetter account for any evidence of the at-issue

 3     communications.    On our side we're fine with that.        Because all

 4     we're looking to do is focus on authentication.          We want to

 5     keep this as narrow as possible.

 6               THE COURT:    Mr. Landau, disagree?

 7               MR. LANDAU:    Your Honor is there a way that Google can

 8     supply the Court directly?

 9               THE COURT:    To me?

10               MR. LANDAU:    Well --

11               THE COURT:    No.

12               MR. LANDAU:    To the tech department here.

13               THE COURT:    No.    With all respect to our tech

14     department, I don't want them -- I don't know that they have

15     the capability of doing this.       And why would -- no --

16               MR. LANDAU:    OK.

17               THE COURT:    -- is the short answer.      We are not FTI

18     and I'm not going to make myself that.

19               MR. LANDAU:    Although I know that the Court did

20     determine that no conflicts exist and I respect the Court's

21     decision as to that, is there perhaps a different third party

22     that would be able to be the custodian of these e-mails so that

23     neither of the parties have access to them that could analyze

24     them accordingly.

25               THE COURT:    I don't understand -- I hear the words


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 1     that you're saying, sir.      But, if it's going to FTI neither

 2     party is going to have access to them.        Isn't that the point?

 3               MR. LANDAU:    Yes, your Honor.

 4               It appears, though, that with FTI's analysis they

 5     didn't go as expansive as our expert's analysis did.          And I

 6     just want to make sure that if FTI or whomever else receives it

 7     that it's very clear instructions as to what they should do as

 8     opposed to what is perhaps convenient for them to otherwise

 9     have done.

10               So, for instance, there is no reason why FTI couldn't

11     have performed the same analysis that our experts did and would

12     have determined similarly that an e-mail that was forwarded in

13     2011 maintained the same header, which is what our expert had

14     found.   So there is a little bit more investigation that, from

15     our perspective, does benefit the plaintiff's position.

16               So just so long as whoever the custodian will be

17     understands that there is an expectation that there needs to be

18     full analysis of these e-mails, not just for the purposes of

19     one or the other, but full analysis.        I would want to make sure

20     that that party, that company does do that thorough

21     investigation.

22               THE COURT:    Why couldn't you and defense counsel sit

23     in a room with the provider and explain or show them the

24     reports that were prepared in connection with this round and

25     make sure that they understand that all we care about is


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 1     figuring out an answer and not what is the answer that we

 2     figure out.

 3               MR. LANDAU:    That's fine, your Honor.

 4               THE COURT:    Then it can be produced to FTI.

 5               I'm assuming, perhaps incorrectly, that counsel

 6     collectively can agree on the terms of a subpoena.          If you want

 7     me to endorse it, I will.       Just send me something that you've

 8     all agreed on.    If you can't agree, you'll send me both sides.

 9               Mr. LaVigne, what else do you wish to say in reply?

10               I'm interested in Mr. Landau's representation to me as

11     an officer of the court that you were aware in or about August

12     or July that there was a May hack.

13               MR. LaVIGNE:    That's incorrect and false.

14               THE COURT:    OK.

15               MR. LaVIGNE:    I found out about a hack when I read

16     that letter last night.       I can represent to the Court on

17     September 6 there was a phonecall.       Everybody at this table was

18     on it.   FTI was laying out what it found.        And the exact words

19     from Kevin Landau's partner, Zach Landau, was this doesn't make

20     any sense.    How can there be forwards that he then forwarded to

21     his counsel to us and then the deleted them, that doesn't make

22     any sense.    And I distinctly remember that.       And jump in if I'm

23     misstating that, but the exact words used by Zach Landau were

24     that doesn't make any sense.       The first I learned about a hack

25     was when I read the letter yesterday.


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 1                THE COURT:    What's Mr. Kevin Landau present at this

 2     meeting?

 3                MR. LaVIGNE:    No.

 4                THE COURT:    Is it possible that Mr. Kevin Landau was

 5     aware of the hack and Mr. Zachary Landau was not?

 6                MR. LaVIGNE:    I can't speak to what's going on at the

 7     Landaus.    The first I heard about it was yesterday.

 8                THE COURT:    Mr. Landau, did you want to be heard on

 9     this?

10                MR. LANDAU:    Just note for the record that Zachary

11     Landau is not present, your Honor.

12                THE COURT:    Absolutely.

13                MR. LANDAU:    And it may be a mischaracterization.

14                THE COURT:    That may be but you just said to me

15     shortly, not that long ago, you said to me that they were made

16     aware.   So you knew that they were made aware.        I want to know

17     how you know that they were made aware.

18                MR. LANDAU:    We had a conversation about it.

19                THE COURT:    We, you, Kevin Landau spoke with any of

20     the three folks at the back table about the May 2018 hack?

21                MR. LANDAU:    As I indicated before, to my recollection

22     we did have a conversation as to the account being accessed by

23     an unauthorized third party.

24                THE COURT:    Is it maybe that you didn't use the word

25     hack?


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 1               MR. LANDAU:    Probably.

 2               THE COURT:    You've said unauthorized access.

 3               MR. LANDAU:    Yes.

 4               THE COURT:    Mr. LaVigne, do you know that an

 5     unauthorized access is the same thing as a hack?

 6               MR. LaVIGNE:    I do.

 7               THE COURT:    Had you been made aware of an unauthorized

 8     access, would you have --

 9               MR. LaVIGNE:    I had not.    I personally had not.

10               THE COURT:    Is there someone at your firm who might

11     have been aware of it when you were not?

12               MR. LaVIGNE:    Anything is possible but I think we

13     typically participate on phonecalls together and if my

14     partner --

15               MR. FISHBEIN:    I was on at least one of the phonecalls

16     and I was never made aware of unauthorized access, hack, or

17     anything else close to that.

18               THE COURT:    Mr. Hwang.

19               MR. HWANG:    Your Honor, I was on every single

20     phonecall that Mr. LaVigne or Mr. Fishbein was on.          I was

21     spearheading most of the communications with the Landaus during

22     this process.    And at no point was I made aware that there was

23     any unauthorized access or hack into any of these accounts.

24               And Mr. LaVigne's representation as to the September 6

25     call in which Zach Landau professed confusion as to how these


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 1     original e-mails would no longer reside in these accounts is an

 2     accurate rendition of that call.

 3                THE COURT:   Thank you.    Ms. Sanders, do you want to

 4     chime in?

 5                MS. SANDERS:   I was also on each one of those calls

 6     that all the parties are alluding to and neither of the Landaus

 7     represented to us that there was any unauthorized access of any

 8     kind of any of Mr. Carrington's e-mail accounts.

 9                THE COURT:   OK.   Thank you.

10                And, Mr. Stein, you've been very patient in listening

11     to this call if you are still -- listening to this meeting, if

12     you are still on the line, could you please let me know if you

13     have a recollection of any unauthorized accesses or hacks being

14     discussed in the last two-month period.

15                MR. STEIN:   I was on every call with the other

16     counsel.    I never heard anything about an unauthorized access

17     or hack or any explanation even close to that.

18                THE COURT:   All right.    Thank you.

19                Mr. LaVigne, something else?

20                MR. LaVIGNE:   Yes, Judge.    This is one of the reasons

21     why, I submit, a deposition is warranted, because for the

22     last -- I'm not trying to use fancy, catchy words like odyssey,

23     but this is a moving target.      We take two steps forward and

24     then there's a response like a hack, and it comes at the

25     eleventh hour.


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 1                We need to get the plaintiff under oath.        We need to

 2     put these issues to him.      And they're straightforward issues.

 3     This is not going to be a fishing expedition or long, but

 4     basically:      Where did you get the e-mails you forwarded to your

 5     counsel?    Why was this account deactivated?       When it was

 6     deactivated, did you save them?       That's going to get to the

 7     truth.    OK.

 8                If we get more information from Google, I think it

 9     will help.      It will advance the ball.    But at the end of the

10     day, we spent a lot of time and a lot of money and a lot of

11     energy, candidly, and we're paying for FTI, OK.          And we're

12     getting to the same answer.      You know, they can't explain, they

13     can't identify, they can't access.

14                So we need to get the plaintiff under oath to have him

15     layout exactly what happened, not -- so two months from now if

16     we get more information from Google, we can then get an

17     explanation that well there was a hack by somebody's brother or

18     sister.    Enough is enough.    It's time to get him under oath.

19                He put these -- he and his lawyer put these in public,

20     attached them to his complaint, and they're standing by them,

21     fine.    Then get him under oath and we'll ask him questions.

22     And they will be limited and cribbed and cabined, I can assure

23     the Court, but now is the time for that.

24                THE COURT:   All right.    Thank you all.

25                As should be apparent from this conference I am


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 1     disappointed on a number of fronts and I don't like finding out

 2     about things at the last minute.       I never have.     Just know that

 3     for future communications.      Don't tell me things at the

 4     eleventh hour.

 5                I also don't like and am concerned about the way in

 6     which this is evolving, that I'm being given one explanation

 7     and then being given another explanation, and then still

 8     another.    They are not yet fantastical, but they are also

 9     beginning to strain credulity.

10                I'm authorizing the subpoena to Google with the

11     contents to be delivered to FTI.       I am assuming, I'm

12     understanding that Mr. Landau is going to have his client make

13     whatever -- issue whatever consents he needs to so that the

14     content is released as well.

15                I'd ask you to get that subpoena to me if you want me

16     to issue it or sign it as early as possible and I will do so.

17     And let it go to FTI and have them look at it.

18                At the moment -- at the moment I'm not authorizing the

19     deposition of the plaintiff but I need to see what comes back

20     from Google and I may well do that.        If I do that, it will be

21     on a very short timeframe.

22                I am not authorizing or requiring discovery of

23     Mr. Graden.    Mr. Graden has produced ten e-mails.        No one has

24     yet complained about their bona fides so I'm not going to and I

25     don't think he needs to be deposed.


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 1                There is a possibility, there is a suggestion that he

 2     may have access to this account.       But the evidence I have of

 3     that is a recollection that he was given account access

 4     information in 2015 and then the very fact that someone may

 5     have accessed the account in 2018.       I'll just note for the

 6     record I'm not -- I'm neither believing nor disbelieving that

 7     the account was hacked.      I get those same Google alerts when I

 8     use another computer in this courthouse and log in to my

 9     network.    So I'm not yet ready to say that something has been

10     hacked.    But I also have an insufficient basis to warrant

11     additional discovery of Mr. Graden.        If things change, you will

12     all let me know but right now I don't have it.

13                So I want the subpoena.     I want the device to be

14     produced.    And I will listen to you all as soon as you get

15     something from FTI if it is worth my listening to.

16                Mr. Hwang, something you wanted to add?

17                MR. HWANG:   Yes, your Honor.     I think there was no

18     objection from Mr. Landau that the subpoenas should cover all

19     three of the accounts, especially in light of the explanation

20     we first received last night that the e-mails were forwarded to

21     the roviercarrington@gmail account and to thecarringtondiaries

22     Microsoft account, especially also in light of the purported

23     hacks of those two accounts.      I think there's agreement with

24     Mr. Landau that the subpoena should cover all three of those

25     accounts as to content and subscriber and IP information.


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 1               MR. LANDAU:    Yes.   No objection, your Honor.

 2               THE COURT:    There is no objection.      And that is what

 3     it will be.    Thank you.

 4               Anything else today, counsel?

 5               MR. LaVIGNE:    Not from the defense, your Honor.

 6               MR. HWANG:    Nothing from us.

 7               MS. SANDERS:    Not from us.

 8               THE COURT:    And some day I do want an answer so you'll

 9     all get me to that point.

10               Mr. Stein, we're going to end this conference.            Thank

11     you very much for participating.

12               MR. STEIN:    Thank you for letting me, your Honor.

13               THE COURT:    We're adjourned on this conference.          I

14     will give the parties in the next case time to set up.              Thank

15     them for their patience and maybe you guys can apologize on

16     your way out.

17               (Adjourned)

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